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             ATTN:                               COMPANY                             ADDRESS                        CITY   STATE      ZIP    ZIP+4       PHONE             FAX
Attn: Repairs & Maintenance   Triple-T Enterprises                      3903 Jennifer Pl                Homer              AK      99603     8320    (907) 235-2169
Attn: Repairs & Maintenance   Massin's Tool & Equipment Rntl            PO Box 2038                     Wrangell           AK      99929     2038    (907) 874-2064
Attn: Repairs & Maintenance   Precision Sharpening & Repair             PO Box 857                      Ward Cove          AK      99928     857     (907) 247-8732
Attn: Repairs & Maintenance   Peninsula Tool Repair                     34276 Business Park F # 4       Soldotna           AK      99669             (907) 260-1905
Attn: BILLY                   Coast Safe and Lock Inc.                  457 Dauphin Island Pkwy         Mobile             AL      36660     1257    (251) 479-5264   (251) 471-6967
Attn: BILLY                   DeWalt Service Center                     732 Lakeside Dr                 Mobile             AL      36693             (251) 602-1000   (251) 602-1100
Attn: BILLY JOE FARLEY        Tool-smith Co.                            3657 Government Boulevard # B   Mobile             Al      36693     4303    (251) 661-8970   (251) 661-8970
Attn: BLAKE                   Bay City Tool & Repair                    4405 Halls Mill Rd # F4         Mobile             AL      36689             (251) 666-8406   (251) 666-8403
Attn: BLANCA                  Holland Industrial Svc                    49191 Rabun Rd                  Bay Minette        AL      36507             (251) 937-4652   (251) 937-4657
Attn: BOB                     Mountz Eastern Service Center             19051 Underwood Rd.             Foley              AL      36535             (251) 943-4125   (251) 943-4979
Attn: BOBBIE                  Hembree Machine Inc                       533 Trinity Ln                  Decatur            AL      35601             (256) 355-9568   (256) 350-5809
Attn: BOBBY                   Blair & Sons Inc                          303 Jordan Ln NW, Ste A         Huntsville         AL      35805             (256) 830-5937   (256) 830-1182
Attn: BOBBY                   B & C Instruments, Inc.                   4317 Spartacus Dr               Huntsville         AL      35805             (256) 883-6530   (256) 883-6531
Attn: DON HEAPF               Montgomery Lock & Key Inc                 131 Eastdale Rd S               Montgomery         AL      35805             (334) 272-5397   (334) 271-5226
Attn: DONALD                  Lawn Mowers-Sharpening & Repairing        PO Box 329                      ALABAMA            AL      35805             1-334-493-9645   (334) 493-0955
Attn: DONNA                   Pruitt Communications Inc                 208 Sumac Ct                    Headland           AL      35805             (334) 693-3014   (334) 671-4544
Attn: DONNA                   Cook´s Saw Manufacturing, LLC             160 Ken Lane                    Newton             AL      36352             (334) 692-5074   (334) 692-3704
Attn: JASON                   Ram Tool & Supply Co Inc                  541 Oliver Rd                   Montgomery         AL      36117     2261                     (423) 698-0835
Attn: Repairs & Maintenance   Bama Power Tool                           11459 Dauphin Island Pkwy       Theodore           AL      36582     7621    (251) 973-2855
Attn: Repairs & Maintenance   Power Tool Supply & Repair                1713 Creighton Ave SE           Decatur            AL      35601     5917    (256) 350-0079
Attn: Repairs & Maintenance   Professional Tool Repair                  1551 Rex St                     Montgomery         AL      36107     3133    (334) 263-6776
Attn: Repairs & Maintenance   Wood Shed                                 129 S Court St                  Prattville         AL      36067     3051    (334) 365-8620
Attn: Repairs & Maintenance   Allen Rents                               102 N Kyle St                   Scottsboro         AL      35768     2002    (256) 259-0700
Attn: Repairs & Maintenance   Smith's Hardware                          626 Saraland Blvd S             Saraland           AL      36571     3603    (251) 679-0526
Attn: Repairs & Maintenance   Midtown Construction Supply               7755 Summit Ct                  Mobile             AL      36695     4229    (251) 633-6899
Attn: JEN                     Tool Service Company                      5732 Wheeler Avenue             Fort Smith         AR      72901             (479) 648-3125   (479) 648-0046
Attn: JENNIFER                White Cap Construction Supply             3670 Elm Springs Rd             SPRINGDALE         AR      72762             (479) 927-0303   (479) 927-0303
Attn: JERRY                   CLARK HYDRAULIC SERVICE, INC.             2901 Confederate Blvd.          Little Rock        AR      72206             (501) 375-1252   (501) 375-0706
Attn: JERRY, TAMARA           Harbor Freight Tools USA Inc              5820 Asher Ave # 7e             Little Rock        AR      72204             (501)562-6262    (501) 562-6461
Attn: JERRY/JUDY              Gary's Repair Shop                        711 Highway 64 E                Bald Knob          AR      72010             (501)724-6308    (501) 724-6659
Attn: Repairs & Maintenance   A-1 Tool Repair                           1043 Amity Rd                   Hot Springs        AR      71913     9331    (501) 525-4053
Attn: Repairs & Maintenance   Gage Works Co                             1934 Gate Nine Rd               Greenwood          AR      72936     8100    (479) 996-0076
Attn: Repairs & Maintenance   King Precision Tool                       16200 Windham Dr                Little Rock        AR      72206     6180    (501) 888-5236
Attn: Repairs & Maintenance   Atlas Copco Rental Svc Corp               2600 W Main St                  Jacksonville       AR      72076     4216    (501) 982-1912
Attn: Repairs & Maintenance   Carr's Tools & Equipment Rntl             1467 Kentucky Ave               Morrilton          AR      72110     3736    (501) 354-0846
Attn: Repairs & Maintenance   Tool Supply                               815 E Grand Ave                 Hot Springs        AR      71901     3638    (501) 623-8665
Attn: Repairs & Maintenance   Contractors Supply Co                     4269 Wagon Wheel Rd             Springdale         AR      72762     139     (479) 750-3313
Attn: Repairs & Maintenance   Custom Control                            9203 Hilaro Springs Rd          Little Rock        AR      72209     6733    (501) 562-7643
Attn: Repairs & Maintenance   Black & Decker                            519 W 7th St                    Little Rock        AR      72201     4101    (501) 372-3040
Attn: Repairs & Maintenance   Mc Rae Equipment                          1403 W 12th St # A              Little Rock        AR      72202     4756    (501) 378-0241
Attn: Repairs & Maintenance   Tool Hospital Of Arkansas                 3670 Elm Springs Rd             Springdale         AR      72762     2759    (479) 927-0400
Attn: Repairs & Maintenance   Tool Room                                 508 Marsh Ave                   El Dorado          AR      71730     7096    (870) 863-3036
Attn: JENNIFER                Empire Hydraulic Svc                      37 W Iron Ave                   Mesa               AZ      85210             (480) 633-4700   (480) 633-4719
Attn: JEREMY                  A-Professional Locks Inc                  940 N Alma School Rd # 112      Chandler           AZ      85224             (480) 345-6700   (480) 963-8789
Attn: JERRY                   Chandler Equipment Sales                  1124 S Center St                Mesa               AZ      85210             (480) 964-1071   (480) 964-1071
Attn: JERRY                   Arizona Air Tool Co.                      1314 E. Princess Dr.            Tempe              AZ      85281             (480) 968-8559   (480) 968-4276
Attn: KEVIN                   Ace appliance svc                         3625 W Clarendon Rd             YOUNGTOWN          AZ      85705             (727) 934-1690   (520) 624-4199
Attn: KEVIN, ERNIE            Precision Tool & Const Sup Inc            4857 E 29th                     Tucson             AZ      85711             (520) 745-1100   (520) 745-2500
Attn: KIM                     Mo's Gallery & Fine Framing               3650 E Fort Lowell Rd           Tucson             AZ      85716             (520)795-8226    (520) 795-9442
Attn: MATTHEW                 Unicoa Industrial Supply Co               2224 N 23Rd Ave                 Phoenix            AZ      85009             (602) 254-4666   (602) 254-7100
Attn: MAURY                   L & D Hydraulics                          1717 W Grant St                 Phoenix            AZ      85007             (602) 258-6188   (602) 258-6815
Attn: MAY                     Desert Scales & Weighing Equipment        1704 W Linden St                Phoenix            AZ      85045             (602) 258-5272   (602) 275-7582
Attn: MCKENZIE                Construction Tool & Supply                5213 S 30th St # C300           Phoenix            AZ      85040             (602) 323-2810   (602) 323-2810
Attn: MEAGAN                  DeWalt Industiral Tool Company            4001 E Broadway Rd Ste B11      Phoenix            AZ      85040             (602) 279-6414   (602) 437-2200
Attn: MEAGAN                  LUBRICATION EQUIP. & SUPPLY CO            3526 E. Broadway Rd.            Phoenix            AZ      85040             (602) 437-1245   (602) 437-8862
Attn: MELINDA                 Anderson Lock & Safe LLC                  6146 N 35th Ave                 Phoenix            AZ      85017     1938    (602) 973-0343   (602) 589-0104
Attn: MELISSA                 GLENN'S TOOL SERVICE                      2149 E. INDIAN SCHOOL RD        Phoenix            AZ      85016             (602) 264-6203   (602) 956-3787
Attn: OSCAR                   Mike's Workshop Inc                       5202 W MISSOURI AVE             GLENDALE           AZ      85301             (623) 247-4870   (623) 939-1486
Attn: Repairs & Maintenance   Makita USA Inc                            3707 E Broadway Rd # 6          Phoenix            AZ      85040     2953    (602) 437-2850
Attn: Repairs & Maintenance   Pro Tech Small Engine Repair              2319 W Glendale Ave             Phoenix            AZ      85021     7620    (602) 347-0713
Attn: Repairs & Maintenance   Superior Tool & Repair                    1430 N 27th Ave                 Phoenix            AZ      85009     3603    (602) 272-9211
Attn: Repairs & Maintenance   Glenn's Tool Svc                          2149 E Indian School Rd         Phoenix            AZ      85016     6129    (602) 264-6203
Attn: Repairs & Maintenance   Arizona Power Tool Svc                    13439 N Cave Creek Rd # 5       Phoenix            AZ      85022     5158    (602) 485-4067
Attn: Repairs & Maintenance   Black Hills Power Tools                   951 Black Hills Dr              Clarkdale          AZ      86324     3738    (928) 634-8930
Attn: Repairs & Maintenance   Porter-Cable Corp                         2400 W Southern Ave # 105       Tempe              AZ      85282     4337    (602) 437-1200
Attn: Repairs & Maintenance   Fisher Tools & Handles                    1990 E 3rd St                   Tempe              AZ      85281     2931    (480) 968-0123
Attn: ALEXIS                  Charlie's Day & Nite Safe Lock & Key Sv   526 W Benjamin Holt Dr          Stockton           CA      95207             (209) 467-4810   (209) 467-4810
Attn: ALISA                   Hyster Sales                              1024 N. Emerald Ave.            Modesto            CA      95351             (209) 526-1577   (209) 526-5473
Attn: ALLAN                   Alameda Electrical Distributors           1466 North Carpenter Road       Modesto            CA      95351     1109    (209) 550-2500   (209) 550-2510
Attn: CINDY, JIMMY            Torrance Lock & Key, Inc.                 2421 Torrance Blvd.             Torrance           CA      90501             (310) 320-8840   (310) 320-8844
Attn: CLAIR MATTHEWS          Industrial Lock & Security                90245-3003,401 Main St,         El Segundo         CA      90501             (310) 322-3252   (310) 322-3627
Attn: CLAY                    Bay Area Rental                           1624 W. Pacific Coast Hwy.      Harbor City        CA      90710             (310) 326-5830   (310) 326-2638
Attn: CLYDE                   Vortex Industries - Carson                865 Sandhill Ave,               Carson CA          CA      90710             310-549-6050     (310) 549-4911
Attn: CODY                    Electronic Balancing Company              660 East D Street               Wilmington         CA      90744             (310) 830-4995   (310) 830-2447
Attn: CODY                    Williams Appliance Svc                    432 S Pacific Ave               San Pedro          CA      90744             (310) 833-1396   (310) 833-3186
Attn: COLTON, DON             J M Mc Kinney Co                          12710 Yukon Ave                 Hawthorne          CA      90744             (310) 978-9650   (310) 978-2795
Attn: DEBRA                   THOMAS TOOL & SUPPLY INC                  1201 Lincoln Ave                Sauk Rapids        CA      90744             (320) 253-4526   (320) 253-9109
Attn: DENISE                  Minit Tool Co                             4170 E Washington Blvd          Commerce           CA      90023             323-264-7006     (323) 264-2309
Attn: DENISE                  Allan Jeffries Framing                    8301 W 3rd St                   Los Angeles        CA      900 048           323-655-1296     (323) 655-4291
Attn: DENNIS                  Logan Supply                              2636 Malt Ave.                  City of Commerce   CA      90040             (323) 724-4330   (323) 725-3930
Attn: DENNIS                  Best Lock & Safe Svc                      2203 Venice Blvd                Los Angeles        CA      90006     5146    (323) 733-7716   (323) 733-6031
Attn: DENNIS                  Arbuckle Electric Motors                  7548 Santa Monica Blvd          Hollywood          CA      90046             (323) 876-7100   (323) 876-1850
Attn: DENNIS MCLOUD           Tako Tyko                                 5002 Venice Boulevard           Los Angeles        CA      90019     5308    (323) 937-4445   (323) 937-3912
Attn: GLEN                    Advantel Inc                              2222 Trade Zone Blvd            San Jose           CA      95155             (408) 954-5100   (408) 435-7928
Attn: GLENDA NEWMAN           Nu-Way Tool Supply                        3232 El Camino Real             Santa Clara        CA      95051             (408) 984-5395   (408) 984-0162
Attn: ISAAC                   McKee & Strub                             778 Natoma St.                  San Francisco      CA      94103             (415) 431-6463   (415) 431-6482
Attn: J.R.                    Walton's Saw Works                        437 Du Bois St                  San Rafael         CA      94901     3910    (415) 456-6320   (415) 456-5482
Attn: JACKIE                  Novato Lock                               7395 Redwood Blvd.              Novato             CA      94945             (415) 892-9111   (415) 892-3351
Attn: JACOB, BILL, JOY        Painter's Place                           1139 Magnolia Ave,              Larkspur CA        CA      94939     1042    (415) 461-0351   (415) 925-0857
Attn: JOHN SCHRAER            Star Microwave Service                    41458 Christy St.               Fremont            CA      94538             (510) 498-7900   (510) 498-7901
Attn: JOHN, BRIAN             Reed brothers security                    4432 Telegraph Ave              Oakland            CA      94609             (510) 652-2477   (510) 652-7081
Attn: JOHNNIE                 Bobcat West Construction Equip            47132 Kato Rd                   Fremont            CA      94538             510-659-4100     (510) 661-5706




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Attn: JOHNNIE                    California Service Tool                   3875 Baycenter Place               Hayward                   CA   94545            (510) 782-1000   (510) 782-1422
Attn: JOJO/ JOE JOE              Black & Decker                            2512 Tripaldi Way,                 Hayward                   CA   94545            (510) 783-3959   (510) 783-3764
Attn: KIM                        Aircraft Heating Inc                      1635 Beltline Road                 Redding                   CA   96003            (800) 409-4328   (530) 246-4371
Attn: KIM SCHEFFLER              Yuba Safe & Lock                          1251 E Main St                     Grass Valley              CA   95945     5711   (530) 272-6600   (530) 272-1523
Attn: KURT                       Tool Shed - Grass Valley                  654 Maltman Dr # b                 Grass Valley              CA   95945     5192   (530) 477-1185   (530) 477-7316
Attn: KYLE                       Sierra Saw & Tool Inc                     9 Harter Ave                       Woodland                  CA   95776            (530) 666-5267   (530) 666-0658
Attn: KYLE                       Alameda Electrical Distributors           629 Entler Ave, Suite #29          Chico                     CA   95928            530-781-1300     (530) 781-1325
Attn: L.J.                       SkywayTools.com                           2499 Bruce Road                    Chico                     CA   95928            530-891-1495     (530) 891-4025
Attn: LISA                       Hobart                                    202 Van Ness Ave                   Fresno                    CA   93721     3186   (559) 237-2118   (559) 237-2441
Attn: LISETTE, JESSIE, CHARLES   IDEAL SAW WORKS                           351 O St                           Fresno                    CA   93721     3040   (559) 237-0809   (559) 237-8879
Attn: LIZ                        All Tool Svc & Supply Co                  1571 N Maple Ave                   Fresno                    CA   93703     4403   (559) 252-2879   (559) 255-7492
Attn: LIZ                        Zemarc Corp                               3510 E Church Ave                  Fresno                    CA   93725            (559) 264-2009   (559) 268-2361
Attn: LIZ                        Ridge Electric *                          1235 G St                          Fresno                    CA   93706            (559) 268-8315   (559) 268-8315
Attn: LOIS                       Kroeger Equipment & Supply Co             2645 S Chestnut Ave                Fresno                    CA   93725     2113   (559) 485-9907   (559) 485-9907
Attn: LOU                        Alameda Electrical Distributors           7044 Ave 304                       Goshen                    CA   93227            559-651-2096     (559) 651-5068
Attn: LOUIE                      CNC Machining Service                     1130 E. Acequia Ave                Visalia                   CA   93292     6557   (559) 732-5599   (559) 732-7393
Attn: LOUISE                     Key Evidence Lock & Safe                  2343 W Whitendale                  Visalia CA 93277-6130     CA   93292            (559) 733-3333   (559) 733-0433
Attn: MARGORIE                   Tool Works                                1431 E 28th St                     Signal Hill               CA   90755            (562) 988-9150   (562) 608-8802
Attn: MARIA                      J & D Tool Repair                         14050 Orange Ave                   Paramount                 CA   90723            (562) 630-1644   (562) 633-4290
Attn: MARJORIE                   Franco Power Tools                        8226 Sorensen Ave Ste D            Santa Fe Springs          CA   90670            (562) 693-9639   (562) 693-9521
Attn: MARK                       Duthie Power Service                      2335 E Cherry Industrial Cir       Long Beach                CA   90805     4416   (800) 394-7697   (562) 790-8230
Attn: MARK                       Eurton Electric                           9920 Painter Ave                   Santa Fe Springs          CA   90670            (562) 946-4477   (562) 946-0014
Attn: PABLO                      PCS Stattion Inc. *                       515 W Garvey Ave                   Monterey Park             CA   90605            626-458-0342     (626) 289-3100
Attn: PETER                      Auto Medics                               330 South Claremont Street         94401 San Mateo           CA   90605            (650) 342-8480   (650) 342-1026
Attn: PETER, TONY                C H Bull Company                          229 Utah Ave                       So San Francisco          CA   94080            (650) 871-8440   (650) 583-4006
Attn: PHIL                       K-119 OF CALIFORNIA                       925 San Matteo Ave.                San Bruno                 CA   94066            (650) 588-0160   (650) 588-8842
Attn: PONCH                      ARRC Technology, Inc.                     1600 Mill Rock Way                 Bakersfield               CA   93311            (661) 281-4000   (661) 281-4008
Attn: PRICILLA                   Turk's Kern Copy Inc.                     1701 18th Street                   Bakersfield               CA   93301            (661) 324‐3737   (661) 324-1231
                                                                           4465 BUCK OWENS BLVD. P.O.
Attn: PURCHASING                 Willis Electric                           BOX 81085                          BAKERSFIELD               CA   93308            (661) 324-2781   (661) 324-1605
Attn: QUINN                      Bakersfield Electric Motor Rpr            121 w Sumner St                    Bakersfield KERN          CA   93301     4137   (661) 327-3583   (661) 327-0689
Attn: R.P.                       Bakersfield Tool Repair                   210 Sumner St, Ste B               Bakersfield               CA                    (661) 327-2820   (661) 327-5069
Attn: RALPH                      HYSTER SALES CO.                          34782 Lencioni Ave.                Bakersfield               CA   93308            (661) 393-3673   (661) 393-5636
Attn: RALPH                      ASB AVIONICS, LLC                         1032 Sabovich Street               Mojave                    CA   93501     2021   (661) 824-1005   (661) 824-1006
Attn: RALPH                      VALLEY CONSTRUCTION SUPPLY                45346 N. Trevor                    Lancaster                 CA   93534            (661) 948-5074   (661) 948-7310
Attn: ROB                        Alameda Electric                          2870 Cordelia Road Suite 100       Fairfield                 CA   94534            (707) 207-7200   (707) 207-7230
Attn: ROB                        Acme Tool Repair Inc                      452 Moore Ln                       95448-4815 - Healdsburg   Ca                    (707) 431-0444   (707) 431-0461
Attn: ROB, BEN                   Simple Office Solutions                   1831 Guerneville Rd                Santa Rosa                CA   95401            (707) 636-2679   (707) 575-9448
Attn: ROB, JAMES                 Accurate Forklift, Inc.                   PO Box 4860                        Santa Rosa                CA   95402            (707) 585-3675   (707) 585-9734
Attn: ROBERT                     Humboldt Fasteners                        5100 Valley East Blvd Ste 1        Arcata                    CA   95521     7419   (707) 822-0209   (707) 826-1851
Attn: RUBY                       WESTSIDE BLDG MATERIALS                                                      Anaheim                   CA   92815            (714) 385-1644   (714) 385-1688
Attn: RUEBEN                     Wisdom Tool Repair                        2238 Ritchey St                    Santa Ana                 CA   92705            (714) 432-1601   (714) 432-1651
Attn: RUEBEN                     Vortex Industries; Inc                    3198-M Airport Loop                Corona Del Mar            CA   92625            (714) 434-8955   (714) 434-0727
Attn: RUSTY                      Sweinhart Electric Company                7425 Orangethorpe Ave.             Buena Park                CA   90621            (714) 521-9100   (714) 521-9300
Attn: RYAN                       Makita USA Inc                            14930 Northam St                   La Mirada                 CA   90638     5753   (714) 522-8088   (714) 522-8133
Attn: RYAN                       Domen Lawnmower                           8470 Cerritos Ave Ste M            Stanton                   CA   90680            (714) 527-2430   (714) 527-6603
Attn: SAL                        Jet Fitting & Supply Corp.                810 S. Grand Ave.                  Santa Ana                 CA   92705            (714) 558-9381   (714) 541-4491
Attn: SAL (DECEASED)             DAVIS TOOL CO.                            2921 S Main D                      Santa Ana                 CA   92707            (714) 549-7836   (714) 549-0362
Attn: SALES                      Titan Equipment Repair                    7298 Melrose St                    Buena Park                Ca   90621            (714) 739-2810   (714) 739-2831
Attn: SALLY                      Robert Bosch Tool Corp                    4980 E Landon Dr                   Anaheim                   CA   92807            (714) 779-4900   (714) 779-4909
Attn: SAM                        Pacific Electronic Enterprises            7471 Talbert Ave,                  Huntington Beach          CA   92648            (714) 848-9091   (714) 847-2474
Attn: SAM                        Jack X Change                             1609 N Orangethorpe Way            Anaheim                   CA   92801            (714) 871-4966   (714) 871-4591
Attn: STEVE, BETTY               Toolmart Inc.                             2750. Auto Park Way                ESCONDIDO                 CA   92029            (760) 480-1444   (760) 480-0411
Attn: STEVE, KEITH               D&D Tool and Supply                       1445 Engineer St Ste 110           Vista                     CA   92081            (760) 510-9968   (760) 510-9677
Attn: STEVE, SHERRY              Rupe's Hydraulics                         725 N Twin Oaks Valley Rd          San Marcos                CA   92069     1713   (760) 744-9350   (760) 744-7859
Attn: STEVE, TIM                 Tool Parts Pro                            929 Poinsettia Avenue, Suite 105   Vista                     CA   92081            (760) 201-8800   (760) 747-2626
Attn: TODD                       C.H. Bull Co.                             229 Utah Avenue                    South San Francisco       Ca   94080            (650) 837-8400   (800) 229-2855
Attn: VALERIE                    West Coast Electric Motors                811 Mercantile St.                 Oxnard                    CA   93030            (805) 483-0167   (805) 487-3666
Attn: VANCE, CINDY               Preferred Testing Labs                    5148 N Commerce Ave # D            Moorpark                  CA   93021     7139   (805) 532-2092   (805) 532-2094
Attn: VANESSA                    JP Tool Repair                            3440 Sacramento Dr                 San Luis Obispo           CA   93401            (805) 544-7152   (805) 544-9327
Attn: VANETTA                    American Vision Windows, Solar, Garages   2125 Madera Road, Ste A            Simi Valley               CA   93065            (805) 582-1833   (805) 582-1580
Attn: VERONICA                   Carbide Saw                               2521 Grand Ave                     Ventura                   CA   93003     6611   (805) 644-5178   (805) 644-5178
Attn: VICKI, JAIME, MIKE         BUENA TOOL COMPANY                        433 Laguna St                      Santa Barbara             CA   93101     1782   (805) 963-3885   (805) 966-2956
Attn: VICKY MITCHELL             Jim Klippel Tool Repair                   424 Laguna St                      Santa Barbara             CA   931 101          (805) 963-0020   (805) 966-5544
Attn: Repairs & Maintenance      Air Tool Wholesale                        3993 Compton St                    Chino                     CA   91710     1502   (909) 627-3241
Attn: Repairs & Maintenance      All Tool Repair                           6201 Schirra Ct # 12               Bakersfield               CA   93313     2172   (661) 396-8803
Attn: Repairs & Maintenance      All Trades Tool & Equipment               3515 Sunrise Blvd # 23             Rancho Cordova            CA   95742     7319   (916) 631-3550
Attn: Repairs & Maintenance      C & D Tool Svc                            5963 West Blvd                     Los Angeles               CA   90043     3051   (323) 291-5155
Attn: Repairs & Maintenance      Central Tool Repair                       4822 Avalon Blvd                   Los Angeles               CA   90011     4002   (323) 846-8657
Attn: Repairs & Maintenance      Coi Tool Svc                              22019 Figueroa St                  Carson                    CA   90745     4403   (310) 328-8828
Attn: Repairs & Maintenance      Darrell Dahlin Tool Repair                1501 Henry St                      Fairfield                 CA   94533     6405   (707) 422-2121
Attn: Repairs & Maintenance      Dremel                                    4631 E Sunny Dunes Rd              Palm Springs              CA   92264     1540   (760) 327-3003
Attn: Repairs & Maintenance      Ercon                                     60 Easy St                         Buellton                  CA   93427     9560   (805) 686-4534
Attn: Repairs & Maintenance      Feng Shui                                 1416 Laguna St                     Santa Barbara             CA   93101     7323   (805) 962-7919
Attn: Repairs & Maintenance      Glendale Power Tool                       921 S Verdugo Rd                   Glendale                  CA   91205     3829   (818) 244-9277
Attn: Repairs & Maintenance      Industrial Tool Svc                       3534 Faust Ave                     Long Beach                CA   90808     2840   (562) 997-0049
Attn: Repairs & Maintenance      J & D Tool Repair                         14050 Orange Ave                   Paramount                 CA   90723     2000   (562) 630-1644
Attn: Repairs & Maintenance      King Power Tool Repair                    5810 N Figueroa St                 Los Angeles               CA   90042     4228   (323) 256-1964
Attn: Repairs & Maintenance      Little Bargain Corner                     2805 Taraval St                    San Francisco             CA   94116     2158   (415) 681-8746
Attn: Repairs & Maintenance      Logan Supply Co Inc                       2636 S Malt Ave                    Los Angeles               CA   90040     3206   (323) 724-4330
Attn: Repairs & Maintenance      Machine Heads                             212 Clara St                       San Francisco             CA   94107     1004   (415) 546-6808
Attn: Repairs & Maintenance      Mack's Tool Repair                        341 Industrial Way # A             Fallbrook                 CA   92028     2369   (760) 420-0769
Attn: Repairs & Maintenance      Mister Fix It                             220 W 5th St # 411                 Los Angeles               CA   90013     2031   (213) 627-9170
Attn: Repairs & Maintenance      MTC                                       300 N Wilshire Ave                 Anaheim                   CA   92801     5849   (714) 956-9560
Attn: Repairs & Maintenance      Rocklin Tool Repair                       4235 Pacific St                    Rocklin                   CA   95677     2141   (916) 660-9783
Attn: Repairs & Maintenance      S & E Svc                                 13932 Whittram Ave                 Fontana                   CA   92335     3012   (909) 428-2921
Attn: Repairs & Maintenance      Simi Tool Repair                          2512 Tapo St                       Simi Valley               CA   93063     2456   (805) 584-8138
Attn: Repairs & Maintenance      Tool & Equipment Co                       1415 E Palm St                     Altadena                  CA   91001     2023   (626) 798-7224
Attn: Repairs & Maintenance      Tool Tech                                 3065 Waterloo Rd                   Stockton                  CA   95205     2941   (209) 465-8665
Attn: Repairs & Maintenance      Universal Tool Svc                        21804 S Vermont Ave                Torrance                  CA   90502     2111   (310) 328-6472
Attn: Repairs & Maintenance      Valley Electric Tool Svc                  16918 Citronia St                  Northridge                CA   91343     1708   (818) 830-9092
Attn: Repairs & Maintenance      Wisdom Tool & Equipment Repair            14510 Boyle Ave                    Fontana                   CA   92337     7167   (909) 823-5907
Attn: Repairs & Maintenance      A & A Rental                              PO Box 57015                       Hayward                   CA   94545     7015   (323) 261-1563




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Attn: Repairs & Maintenance   A & B Hardware                      513 S Western Ave               Los Angeles        CA   90020   4207   (213) 389-6529
Attn: Repairs & Maintenance   A-1 Ability Rentals                 1421 W Adams Blvd               Los Angeles        CA   90007   1641   (323) 733-2361
Attn: Repairs & Maintenance   F B Ridley Co                       825 Arguello St                 Redwood City       CA   94063   1308   (650) 369-8546
Attn: Repairs & Maintenance   A & M Power Tool Repair             151 Los Obreros Ln # A          San Clemente       CA   92672   1802   (949) 492-4920
Attn: Repairs & Maintenance   A C Fastener                        8382 Artesia Blvd # F           Buena Park         CA   90621   4190   (714) 690-0156
Attn: Repairs & Maintenance   A-1 Electric Tool Expert            2104 4th St                     Eureka             CA   95501   819    (707) 443-0416
Attn: Repairs & Maintenance   Anaheim Tool Repair                 3121 E LA Palma Ave # A         Anaheim            CA   92806   2804   (714) 630-9240
Attn: Repairs & Maintenance   Barbs Quality Repair Svc            29647 Shasta Daisy Pl           Canyon Country     CA   91387   1929   (661) 298-2733
Attn: Repairs & Maintenance   BSF Electric Tools                  534 N LA Brea Ave               Los Angeles        CA   90036   2016   (323) 936-3200
Attn: Repairs & Maintenance   Electric Tool Svc & Supply          8040 Sorensen Ave               Santa Fe Springs   CA   90670   2120   (562) 693-6861
Attn: Repairs & Maintenance   General Repair Svc                  14200 Bear Creek Rd             Boulder Creek      CA   95006   9555   (831) 338-0189
Attn: Repairs & Maintenance   H & V Tool Repair                   1808 Empire Industrial Ct # D   Santa Rosa         CA   95403   7404   (707) 528-1111
Attn: Repairs & Maintenance   H M Brothers                        7539 Topanga Canyon Blvd        Canoga Park        CA   91303   1214   (818) 340-4035
Attn: Repairs & Maintenance   J P Tool Repair                     3440 Sacramento Dr # A          San Luis Obispo    CA   93401   7197   (805) 544-7152
Attn: Repairs & Maintenance   Laguna Tools Inc                    17101 Murphy Ave                Irvine             CA   92614   5915   (949) 474-1200
Attn: Repairs & Maintenance   Makita USA Inc                      16735 Saticoy St # 105          Van Nuys           CA   91406   2700   (818) 782-2440
Attn: Repairs & Maintenance   Mancilla Electric Tool Repair       9126 Mission Blvd               Riverside          CA   92509   2818   (951) 681-3798
Attn: Repairs & Maintenance   Modern Tool Svc                     15638 Graham St                 Huntington Beach   CA   92649   1611   (714) 898-3425
Attn: Repairs & Maintenance   Porter-Cable Corp                   3039 Teagarden St               San Leandro        CA   94577   5720   (510) 357-9762
Attn: Repairs & Maintenance   Power Tools Repair & Svc                                            San Lorenzo        CA   94580   0      (510) 276-1710
Attn: Repairs & Maintenance   R & D Precision Products            1230 N Jefferson St             Anaheim            CA   92807   1631   (714) 632-9908
Attn: Repairs & Maintenance   Spark Tools                         7841 Alabama Ave # 17           Canoga Park        CA   91304   6601   (818) 884-6821
Attn: Repairs & Maintenance   Tool Shed                           11654 Maltman Dr # B            Grass Valley       CA   95945   5150   (530) 477-1185
Attn: Repairs & Maintenance   Alameda Hardware                    4501 S Alameda St               Los Angeles        CA   90058   2010   (323) 235-5940
Attn: Repairs & Maintenance   Ascent Manufacturing                128 E Dyer Rd                   Santa Ana          CA   92707   3715   (714) 540-6414
Attn: Repairs & Maintenance   Black & Decker De Walt Svc Ctr      4986 Watt Ave # B               North Highlands    CA   95660   5182   (916) 344-3520
Attn: Repairs & Maintenance   Brent's Outdoor Power Equip         29143 Lakeview Dr               Cedar Glen         CA   92321   0      (909) 337-7020
Attn: Repairs & Maintenance   Cambridge Tool & Mfg                242 S Orange Ave                Brea               CA   92821   4980   (714) 672-0878
Attn: Repairs & Maintenance   Dave's Tool Svc & Supply            780 S Milliken Ave # A          Ontario            CA   91761   7896   (909) 605-6558
Attn: Repairs & Maintenance   Diatec Co                           2025 Alton Pkwy                 Irvine             CA   92606   4904   (949) 533-0770
Attn: Repairs & Maintenance   Emilio's Tools                      1620 Crows Landing Rd # F       Modesto            CA   95358   5602   (209) 538-6783
Attn: Repairs & Maintenance   Farwest Line Specialties            8793 Plata Ln # B               Atascadero         CA   93422   5338   (805) 466-7163
Attn: Repairs & Maintenance   General Tools Co                    2025 Alton Pkwy                 Irvine             CA   92606   4904   (949) 261-7180
Attn: Repairs & Maintenance   Milwaukee Electric Tool Corp        1130 N Magnolia Ave             Anaheim            CA   92801   2696   (714) 827-1301
Attn: Repairs & Maintenance   Pacific Automotive Tools            1927 Harbor Blvd # 702          Costa Mesa         CA   92627   7600   (714) 751-8014
Attn: Repairs & Maintenance   Rafael's Wholesale Tools            7718 Rosecrans Ave              Paramount          CA   90723   2510   (562) 408-0330
Attn: Repairs & Maintenance   Strobel, Steve                                                      Riverside          CA   92503   0      (951) 359-6807
Attn: Repairs & Maintenance   Tool Stop                           261 S San Gabriel Blvd          San Gabriel        CA   91776   1622   (626) 287-6878
Attn: Repairs & Maintenance   Western Floor Tool                                                  Escondido          CA   92025   0      (760) 738-1760
Attn: Repairs & Maintenance   Western Tool Supply                 455 E 20th St # 10              Chico              CA   95928   4414   (530) 898-1904
Attn: Repairs & Maintenance   All Tools & Equipment Discount      1165 Dell Ave                   Campbell           CA   95008   6611   (408) 370-0616
Attn: Repairs & Maintenance   Drew's Used Tools                   2800 S Rodeo Gulch Rd # A       Soquel             CA   95073   2085   (831) 477-2883
Attn: Repairs & Maintenance   Power Probe Inc                     255 Viking Ave                  Brea               CA   92821   3820   (714) 990-5864
Attn: Repairs & Maintenance   Redding Tool & Equipment            4305 Caterpillar Rd # 1         Redding            CA   96003   1432   (530) 241-7968
Attn: Repairs & Maintenance   S C Rentals                         143 Calle DE Los Molinos        San Clemente       CA   92672   3830   (949) 366-1945
Attn: Repairs & Maintenance   Terry's Tool Works                  1431 E 28th St                  Signal Hill        CA   90755   1804   (562) 988-9150
Attn: Repairs & Maintenance   Tool Depot                          1441 Encinitas Blvd # 126       Encinitas          CA   92024   2953   (760) 943-9120
Attn: Repairs & Maintenance   Tool Shack                          451 E Arrow Hwy # A             Azusa              CA   91702   5602   (626) 967-5083
Attn: Repairs & Maintenance   Western Tool Supply                 8500 Auburn Blvd # F            Citrus Heights     CA   95610   300    (916) 725-8967
Attn: Repairs & Maintenance   Western Tool Supply                 5138 Caterpillar Rd             Redding            CA   96003   2048   (530) 242-0870
Attn: Repairs & Maintenance   Westwood Power Tools                4824 Sepulveda Blvd             Culver City        CA   90230   4890   (310) 837-1231
Attn: CARLOS                  Tool Zone Inc                       970 W 104th Ave                 Northglenn         CO   80234   3801   (303) 252-8500   (303) 252-8770
Attn: CARLOS GREGORY          HI Strength Bolt                    20488 E RADCLIFF AVE            CENTENNIAL         CO   80015          (303) 680-6783   (303) 287-4227
Attn: Carol                   Colorado Garage Door Svc Inc        4235 Thompson Ct                Denver             CO   80216   4005   (303) 292-3667   (303) 292-6529
Attn: CASSIE                  Hydraulic Energy (MFCP)             6800 Stapleton Drive            Denver             CO   80216          (303) 333-7442   (303) 333-5008
Attn: CATHY, SARAH H          AIS Industrial & Construction       3900 Ulster St                  Denver             CO   80207   1729   (303) 355-2391   (303) 355-6572
                              Aspen Laser & Tech. (NO LONGER IN
Attn: CAWNY (CONNIE)          BUSINESS)                           5700 flatiron pkwy              Boulder            CO   80301   5733   (303) 530-2922   (303) 530-0344
Attn: TOM                     Centurion Tool & Supply Co          3101 W. Hampden Ave.            Englewood          CO   80110   1823   (303) 534-4959   (303) 534-2410
Attn: CEASAR                  Bosch Tools                         2585 W 8th Ave                  Denver             CO   80204          (303) 893-5124   (303) 595-8878
Attn: CECILIA                 Contractors Supply Inc —TOOL TECH   225 Mariposa St                 Denver             CO   80223   1319   (303) 825-8555   (303) 623-9483
Attn: CHANCE                  Tri County Instruments              211 E Simpson St                Layfayette         CO   80026   2323   (303) 665-0360   (303) 666-7458
Attn: CHARLIE, JERRY          Runge Tool                          1330 S. Inca Street,            DENVER             CO   80223          (303) 744-1224   (303) 744-1229
Attn: CHERYL, JENNIFER        QUEST INC.                          65 S. 1ST AVE                   Brighton           CO   80601          (720)-685-9091   (303)-655-8143
Attn: SHARON                  Automatic Access, Inc.              606 South Weber Street          Colorado Springs   CO   80903          (719) 390-8400   (719) 390-3840
Attn: SHAWN                   Nelson Appliance Repair             1220 East Fillmore Street       Colorado Spring    CO   80907   6402   (719) 635-1928   (719) 630-1577
Attn: Repairs & Maintenance   Perfection Tool Repair              16200 S Golden Rd               Golden             CO   80401   7802   (303) 279-0133
Attn: Repairs & Maintenance   B & R Tools                         1206 W 70th Ave                 Denver             CO   80221   7053   (303) 427-2738
Attn: Repairs & Maintenance   Connective Systems Tool Repair      5718 Wright Dr                  Loveland           CO   80538   8840   (970) 663-2616
Attn: Repairs & Maintenance   DRD Tool Svc                        2925 S Umatilla St              Englewood          CO   80110   1217   (303) 806-9763
Attn: Repairs & Maintenance   Kevco Tool Repair & Sales           1676 S 21st St                  Colorado Springs   CO   80904   4262   (719) 635-8830
Attn: Repairs & Maintenance   Porter Cable Data                   8175 Sheridan Blvd              Arvada             CO   80003   1956   (303) 487-1809
Attn: Repairs & Maintenance   Central Colorado Tool Svc           204 Mount View Ln # 13          Colorado Springs   CO   80907   4375   (719) 635-8615
Attn: Repairs & Maintenance   Dremel Moto-Tool Agency             99 Kalamath St                  Denver             CO   80223   1549   (303) 534-7867
Attn: Repairs & Maintenance   Tool King                           8665 W Colfax Ave               Lakewood           CO   80215   4012   (303) 237-7779
Attn: Repairs & Maintenance   Tri State Tool Distributors         807 1/2 Main St                 Longmont           CO   80501   4922   (303) 772-3269
Attn: ANDREW                  J. Pocker & Son                     175 W. Putnam Ave.              Greenwich          CT   6830           (203) 629-0811   (212) 750-2053
Attn: Repairs & Maintenance   Air Tool Sales & Svc                546 Thames St                   Groton             CT   6340    3946   (860) 445-5750
Attn: Repairs & Maintenance   Str Tool Repair                     107 Saw Mill Hill Rd            Sterling           CT   6377    1421   (860) 779-2272
Attn: Repairs & Maintenance   Superior Tool                       522 Wolcott Rd                  Wolcott            CT   6716    2430   (203) 879-9266
Attn: Repairs & Maintenance   Air-Tool Sales & Svc Co             1 Burnham Ave                   Unionville         CT   6085    1225   (860) 673-2714
Attn: Repairs & Maintenance   M P Tool Sales Co                   70 Fort Point St                Norwalk            CT   6855    1294   (203) 866-9776
Attn: Repairs & Maintenance   QTR Inc                             39 Wedgewood Dr                 Jewett City        CT   6351    2420   (860) 376-5634
Attn: Repairs & Maintenance   Watertown Tool Repair               28 Main St                      Oakville           CT   6779    1704   (203) 596-1344
Attn: Repairs & Maintenance   Jossam Tool Repair                  411 Burnham St                  East Hartford      CT   6108    1183   (860) 289-4064
Attn: Repairs & Maintenance   Metro Tool Ctr                      701 N Colony Rd                 Wallingford        CT   6492    2407   (203) 294-4852
Attn: CARL, CATELLO           Carspecken-Scott                    1707 N. Lincoln St.             Wilmington         DE   19806          (302) 655-8971   (302) 655-8971
Attn: CARLOS                  Fiduk's Industrial Svc              7 Meco Cir                      Wilmington         DE   19804   1193   (302) 994-9176   (302) 994-9176
Attn: Repairs & Maintenance   Weeks Services                      6045 Milford Harrington Hwy     Harrington         DE   19952   2360   (302) 398-3558
Attn: Repairs & Maintenance   Eagle Nail & Tool Supply            325 S Dupont Hwy                New Castle         DE   19720   4641   (302) 328-4888
Attn: Repairs & Maintenance   Morheat True Value                  727 New Castle Ave              Wilmington         DE   19801   5823   (302) 654-6756
Attn: Repairs & Maintenance   Power Tool Repair Ctr               6045 Milford Harrington Hwy     Harrington         DE   19952   2360   (302) 398-3558
Attn: Repairs & Maintenance   Tools & More                        2335 N Dupont Hwy               New Castle         DE   19720   6304   (302) 652-8863




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Attn: BILL                    Brinker Brown Fastener and Supply             369 Industrial Blvd              Naples                    FL   34104         (239) 643-3500     (239) 643-6554
Attn: CHRIS                   The Lawn Mower Shop                           8894 SW 131 St                   Miami FL 33176            FL                 (305) 233-3664     (305) 233-4935
Attn: CHRIS                   MITCHELL HARDWARE COMPANY INC                 130 Washington Ave               Homestead                 FL           33030 (305) 247-7233     (305) 247-7142
Attn: CHRIS JR.               Kimball Electronic Laboratory                 8081 W 21st Ln                   Hialeah                   Fl   33016   1891 (305) 822-5792      (305) 362-3125
Attn: CHRISTINA               Tool Place Corp                               9389 NW 13th St                  Doral                     FL   33172         (305) 591-5650     (305) 591-5653
Attn: CHRISTINA               Dbk Concepts Inc                              8440 SW 107th Ave, Apt 208       Miami                     FL   33173   4328 (305) 596-7222      (305) 596-7222
Attn: CHRISTINE               Eric's Industrial Supplies Inc                5490 NW 161st St                 Hialeah                   FL   33018         (305) 620-3588     (305) 628-4143
Attn: CHRISTINE               Southern Tool                                 4401 Northwest 37th Avenue       Miami                     FL   33142         (305) 633-6372     (305) 635-1213
Attn: CHRISTINE               Dade Lock & Key                               5804 Bird Rd                     Miami                     FL   33155         (305) 666-3446     (305) 666-1015
Attn: CHRISTY                 York Lock & Key Co                            1554 Alton Rd                    Miami Beach               FL           33139 (305) 672-5622     (305) 672-0301
Attn: CHRISTY                 DC Battery Specialists                        7415 N.E. 1st Place              Miami                     FL   33138         305-758-5041       (305) 758-3469
Attn: CHRISTY                 Sky Products Tools                            10035 NW 7th Ave,                33150-1399                FL                 (305) 759-8665     (305) 759-8669
Attn: DELVIN                  Ace Hardware Titusville                       3636 S Washington Ave            Titusville                FL   32780         (321) 267 – 1030   (321) 267-3799
Attn: DENISE                  Maclock                                       1980 N Atlantic Ave              Cocoa Beach               FL   32931         321-784-4776       (321) 784-4776
Attn: EDY, LINDA              BERNIE'S TOOL & FASTENERS                     2322 NE Waldo Road               Gainesville               FL   32609         (352) 375-1244     (352) 375-1408
Attn: EILEEN                  Tool Doctor                                   1825 N Magnolia Ave              Ocala                     FL                 (352) 622-5655     (352) 622-6704
Attn: EILEEN                  Spring Hill Lock & Key, Inc.                  11223 Spring Hill Drive          Spring Hill               FL   34609         (352) 686-3855     (352) 686-3868
Attn: ERIC                    A A CASEY TOOLS & FASTENERS                   1100 N Nova Rd                   Daytona Beach             FL                 (386) 253-6158     (386) 238-0973
Attn: ERIC                    Glen Allen Appliance                          623 SW State Rd 247              Lake City                 FL           32025 (386) 752-3600     (386) 752-8328
Attn: George                  Hytec Dealer Svc Inc                          3600 Vineland Rd # 121           Orlando                   FL   32811   6461 407-297-1001        (407) 297-4310
Attn: GEORGE                  AMERICAN GENERATOR CO.                        240 Circle Dr.                   Maitland                  FL   32751         (407) 628-8186     (407) 628-8919
Attn: GEORGE                  American Locksmith                            1805 W Fairbanks Ave             Winter Park               FL   32789   4501 (407) 629-1080      (407) 629-6761
Attn: GEORGE, TERESA          Florida Industrial Scale Co                   929 Longdale Ave                 Longwood                  FL                 407-331-7972       (407) 831-0653
Attn: GERALD                  Allied Fastener & Tool Inc                    1814 S Division Ave              Orlando                   FL                 (407)425-2884      (407) 843-5504
Attn: GERRY OR WAYNE          Cozzini Brothers Inc                          1919 Premier Row                 Orlando                   FL                 (407) 888-2331     (407) 888-2257
Attn: GILBERT                 Bowen's Sales & Sharpening Service            3001 E. Central Blvd.            Orlando                   FL                 (407) 898-6669     (407) 898-3362
Attn: GINA                    Bilmar Avionics Inc                           4005 4th St                      Kissimmee                 FL   34741   4509 (407) 935-9466      (407) 931-4340
Attn: LOY, DONNA              Godby Safe & Lock                             1048 Hypoluxo Road               Lantana                   FL   33462         (561) 540-6004     (561) 540-6005
Attn: MAINTENANCE             Allied Fastener & Tool Inc                    1130 N G St                      Lake Worth                FL   33460   2195 (561) 585-2113      (561) 585-3715
Attn: MANNY                   Black & Decker Us INC                         310 S Military Trl               West Palm Beach           FL   33415   2808 (561) 689-3247      (561) 684-9578
Attn: MARCY                   Reliable Tool Service                         6970 WALLIS RD, 1A               WEST PALM BEACH           FL   33413         (561) 689-1676     (561) 689-1644
Attn: MARGERET                Action Bolt & Tool                            PO Box 10864                     Riviera Beach             FL   33419   864   (561) 845-8800     (561) 845-0255
Attn: STACEY                  Atlas Construction Equipment Services, Inc.   12001 49th Street North #201     Clearwater                FL   33762         (727) 299-0700     (727) 299-0704
Attn: STACEY                  Clearwater Lock & Safe Co - Clearwater        1600 Gulf To Bay Blvd            33755-6418 - Clearwater   FL                 (727) 799-7300     (727) 446-5625
Attn: STAN                    JIM AND SLIM'S TOOL SUPPLY                    13065 S. BELCHER ROAD            LARGO                     FL   33773         (727) 535-5661     (727) 535-3841
Attn: TERRESA                 Camouflage Electric Inc                       460 Nw Concourse Pl Unit 11      Port St Lucie             FL   34986         (772) 340-0111     (772) 340-0560
Attn: TERRY                   Med Repairs & Mobility                        3120 Aviation Blvd               Vero Beach                FL   32960   7901 (772) 569-2901      (772) 569-1771
Attn: CHRIS                   A.A. Casey Co.                                5124 Nebraska Ave.               Tampa                     Fl                 (813) 237-6561     (813) 238-9527
Attn: DOUG                    ESCO                                                                           Tampa                     FL                 (800) 237-9710     (813) 855-1649
Attn: JOHN                    Michaelson's Appliance Repair                 9231 Lazy Ln                     Tampa                     FL   33614         (813) 935-1919     (813) 935-1917
Attn: KATIE                   Hughe's Tool Supply                           1208 Land O Lakes Blvd.          Lutz                      FL   33549         (813) 949-0441     (813) 949-2153
Attn: KIM                     Affordable Lock and Key                       13908 N Florida Ave              Tampa                     FL   33613   3231 (813) 961-5784      (813) 963-0008
Attn: Repairs & Maintenance   A-1 Tool Repair                               1851 Blanding Blvd               Middleburg                FL   32068   3839   (904) 282-3707
Attn: Repairs & Maintenance   B & J Industrial Tool Repair                  5603 Lake Le Clare Rd            Lutz                      FL   33558   4876   (813) 264-1716
Attn: Repairs & Maintenance   C & C Power Tools                             856 Mason Ave                    Daytona Beach             FL   32117   4719   (386) 253-5815
Attn: Repairs & Maintenance   Contractors Tool Svc Inc                      5409 Edgewater Dr                Orlando                   FL   32810   5250   (407) 292-2808
Attn: Repairs & Maintenance   Fix It Shop                                   940 Cattlemen Rd # D             Sarasota                  FL   34232   2810   (941) 371-4434
Attn: Repairs & Maintenance   Huts Inc                                      4111 Louis Ave                   Holiday                   FL   34691   5606   (727) 945-7500
Attn: Repairs & Maintenance   Lakeland Tool Repair                          PO Box 7248                      Lakeland                  FL   33807   7248   (863) 648-9491
Attn: Repairs & Maintenance   Mid-Florida Tool & Equipment                  8228 SW 103rd Street Rd          Ocala                     FL   34481   7768   (352) 854-5000
Attn: Repairs & Maintenance   Mobile Tool Repair                            2126 County Road 2321            Southport                 FL   32409   6600   (850) 271-1707
Attn: Repairs & Maintenance   Ron & Jerry's Tool & Equip Rpr                5627 Verna Blvd                  Jacksonville              FL   32205   4442   (904) 783-1010
Attn: Repairs & Maintenance   Tool & Specialty Repair                       3858 Reid St                     Palatka                   FL   32177   2525   (386) 325-6555
Attn: Repairs & Maintenance   Tool Master                                   196 E 4th Ave                    Hialeah                   FL   33010   4906   (305) 883-1903
Attn: Repairs & Maintenance   Tool Town                                     211 E Oakland Park Blvd          Oakland Park              FL   33334   1155   (954) 566-2117
Attn: Repairs & Maintenance   Astro Tools Rental & Repair                   645 NE 79th St                   Miami                     FL   33138   4709   (305) 758-6277
Attn: Repairs & Maintenance   Frank's Tool Box                              666 N Us Highway 17/92           Longwood                  FL   32750   0      (407) 830-4463
Attn: Repairs & Maintenance   Grand Rental Station                          2219 NE 2nd Ave                  Delray Beach              FL   33444   4205   (561) 272-1151
Attn: Repairs & Maintenance   Lilo Equipment Rental Inc                     1787 Ludlam Rd                   Miami                     FL   33155   1829   (305) 266-4944
Attn: Repairs & Maintenance   National Rental Ctr                           7323 N Main St                   Jacksonville              FL   32208   4123   (904) 768-1573
Attn: Repairs & Maintenance   Nations Rent                                  6110 20th St                     Vero Beach                FL   32966   1023   (772) 569-4022
Attn: Repairs & Maintenance   Unlimited Servies Of S Fl Inc                 1791 Blount Rd # 103             Pompano Beach             FL   33069   5117   (954) 943-5356
Attn: Repairs & Maintenance   Able Supply & Svc                             911 29th Ave W                   Bradenton                 FL   34205   6927   (941) 747-1491
Attn: Repairs & Maintenance   Critical Fastener                             7571 Monte Verde Ln              West Palm Beach           FL   33412   3123   (561) 691-1978
Attn: Repairs & Maintenance   Frinke Power Tool Svc                         1322 N East Ave                  Sarasota                  FL   34237   2714   (941) 365-3442
Attn: Repairs & Maintenance   L & L Air Tool Repair                         5506 Haines Rd N                 St Petersburg             FL   33714   1999   (727) 527-1822
Attn: Repairs & Maintenance   Quality Power Tool Svc Inc                    4995 71st Ave                    Pinellas Park             FL   33781   4428   (727) 521-3151
Attn: Repairs & Maintenance   Quality Tool Repair Inc                       805 SE 1st Way # 1               Deerfield Beach           FL   33441   5344   (954) 427-7884
Attn: Repairs & Maintenance   Suncoast Tool Repair                                                           Brooksville               FL   34601   0      (352) 848-0134
Attn: Repairs & Maintenance   Tool Hospital                                 3800 N Davis Hwy                 Pensacola                 FL   32503   3025   (850) 434-7408
Attn: Repairs & Maintenance   AAA Tool & Supply                             1550 Haverhill Rd N              West Palm Beach           FL   33417   5338   (561) 697-7748
Attn: Repairs & Maintenance   Allied Fastner & Tool Inc                     660 SW Carter Ave                Port St Lucie             FL   34983   2973   (772) 878-1171
Attn: Repairs & Maintenance   Associated Industrial Dist                    2581 Jupiter Park Dr             Jupiter                   FL   33458   6005   (561) 747-4558
Attn: Repairs & Maintenance   Black & Decker Factory Store                  10746 Emerald Coast Pkwy # 158   Destin                    FL   32550   7120   (850) 650-8696
Attn: Repairs & Maintenance   Black & Decker Tampa Inc                      8322 Eagle Palm Dr               Riverview                 FL   33569   8606   (813) 671-1111
Attn: Repairs & Maintenance   Federal Saw & Tool                            5679 70th Ave                    Pinellas Park             FL   33781   4299   (727) 526-0127
Attn: Repairs & Maintenance   Mortensen Industries                                                           Tampa                     FL   33618   0      (813) 269-8887
Attn: Repairs & Maintenance   Tileze USA Inc                                PO Box 111390                    Naples                    FL   34108   124    (239) 598-3737
Attn: Repairs & Maintenance   Tool & Supply AAA                             4632 N Powerline Rd              Coconut Creek             FL   33073   3027   (954) 975-3219
Attn: Repairs & Maintenance   441 Tool Repair                               1975 S Park Rd # A               Hallandale                FL   33009   2013   (954) 981-8270
Attn: Repairs & Maintenance   Ernie's Tool & Specialty Co                   20 S Dixie Hwy                   St Augustine              FL   32084   313    (904) 829-5712
Attn: Repairs & Maintenance   G-M Tool & Fastener                           2634 Taft Ave                    Orlando                   FL   32804   4350   (407) 425-2919
Attn: Repairs & Maintenance   Jim & Slim's Tool Supply                      6821 Industrial Ave              Port Richey               FL   34668   6824   (727) 938-3594
Attn: Repairs & Maintenance   S-B Power Tool Co Svc Ctr                     8840 NW 24th Ter                 Doral                     FL   33172   2418   (305) 718-4476
Attn: Repairs & Maintenance   Trans World Marketing Ents                    1901 Brickell Ave # B202         Miami                     FL   33129   2934   (305) 577-3711
Attn: Repairs & Maintenance   Precision Armature                            3050 SE Monroe St                Stuart                    FL   34997   5944   (772) 287-7829
Attn: BILL                    Whitehead Hardware Co                         104 S Lee St Valdosta            Valdosta                  Ga   31601   5743   (229) 242-3910    (229) 245-0579
Attn: BILL                    Industrial Controls Inc                       1710 Eastman Dr                  Tifton                    GA   31793   8225   (229) 387-8114    (229) 382-1034
Attn: BILL                    Tri-State Lock and Safe                       419 W. 3rd Steet                 Tifton                    GA   31794          229-382-1317      (229) 388-0386
Attn: FRED                    Builders Equipment                            3261 Glenwood Road               Decatur                   GA   30032          404) 289-0456     (404) 289-4947
Attn: FRED L.                 Dixie Construction Products                   970 Huff Rd.                     Atlanta                   GA                  (404) 351-1100    (404) 350-2359
Attn: JEFF HAMMAKER           R & S Industrial Supply Co., Inc.             436 Ga Highway 247 S             Bonaire                   GA   31005          (478) 328-2120    (478) 328-1374
Attn: KEVIN                   CCF of Atlanta, Inc.                          500 Arnold Mill Way STE B        Woodstock                 GA   30188          (770) 664-6860    (520) 624-4199




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Attn: RITA                    A-1 Lock & Security                         209 W Emory St                    Dalton                 GA                  (706) 226-3039   (706) 226-0818
Attn: ROB                     Electrical Testing Inc                      205 Evergreen St SW               Rome                   GA   30161          (770) 445-4993   (706) 236-9028
Attn: ROB                     E T Industrial Supply Company, Inc.         3208 B Mike Padgett Highway       Augusta                GA   30906          (706)-771-1980   (706) 771-1982
Attn: ROB                     Augusta Tool & Spec Co                      1817 Dixon Airline Rd             Augusta                GA   30906          (706) 790-6180   (706) 790-6270
Attn: SUSIE, CHRISTY          S-B Power Tools                             1850 Beaver Ridge Cir.            Norcross               GA   30071          (770) 242-9880   (770) 242-9880
Attn: T.                      STRATA WORLDWIDE                            8995 Roswell Road                 Sandy Springs          GA   30350          1-800-691-6601   (770) 321-2520
Attn: TADDA                   Security Lock And Safe Hallford Bros. LLC   705 Roswell St. NE                Marietta               GA   30060          (770) 422-2483   (770) 422-2593
Attn: TALIA                   AIR SPECIALISTS, INC.                       598 Kirk Rd.                      Marietta               GA   30060          (770) 426-1722   (770) 424-0806
Attn: TAMMY                   CDE                                         1200 Williams Drive, Suite 1210   Marietta               GA   30066          1-770-499-5000   (770) 499-5015
Attn: Tammy                   Prime Power                                 8225 Troon Circle,                Austell                GA   30168          770.739.2300     (770) 739-7033
Attn: TANYA, SHAWN,           Mitchell Appliance Co.                      PO Box 795                        Douglasville           GA   30134          (770) 942-2337   (770) 942-4257
Attn: TED                     Global Electronics Service                  5325 Palmero Court                Buford                 GA   30518          (770) 965-9294   (770) 965-1314
Attn: TELLICIA                Britt & Sons Electrical Whsle               3293 Highway 78 W                 Snellville             GA   30087          770-972-2735     (770) 972-2741
Attn: Repairs & Maintenance   Ellis Tool Svc                              407 W Lake Ave                    Rossville              GA   30741   1238   (706) 866-3424
Attn: Repairs & Maintenance   European Craftsman Metrology                6045 S Norcross Tucker Rd #105    Norcross               GA   30093   5507   (770) 270-9679
Attn: Repairs & Maintenance   F & D Tool Svc & Supply                     132 Richardson Dr                 Dalton                 GA   30721   8742   (706) 277-6100
Attn: Repairs & Maintenance   T & T Tool Repair                           6030 Highway 85                   Riverdale              GA   30274   1529   (770) 997-3060
Attn: Repairs & Maintenance   Broome's Portable Buildings                 3317 Mike Padgett Hwy             Augusta                GA   30906   3784   (706) 790-7363
Attn: Repairs & Maintenance   C & C Rent All                              4098 N Henry Blvd                 Stockbridge            GA   30281   3809   (770) 474-8628
Attn: Repairs & Maintenance   Cobb Rental Svc Inc                         PO Box 666217                     Marietta               GA   30066   603    (770) 422-4218
Attn: Repairs & Maintenance   Precision Tool Repair                       1726 Hazelwood Dr SE # B          Marietta               GA   30067   7260   (678) 560-6811
Attn: Repairs & Maintenance   Tool Box Inc                                439 Telfair Rd # A                Savannah               GA   31415   9505   (912) 238-5512
Attn: Repairs & Maintenance   Atlanta Nail & Tool Svc                     1481 Hudson Bridge Rd # F         Stockbridge            GA   30281   5081   (770) 389-4711
Attn: Repairs & Maintenance   Makita USA Inc                              2650 Buford Hwy                   Buford                 GA   30518   6045   (678) 714-3860
Attn: Repairs & Maintenance   Stone Mountain Power Tool Corp              1016 Windward Ridge Pkwy          Alpharetta             GA   30005   3992   (770) 667-2700
Attn: Repairs & Maintenance   Tifton Electric Motors                      1265 Us Highway 82 E              Tifton                 GA   31794   9440   (229) 382-4040
Attn: Repairs & Maintenance   ATI Sales Co                                18 Valley Rd                      Byron                  GA   31008   4307   (478) 956-3860
Attn: Repairs & Maintenance   Barefield's Tool Svc Inc                    2562 Shady Ln SW                  Conyers                GA   30094   4947   (770) 603-7054
Attn: Repairs & Maintenance   Retool                                      1720 Epps Bridge Pkwy # 105       Athens                 GA   30606   6131   (706) 227-1137
Attn: WALTER                  SLim's Power Tools                          142 Kalepa Place                  Kahului                HI                 (808) 242-7878    (808) 242-7790
Attn: WARREN                  Air & Hydraulic Service                     842 Ilaniwai St,                  HI                     HI                 (808) 597-8051    (808) 591-1237
Attn: WAYNE                   LYNCH CO., INC.                             841 Pohukaina, Suite 201          Honolulu               HI                 808-859-68870     (808) 596-7044
Attn: WAYNE                   SAKO ELECTRIC MOTOR REWINDING CORP                                            Honolulu               HI           96813 808-841-6989      (808) 841-6989
Attn: WAYNE                   Mercury Electric                            1029 Puuwai St                    Honolulu               HI                 (808) 841-5711    (808) 842-6022
Attn: WAYNE                   Gima Appliance Service Inc.                 570 Dillingham Blvd               Honolulu               HI   96817   6603 808-536-6956       (808) 845-7555
Attn: WAYNE                   The Gellert Co., Inc.                       444 Waiakamilo Road               Honolulu               HI   96817   4941 (808) 847-2695     (808) 847-1433
Attn: Repairs & Maintenance   Hilti Inc                                   1199 Dillingham Blvd              Honolulu               HI   96817   4440   (808) 845-9664
Attn: Repairs & Maintenance   WIKI WIKI Power Tool Repair                 99-1265 Halawa Valley St # B      Aiea                   HI   96701   3281   (808) 486-1955
Attn: Repairs & Maintenance   H & N Ind Supply Inc                                                          Honolulu               HI   96819   0      (808) 833-4284
Attn: Repairs & Maintenance   Industrial Cutters Co                       501 Sumner St # 104               Honolulu               HI   96817   5331   (808) 538-3545
Attn: DAVID, DEBBIE           White Cap Construction Supply               2003 S Gilbert St                 Iowa city              IA                  (319) 337-4681   (319) 337-9619
Attn: DAVID/TAMMY             JOHN'S LOCK & KEY, INC                      2901 1 Ave Se                     Cedar Rapids           IA   52402   4426   (319) 362-7866   (319) 363-4653
Attn: DAWN                    Acme Tools                                  410 1st Ave. NW                   Cedar Rapids           IA   52405          (319) 363-2211   (319) 363-8389
Attn: DEAN                    Campbell Supply Co                          911 Commercial St                 Waterloo               IA                  (319)234-6613    (319) 395-0003
Attn: DEAN                    J & S Electronic Business Syst              878 Jefferson St                  Burlington             IA                  319-752-0537     (319) 752-0537
Attn: DEAN FULLER             Brozene Hydraulic                           1400 Mt. Pleasant St.             Burlington             IA   52601          (319) 752-4017   (319) 754-7977
Attn: DEANETTE, JEANETTE      Iowa Fluid Power                            1610 Blairs Ferry Rd NE           Cedar Rapids           IA                  (319) 395-7000   (319) 795-0200
Attn: KAREN                   White Cap Construction Supply               1631 2nd Ave                      Des Moines             IA   50314          (515) 243-6969   (515) 243-6640
Attn: KAREN HUNT, BRAD        Total Tool                                  622 SE 5th St                     Des Moines             IA   50309          (515) 244-1516   (515) 244-2164
Attn: KASSI                   Acme Tools                                  841 11th St                       Des Moines             IA   50309   1544   (515) 244-4189   (515) 244-6366
Attn: KATELYN                 Hydra Quip                                  4016 E. 23rd St.                  Des Moines             IA   50317          (515) 265-1453   (515) 265-2441
Attn: KATHERINE               Ace Tool Co                                 2408 E 22nd St                    Des Moines             IA   50317          (704) 597-7535   (515) 274-3725
Attn: KATHY                   Laser Resources                             1601 SE Gateway Dr. #130          Grimes                 IA   50111          (515) 278-4050   (515) 276-8700
Attn: KATHY                   DEWALT                                      3408 Merle Hay Rd                 Des Moines             IA                  (515) 270-1340   (515) 276-9434
Attn: KATHY                   Clive Power Equipment                       7600 University Ave               Clive                  IA   50325   1268   (515) 279-2296   (515) 279-3305
Attn: KATHY                   Bob's Tools                                 1493 E Army Post Rd               Des Moines             IA   50320          (515) 287-7805   (515) 287-7805
Attn: KATIE                   Iowa Machinery & Supply                     1711 2nd Ave                      Des Moines             IA   50314   3604   (515) 288-3733   (515) 288-3733
Attn: KATRINA                 Hupp/Powerlift Division                     1120 Se Lorenz Dr                 Ankeny                 IA   50021          515-965-5555     (515) 965-8165
                                                                                                                                                       Eldridge, IA
Attn: MARK                    MH Equipment                                3512 S. 11th Ave.                 Black Hawk Ind. Park   IA                  52748            (563) 285-1660
Attn: MARK                    Rogan Inc.                                  400 Devils Glen Rd S              Bettendor              IA   52722   6476   (563)355-8333    (563) 355-8333
Attn: PETER                   BLINK ELECTRIC MOTORS INC                   116 N 1ST AVE                     MARSHALLTOWN           IA   50158          (641) 752-3036   (641) 752-7475
Attn: ROBERT GREEN            Able Locksmiths                             24 S 7th St                       24 S 7th St            IA   51501   4131   (712) 322-7501   (712) 325-6147
Attn: Repairs & Maintenance   Tool Hospital Of Davenport                  724 W 2nd St                      Davenport              IA   52802   1410   (563) 386-1533
Attn: Repairs & Maintenance   Tool Hospital Of Iowa City                  2003 S Gilbert St                 Iowa City              IA   52240   4373   (319) 339-0641
Attn: Repairs & Maintenance   Kel Welco Of Davenport                      724 W 2nd St                      Davenport              IA   52802   1410   (563) 386-2922
Attn: Repairs & Maintenance   White Cap Construction Supply               830 33rd Ave SW # A               Cedar Rapids           IA   52404   3940   (319) 247-2142
Attn: Repairs & Maintenance   Botine Electric Inc                         1207 Lake Ave                     Storm Lake             IA   50588   1905   (712) 732-2332
Attn: Repairs & Maintenance   Wolbrink Electric Inc                       1311 2nd Ave                      Sheldon                IA   51201   1926   (712) 324-3435
Attn: Repairs & Maintenance   Woody's Electric Motor Svc                  725 16th Ave                      Council Bluffs         IA   51501   6378   (712) 323-0800
Attn: AL                      Automotive Service Equipment                314 E 35th St                     Garden City            ID   83714          (208) 343-2621   (208) 343-2673
Attn: AL                      A1 Lock & Safe                              1111 S Orchard St #160            Boise                  ID   83705          (208) 377-4500   (208) 375-7007
Attn: ALECIA                  Priest Electric                             412 W Simplot Blvd                Caldwell               ID   83605          (208) 459-6351   (208) 459-6586
Attn: ALEX                    Idaho Tool & Equipment                      452 Caldwell Blvd.                Nampa                  ID   83651          208-465-7533     (208) 467-4757
Attn: ALEX                    Valley Office Systems                       2050 First Street                 Idaho Falls            ID   83401          (208) 529-2777   (208) 529-0135
Attn: ALEX                    Edge Construction Supply                    760 W Broadway St                 Idaho Falls            ID   83402          (208) 522-7082   (208) 529-5456
Attn: Alex                    Coeur D'Alene Power Tool                    451 Cherry Ln                     Coeur D Alene          ID   83815          (208) 667-1158   (208) 765-1818
Attn: ALEX HECHTA             Strom Electric                              405 S Main St                     Troy                   ID   83871   5009   (208) 835-2331   (208) 835-2332
Attn: Repairs & Maintenance   Boise Tool Repair                           121 E 44th St # C                 Boise                  ID   83714   4820   (208) 323-9931
Attn: Repairs & Maintenance   Western Tool Supply                         375 N Five Mile Rd                Boise                  ID   83713   8959   (208) 322-8725
Attn: Repairs & Maintenance   C J's Tool 'n Vac                           RR 1 Box 459                      Bonners Ferry          ID   83805   9748   (208) 267-3096
Attn: Repairs & Maintenance   Industrial Tool & Supply                    1800 Garrett Way                  Pocatello              ID   83201   5132   (208) 232-8302
Attn: AUSTIN                  Probst Refrigeration & Heating Inc          318 W Jefferson Ave               Effingham              IL   62401         (217) 646-0017    (217) 342-2898
Attn: CINDY                   Bills Key Lock Shop                         127 E Beaufort St                 Normal                 IL           61761 (309) 454-1713    (309) 454-8701
Attn: CONNIE                  JLW Instruments, Inc.                       452 N. Sangamon St.               Chicago                IL                 (312) 666-0595    (312) 733-0009
Attn: NORA                    Holz Tool Supply                            819 Broadway St                   Jefferson              IL                 (618) 242-4676    (618) 242-4679
Attn: OCTAVIO                 Illinois Electric Works Inc                 2161 Adams St                     Granite City           IL   62040   3315 (618) 451-6900     (618) 451-6940
Attn: PAM                     AAR Corp.                                   1100 North Wood Dale Rd.          Wood Dale              IL   60191         (630) 227-2000    (630) 227-2039
Attn: PAT                     Nationwide Gage Calibration, inc.           159 Covington Drive               Bloomingdale           IL   60108         (630) 529-4959    (630) 529-9087
Attn: PATRICK                 Du Page Security Solutions Inc              603 S Addison Rd                  Du Page                IL                 (630)530-1300     (630) 530-7935
Attn: PATRICK                 INDUSTRIAL TOOL PRODUCTS, INC               919 North Central Avenue          Wood Dale              IL   60191         (630) 766-4040    (630) 766-4166
Attn: PATTY                   Restoration Technologies                    3695 Prairie Lake Ct              Aurora                 IL                 630-851-1744      (630) 851-1774
Attn: PATTY                   Oil Safe System                             1108 Front Stree                  Lisle                  IL   60532         (630) 922-5009    (630) 852-3678




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Attn: PATTY                       General Servo & Spindle Motors           360 Industrial Dr, 60177-1199   South Elgin              IL                      (630) 889-9261   (630) 889-9262
Attn: ROBERT                      Allied Measurement Systems Corporation   13940 S. Kildare                Crestwood                IL   60445              (708) 385-0404   (708) 385-8664
Attn: ROBERT                      RECCO TOOL & SUPPLY CO. *                8805 Joliet Rd.                 McCook                   IL   60525              (708) 442-7850   (708) 442-7871
Attn: ROBERT                      Eastland Industries Inc                  4115 Washington Blvd            Hillside                 IL   60162       1126   (708) 547-6500   (708) 547-9059
Attn: ROBERT                      Cal Lab Co., Inc                         17035 Westview Ave.             South Holland            IL   60473       2743   (708) 596-5800   (708) 596-5802
Attn: ROBERT                      Chicago Jack Service                     2000 S. 25th Ave, STE T         Broadview                IL   60155              708-681-1800     (708) 681-1900
Attn: ROBERT                      Elmer & Son Locksmiths - Steger          3001 Chicago Rd                 60475-1053 - Steger      IL                      (708) 755-5273   (708) 755-5283
Attn: ROBERT                      Jack's Rental Inc                        6642 26th St                    Berwyn                   IL   60402              (708) 788-4300   (708) 788-0288
Attn: ROBERT GOLDENS              Allied INSTRUMENT SERVICE, INC.          3136 Clarence Avenue            Berwyn                   IL   60402              708-788-1912     (708) 788-2277
Attn: THET (CHET?)                University Lock & Key - Chicago          1344 e 55th St                  60615-5320 - Chicago     IL                      (773) 324-7960   (773) 324-7258
Attn: TIFFANY                     Allan J. Coleman                         5725 N Ravenswood Ave.          Chicago                  IL   60660              773-728-2400     (773) 728-2499
Attn: TIFFANY                     Waring Industrial Tool                   4524 N. Lincoln Ave.            Chicago                  IL   60625              (773) 728-1100   (773) 728-2799
Attn: TIFFANY                     Accurate Scale Co                        1735 W 38th St                  Chicago                  IL   60609       2025   (773) 847-1820   (773) 847-1828
Attn: TYLER                       Fitzgerald Equipment                     4650 Boeing Drive,              Rockford                 IL   1109               (815) 397-7050   (815) 397-7357
Attn: YVONNE                      Mid America Vacuum Ctr                   6221 Northwest Hwy              Crystal Lake             IL   60014       7932   (815) 459-1069   (815) 459-3337
Attn: Zach                        Oestreich Locksmiths                                                     Joliet                   IL   60431              (815) 722-6635   (815) 722-6635
Attn: ZACH, DAN                   Moline Service Center, Inc.              7308 Forest Hills Rd            Loves Park               IL   61111              (815) 877-1777   (815) 877-1954
Attn: Repairs & Maintenance       A-1 Factory Tool Svc Co                  1917 W Irving Park Rd           Chicago                  IL   60613       2407   (773) 348-2828
Attn: Repairs & Maintenance       ATG Sales Co                             510 Jasper St                   Joliet                   IL   60436       2115   (815) 723-0203
Attn: Repairs & Maintenance       Avantitools & Access Inc                 2287 Cornell Ave                Montgomery               IL   60538       3201   (630) 820-1502
Attn: Repairs & Maintenance       Calumet-Chicago Co                       2911 Bernice Rd                 Lansing                  IL   60438       1209   (708) 474-2343
Attn: Repairs & Maintenance       Dependable Tool Svc Inc                  2857 N Cicero Ave               Chicago                  IL   60641       5128   (773) 777-3480
Attn: Repairs & Maintenance       Illinois Tool Svc Inc                    1485 Landmeier Rd # J           Elk Grove Vlg            IL   60007       2464   (847) 228-1902
Attn: Repairs & Maintenance       Irwin Industrial Tool Co                 2757 W Farwell Ave              Chicago                  IL   60645       4514   (773) 761-1919
Attn: Repairs & Maintenance       North Pneumatic Tool                     39 N Meyer Ct                   Des Plaines              IL   60016       2243   (847) 299-6357
Attn: Repairs & Maintenance       Outback Machine Shop                     741 Watson Dr                   Genoa                    IL   60135       1332   (815) 784-5346
Attn: Repairs & Maintenance       Performance Provin Inc                   130 Erick St                    Crystal Lake             IL   60014       4512   (815) 477-0705
Attn: Repairs & Maintenance       Romic Industrial                         845 E Wilson St                 Batavia                  IL   60510       2204   (630) 879-1051
Attn: Repairs & Maintenance       Aide Rentals Inc                         186 W Sauk Trl                  Chicago Heights          IL   60411       5398   (708) 756-4020
Attn: Repairs & Maintenance       Mak Tool Rental                          217 E Poplar St                 Harrisburg               IL   62946       1527   (618) 253-6995
Attn: Repairs & Maintenance       Talyor Rental                            16941 Torrence Ave              Lansing                  IL   60438       1013   (708) 474-4002
Attn: Repairs & Maintenance       Taylor Rental                                                            Hinsdale                 IL   60521       0      (630) 920-5999
Attn: Repairs & Maintenance       Trinity Rentals                          1403 W Washington St            Pittsfield               IL   62363       9584   (217) 285-5566
Attn: Repairs & Maintenance       Mpv Inc                                  962 N Shore Dr                  Lake Bluff               IL   60044       2202   (847) 234-3960
Attn: Repairs & Maintenance       Schubert Tool Svc & Sales                1114 Lunt Ave                   Schaumburg               IL   60193       4421   (847) 891-8825
Attn: Repairs & Maintenance       Wade Tool & Supply Co                    5520 Touhy Ave # K              Skokie                   IL   60077       3277   (847) 677-8992
Attn: Repairs & Maintenance       C & H Repair Plus Supply                 PO Box 555                      Peoria                   IL   61651       555    (309) 676-3333
Attn: Repairs & Maintenance       Bud & Ray's Repair Air Elec              701 N 5th St                    Quincy                   IL   62301       2329   (217) 223-2955
Attn: BARB                        Phil & Son Security Technology           871 N. Madison St.              Crown Point              IN   46307       8212   (219) 663-5757   (219) 663-1066
Attn: BARBARA                     TEACO Inc.                               2117 Ohio St.                   Michigan City            IN   46361              (219)874-6234    (219) 874-6080
Attn: BRAD                        Century Labs II                          2802 Congressional Pkwy # G     Fort Wayne               IN   46808              (260) 471-0501   (260) 471-0501
Attn: BRAD                        Wayne Fasteners, Inc.,                   2611 Independence Drive         Fort Wayne               IN   46808              (800) 994-0393   (260) 483-8082
Attn: BRAD                        Wagner Electric                          3610 North Clinton Street       Fort Wayne               IN   46805       1898   (260) 484-5532   (260) 484-4485
Attn: BRAD                        Hearcare Audiology                       5933 East State Blvd            Fort Wayne               IN   46815              260-485-1231     (260) 486-6958
Attn: DARRYL, DUSTIN              Black & Decker                           5999 Crawfordsville Rd          Indianapolis             IN                      (317) 243-8308   (317) 241-6867
Attn: DAVE                        VAMACO TOOL                              6718 E 38TH ST                  INDIANAPOLIS             IN   46226              (317) 632-2208   (317) 244-3920
Attn: DAVE / DEBBIE               Anderson Brothers Tool Repair            3531 Southeastern               INDIANAPOLIS             IN   46203       1528   317-356-6381     (317) 356-6382
Attn: DAVE KAISER / NICOLE, JO    KOCH ELECTRIC                            202 E Palmer Street             INDIANAPOLIS             IN                      (317) 639-5624   (317) 638-5624
Attn: DAVE, MELISSA               Quality Supply & Tool                    5722 S Harding St,              Indianapolis             IN   46217              (317) 786-0042   (317) 786-0044
Attn: DAVID                       Capitol Drilling Supplies Inc            5440 Rock Hampton Ct            INDIANAPOLIS             IN                      (317)875-7601    (317) 872-2077
Attn: DAVID                       PERFECT WIRELESS                         3405 W 96TH ST                  INDIANAPOLIS             IN   46268              (317) 874-4260   (317) 874-4266
Attn: MARK                        Mittler Supply Inc                       1820 Mishawaka St               Elkhart                  IN   46514       1896   (574)264-2104    (574) 262-9953
Attn: MARK                        ALCO TOOL SUPPLY                         54847 County Road 17            Elkhart                  IN   46516              (574) 295-5535   (574) 293-2254
Attn: MARK                        C & L ELECTRIC MOTOR REPAIR              1402 N CHICAGO AVE              GOSHEN                   IN   46528              (574) 533-2643   (574) 533-1511
Attn: MARK                        Scotty's Hydraulic Svc                   1200 Markley Dr                 Plymouth                 IN   46563       3207   (574) 935-5175   (574) 935-5162
Attn: WILLIAM                     Bennett & Hair                           1211 Poplar St                  Terre Haute              IN   47807              (812) 238-1277   (812) 238-8980
Attn: WILLIAM SANDERS             Valley Scale Company, LLC                751 West Kenwood Avenue         Clarksville              IN   47129              (812) 282-5269   (812) 284-6572
Attn: WILLIAMS                    Owens Communications                     1815 21st Street                Columbus                 IN   47201              (812) 376-9652   (812) 376-9729
Attn: WILLY                       Electro Lab Services                     517 N. FULTON AVE               EVANSVILLE               IN   47710              812-423-5211     (812) 421-3689
Attn: Repairs & Maintenance       B & W Repair Svc                         PO Box 480                      Dale                     IN   47523       480    (812) 937-2576
Attn: Repairs & Maintenance       Hoosier Tool Supply Inc                  200 N Adams St                  Brownsburg               IN   46112       1143   (317) 858-7188
Attn: Repairs & Maintenance       Industrial Tools Sales & Svc             712 W 6th St                    Jasper                   IN   47546       2600   (812) 482-7895
Attn: Repairs & Maintenance       Riteway Tool Repair                      5602 Elmwood Ave # 202          Indianapolis             IN   46203       6037   (317) 786-8247
Attn: Repairs & Maintenance       Tool Shed                                PO Box 674                      Bristol                  IN   46507       674    (574) 848-7815
Attn: Repairs & Maintenance       Advantage Tool Rental Inc                2500 E Michigan Rd              Shelbyville              IN   46176       9102   (317) 392-9440
Attn: Repairs & Maintenance       Hoosier Tools                            1200 E 52nd St                  Indianapolis             IN   46205       1200   (317) 466-5060
Attn: Repairs & Maintenance       Mullin Rental Svc Inc                    2528 E Michigan St              Indianapolis             IN   46201       3293   (317) 632-3456
Attn: Repairs & Maintenance       Mullin Tool Rental                       2528 E Michigan St              Indianapolis             IN   46201       3293   (317) 632-7368
Attn: Repairs & Maintenance       Hoosier Supply                           3009 W Sample St                South Bend               IN   46619       3095   (574) 232-0033
Attn: Repairs & Maintenance       Bailey Tools & Supply Inc                5716 E Morgan Ave               Evansville               IN   47715       2398   (812) 475-1618
Attn: Repairs & Maintenance       LA Porte Tool Supply                     717 E Lincolnway                Laporte                  IN   46350       3837   (219) 362-7818
Attn: DAN, NANCY                  Murdock Companies Inc.                   1111 E. 1st                     Wichita                  KS   67214              316-262-0401     (316) 263-8100
Attn: DANNY                       B&B Electric Motor Co.                   332 Lulu St                     Wichita                  KS   67211                               (316) 267-0599
Attn: DANNY, PRICILLA             Midwest Electric Transformers            1324 N. Oliver Rd., Hanger P    Newton                   KS                      (316) 283-7500   (316) 283-7538
Attn: DARRYL                      White Star Machinery & Supply            3223 N Hydraulic St             Wichita                  KS                      (316)838-3321    (316) 832-1375
Attn: JOHN Ross                   Keyplace Safe & Lock                     234 N Main St                   Colville KS              KS                      (509) 684-3605   (509) 685-0139
Attn: TODD                        Mid-Kansas Tool & Electric               314 W Cloud St                  Salina                   KS   67401              (785) 825-6287   (785) 825-2585
Attn: Repairs & Maintenance       Clark's Tool                             6217 Goddard St                 Shawnee                  KS   66203       2933   (913) 268-1271
Attn: Repairs & Maintenance       Air Capital Power Tool                   PO Box 9172                     Wichita                  KS   67277       172    (316) 945-8665
Attn: Repairs & Maintenance       De Walt Industrial Tool Co               155 S West St                   Wichita                  KS   67213       2101   (316) 943-1271
Attn: Repairs & Maintenance       Heath Sales & Svc Inc                    1485 E 151st St                 Olathe                   KS   66062       2854   (913) 397-0001
Attn: Repairs & Maintenance       Midwest Tool Supply                      108 N Chester St                Olathe                   KS   66061       3613   (913) 393-2445
Attn: BRENDON                     Electrical Equipment Repair              1330 e 2nd St                   42303-0160 - Owensboro   KY                      (270) 684-5357   (270) 684-7709
Attn: BRENT                       J.A. King                                1650 US HWY 60                  Ledbetter                KY   42058              (270) 898-7941   (270) 898-7957
Attn: BRET                        GMENI Inc                                6801 Kentucky Dam Rd,           Paducah                  KY   42003              (270) 898-6018   (270) 898-8498
Attn: JESSE, SHELLY Z., JOHN Z.   International Systems Of Amer            1812 Cargo Ct                   LOUISVILLE               KY   40299 USA          502) 499-9485    (502) 491-6543
Attn: JESSICA                     Radioland, Inc.                          1421 Lexington Road             Louisville               KY   40206              (800) 626-2447   (502) 589-4276
Attn: JESSICA, EDDIE HARMON       Bailey Tool & Supply Inc                 1338 S Shelby St                Louisville               KY   40217              (502) 635-6348   (502) 635-6470
Attn: JESSIE                      Valu Tool Repair & Sales                 2501 Crittenden Dr              Louisville               KY   40250              (502) 636-2835   (502) 636-0798
Attn: JESUS                       Cunningham Overhead Door                 2133 Frankfort Ave              Louisville               KY   40206              (502)897-5700    (502) 897-5793
Attn: JILL                        Smileys Air Tool & Hydraulic             4552 Poplar Level Rd            Louisville               KY   40213              (502) 966-3433   (502) 966-3910
Attn: JIM                         Kwikset Fasteners Inc                    4006 Bishop Ln                  Louisville               KY   40218              (502)969-5311    (502) 969-5619
Attn: MICHELLE                    Dynatech Electronics Inc                 4 Mill Dr                       Harlan                   KY   4831               (606) 573-7499   (606) 573-7466




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Attn: Repairs & Maintenance   Complete Tool Repair                        3904 Bishop Ln # 3                 Louisville           KY   40218   2943   (502) 966-5444
Attn: Repairs & Maintenance   Newton's Tool Repair Svc                    2316 Bluff Ave                     Owensboro            KY   42303   1515   (270) 691-0466
Attn: Repairs & Maintenance   Tool Repair Svc                             1200 Goss Ave                      Louisville           KY   40217   1296   (502) 635-6888
Attn: Repairs & Maintenance   General Rental Inc                          7401 Dixie Hwy                     Florence             KY   41042   2514   (859) 525-1707
Attn: Repairs & Maintenance   Southern Tool Supply                        4580 Poplar Level Rd               Louisville           KY   40213   2162   (502) 966-0760
Attn: Repairs & Maintenance   R & E Tool Sales                            10915 Dixie Hwy                    Walton               KY   41094   7462   (859) 371-8485
Attn: Repairs & Maintenance   Industrial Electric Motors                  PO Box 185                         Danville             KY   40423   185    (859) 238-7984
Attn: BARRY                   Myco-Com Inc                                9232 Joor Road                     Baton Rouge          LA   70818          (225) 261-2666   (225) 262-1578
Attn: BART                    Crc Inc Of Louisiana                        11684 Darryl Dr                    Baton Rouge          LA   70815          (225) 275-8810   (225) 273-4512
Attn: BECKY                   Power Tool Specialist                       1675 CHOCTAW DR.,                  Baton Rouge          LA   70805          (225) 356-0101   (225) 355-1855
Attn: BECKY                   B & H Air Tools (Delta Rigging and Tools)   6938 Exchequer Drive               Baton Rouge          LA   70809          (225) 752-4884   (225) 752-4824
Attn: BECKY                   ABC BATON ROUGE                             17991-A Old Perkins Rd. East.      Baton Rouge          LA   70809          (225) 752-1195   (225) 756-3180
Attn: BEN                     The Toolshed Baton Rouge                    1856 Wooddale Court                Baton Rouge          LA   70806          225-926-6500     (225) 924-7700
Attn: BERNIE                  SOUTHERN FASTENER & TOOL CO INC.            9440 Mammoth Avenue                Baton Rouge          LA   70814   4107   (800) 272-8025   (225) 927-3335
Attn: DAVID                   American Armature Works                     2044 Texas Ave                     Shreveport           LA                  (318)222-0746    (318) 222-0724
Attn: DAVID                   Shreveport Air Tool, Inc.                   125 Freestate Blvd.                Shreveport           LA                  (318) 227-9412   (318) 227-0013
Attn: DAVID                   Tool House Inc                              510 Walnut St                      Ouachita             LA                  (318)322-6167    (318) 323-3410
Attn: DAVID                   Tool Town                                   704 North 7th Street.              West manroe          LA                  (318) 329-2929   (318) 329-2988
Attn: DAVID                   Southern Apparatus Services, Inc.           500 Industrial Blvd.               West Monroe          LA   71291          (318) 396-1738   (318) 396-0083
Attn: DAVID / COLORADO        Black & Decker U.S., Inc., Dewalt Div.      7714 Jewella Ave.                  Shreveport           LA                  (318) 688-1553   (318) 687-2711
Attn: EDDIE                   motion industries                           410 W Saint Peter St               New Iberia           LA                  337-364-2431     (337) 365-0548
Attn: EDDIE                   Pousson's Tool & Fasteners Co               3312 Hodges St                     Lake Charles         LA   70601   8579   (337) 477-9401   (337) 477-2425
Attn: ESTER                   TY'S OUTDOOR POWER & SVC INC                21616 R And R Rd                   Gretna               LA                  (402) 332-5577   (402) 332-5958
Attn: JIM                     Sunsource                                   5109 Taravella Road                Marrero              LA   70072          800-349-1134     (504) 349-4792
Attn: JIM, FLO                Gas and Supply                              1452 4th St                        Harvey               LA   70058          (504) 362-9395   (504) 366-4533
Attn: JIMMY                   Electronic Services Inc                     7700 Westbank Exp.                 Westwego             LA   70094          504 436 2596     (504) 436-2599
Attn: JIMMY/NATHAN            Applied Business Concepts                   2829 Virginia St.                  Kenner               LA   70062          (504) 467-2679   (504) 467-2677
Attn: JOAN                    Beerman Precision Inc                       4206 Howard Ave                    New Orleans          LA   70125          (504)486-9391    (504) 486-7482
Attn: JOAN                    Beerman Precision                           4845 Bloomfield St.                Jefferson            LA   70121          504-734-2727     (504) 734-1321
Attn: Repairs & Maintenance   Cross Country Contractors Inc               PO Box 482                         Zachary              LA   70791   482    (225) 654-2040
Attn: Repairs & Maintenance   Pal's Equipment & Repair                    1617 Railroad Rd                   New Iberia           LA   70560   8835   (337) 365-0707
Attn: Repairs & Maintenance   Sigler Industrial                           6911 Exchequer Dr                  Baton Rouge          LA   70809   4902   (225) 751-8262
Attn: Repairs & Maintenance   G & C Electric                              335 E Laurel Ave                   Eunice               LA   70535   3419   (337) 457-1300
Attn: Repairs & Maintenance   Braud Air & Power Tool Svc                  4036 Highway 73                    Geismar              LA   70734   3514   (225) 673-2012
Attn: Repairs & Maintenance   Joe's Electrical Power Tools                808 E Carlton St                   Sulphur              LA   70663   1318   (337) 527-3020
Attn: Repairs & Maintenance   Pat's Power Tool Svc                        1531 Delta Rd                      La Place             LA   70068   2905   (985) 536-7195
Attn: HOLLY                   RELIANCE ELECTRIC SERVICE CO., INC          573 S Canal St                     Holyoke              MA   1040    5555   (413) 533-3557   (413) 533-3560
Attn: HOWARD                  Ne Security Sollutions                      74 Doty Cir                        West Springfield     MA                  (413) 584-4341   (413) 739-5476
Attn: JOE                     South Shore Generator Service               2696A Cranberry Highway            Wareham              MA   2571           (888) 339-4248   (508) 291-2544
Attn: JOE                     Patriot Supply                              172 Copeland Drive                 Mansfield            MA   2048           800-339-7287     (508) 339-6921
Attn: JOHN                    Foxboro Tool Repair Inc                     16 Railroad Avenue                 Foxboro              MA   2035           (508) 543-2606   (508) 543-3914
Attn: JOHN                    Burns Tools                                 350 Mariano Bishop Blvd            Fall River           MA   2721    2365   (800) 341-2200   (508) 677-1300
Attn: JOHN                    146 Supply Center, Inc.                     97 Worcester Providence Tpke       Millbury             MA   1527           (508) 865-3800   (508) 865-0542
Attn: TIM                     Action Lock & Key Inc                       17 Cambridge St                    Burlington           MA   1803    4601   (781) 229-9992   (781) 229-1639
Attn: TIM                     BJORKMAN INDUSTRIAL POWER CORP              70 FINNELL DRIVE                   WEYMOUTH             MA   2188           (781) 331-6750   (781) 331-9505
Attn: TIM                     Compu-Lock                                  85 Vernon St                       Norwood              MA   2062    2103   (781) 440-9900   (781) 440-9903
Attn: TIM                     Ace Locksmith and Security Systems          1182 Washington St                 Norwood              MA                  (781) 762-4874   (781) 769-3356
Attn: TIM OWENS               Atlantic Systems Electronics                24 Rockland St # 8                 Hanover              MA   2339    2226   (781) 826-8760   (781) 826-7165
Attn: TIMEKA                  Evergreen Marketing Group                   126 Calvary St.                    Waltham              MA   2454           (781) 899-0790   (781) 899-2482
Attn: TIRO                    New England Hydraulic Svc Co                21 6th Rd # B                      Woburn               MA   1801    1757   (781) 932-8880   (781) 932-9715
Attn: TODD                    Same Day Svc Co Inc                         1 Presidential Way                 Woburn               MA   1801    1757   (781) 334-3909   (781) 935-2342
Attn: Repairs & Maintenance   Behning Tool                                785 Washington St                  Hanover              MA   2339    1610   (781) 826-4767
Attn: Repairs & Maintenance   Mott's Tool Repair Svc                      92 Rayber Rd # 15                  Orleans              MA   2653    4019   (508) 240-0764
Attn: Repairs & Maintenance   Otto's Tool Repair                          PO Box 490                         Avon                 MA   2322    490    (508) 559-0041
Attn: Repairs & Maintenance   R & D Electric Tool Svc                     94 Valley Rd                       Dracut               MA   1826    2034   (978) 957-4042
Attn: Repairs & Maintenance   Island Tool Rental & Supply                 3 Waydale Rd                       Nantucket            MA   2554    4151   (508) 325-4700
Attn: Repairs & Maintenance   National Equipment Rental Inc               1296 Washington St                 Stoughton            MA   2072    3345   (781) 344-8811
Attn: Repairs & Maintenance   Power Tool Equip Rental Svc                 919 Main St                        Woburn               MA   1801    1295   (781) 933-1902
Attn: Repairs & Maintenance   Holmes Tool Repair                          68 Beale St                        Quincy               MA   2170    2617   (617) 472-3850
Attn: Repairs & Maintenance   Roger's Power Tool Repair                   683 American Legion Hwy            Westport             MA   2790    4103   (508) 636-3484
Attn: Repairs & Maintenance   Saw Center Inc                              472 Main St                        Springfield          MA   1105    2493   (413) 734-2045
Attn: Repairs & Maintenance   Donato Tools & Hardware                     41 Los Angeles St                  Newton               MA   2458    1016   (617) 969-1785
Attn: Repairs & Maintenance   Fitta Hendricks Assoc                       14 Lakeview Cir                    Sutton               MA   1590    2720   (508) 234-8888
Attn: Repairs & Maintenance   Kalman Electric Motors Inc                  471 Page St # 1b                   Stoughton            MA   2072    1141   (781) 341-4900
Attn: Repairs & Maintenance   Littleton Tool & Supply Co                                                     Littleton            MA   1460    0      (978) 486-9100
Attn: Repairs & Maintenance   Toolkraft Parts & Svc                       23 Florentine Gdns                 Springfield          MA   1108    2507   (413) 737-7331
Attn: BILL                    W.A. Chester LLC                            4309 Parliament Place Suite Q      Lanham               Md   20706         (240) 487-1940    (240) 487-1941
Attn: BRIAN BORIA             Black & Decker Inc                          7963 Central Ave                   Capitol Heights      MD   20743   3531  (301) 333-0864    (301) 333-0864
Attn: Brian, MARY             Powerhouse Tool & Supply Inc                201 Ritchie Road # C               CAPITOL HEIGHTS      MD   20743         (301) 350-8200    (301) 350-4026
Attn: BRIDETTE,               Posner Industries Inc                       44180 Airport View Dr # 12         Hollywood            MD   20636         (301) 373-6390    (301) 373-6394
Attn: BUTCH                   Automated Fastenting Systems                5700 Sunnyside Ave Ste F           Beltsville           MD           20705 (301) 507-6200    (301) 507-6205
Attn: CALEB                   Posner Industries Inc                       4600-J Wedgewood Blvd.             Frederick            MD   21703         (301) 668-4450    (301) 668-4454
Attn: CALVIN                  Word Processing Service, Inc                14500 Byers Road                   Hagerstown           MD   21742         (301) 797-1399    (301) 797-9029
Attn: CARL OR MILLIE          H & H Lock & Security                       9140 Gaither Rd                    Gaithersburg         MD   20877   1489 (301) 948-1996     (301) 948-5265
Attn: CARL SCHRENKER          Colony Hardware                             8051 Penn Randall Pl               Upper Marlboro       MD   20772         (301)967-2844     (301) 967-0218
Attn: GRACIE                  MARTEK of MD Inc.                           9917 Stephen Decatur Hwy Unit #5   West Ocean City      MD   21842         410-213-0888      (410) 213-2790
Attn: GRANT                   Hydraulic & Machining Sales & Services      1900 Benhill Ave.                  Baltimore            MD   21226         (410) 355-5300    (410) 355-5302
Attn: GREG                    HYDRAULIC SERVICE INC.                      3304 Barclay St.                   21218 Baltimore      MD                 (410) 467-9459    (410) 467-1019
Attn: GREG                    Plastech Inc                                3903 Washington Blvd # A           Baltimore            MD                 (410) 737-4700    (410) 737-6764
Attn: GREG                    Key One Inc                                 PO Box 2422, Easton                MD                   MD                 (410) 820-4419    (410) 770-9664
Attn: GUS                     Zenmar Power Tool & Hoist Systems           243 Cockeysville Road              Cockeysville         MD   21030         410-785-5790      (410) 785-1103
Attn: GWEN                    Quick Servant Co Inc                        7395 Washington Blvd # 102         Elkridge             MD                 (410) 796-0888    (410) 796-1248
Attn: HARRY                   Tools & Accessories Corp.                   8975 Henkels Ln. Suite #710        Annapolis Junction   MD   20701         (410) 735-8800    (410) 796-4492
Attn: HARVEY                  Static Power Conversion Services Inc        9051-H Red Branch Road             Columbia             MD   21045         800-873-8793      (410) 992-1494
Attn: HEATH                   VILLAGE LOCK & KEY INC                      8970 State Route 108 # C,          Columbia             MD                 (410) 997-5969    (410) 997-0463
Attn: Repairs & Maintenance   Hemps Power Tool Svc                        17 Woodside Ave                    Thurmont             MD   21788   1931   (301) 898-9916
Attn: Repairs & Maintenance   Howard Lynch Associates Inc                 6077 Harford Rd                    Baltimore            MD   21214   1329   (410) 426-7783
Attn: Repairs & Maintenance   Swain Portable Power Tool Rpr               1280 Landing Ln                    Westminster          MD   21157   3021   (410) 751-6802
Attn: Repairs & Maintenance   Timberline Inc                              26 Kellington Dr                   Pasadena             MD   21122   1007   (410) 760-4386
Attn: Repairs & Maintenance   Porter-Cable Corp                           7397 Washington Blvd # 102         Elkridge             MD   21075   6345   (410) 799-9394
Attn: Repairs & Maintenance   Black & Decker                              7957 Central Ave                   Capitol Heights      MD   20743   3531   (301) 333-0863
Attn: Repairs & Maintenance   Mack Tool & Fastener Co                     1215 67th St                       Rosedale             MD   21237   2513   (410) 866-4140
Attn: Repairs & Maintenance   Nefco Corp                                  12332 Conway Rd                    Beltsville           MD   20705   1305   (301) 419-2755




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Attn: Repairs & Maintenance   Standard Supplies Inc                 4000 Coolidge Ave                    Baltimore                MD   21229     5512   (410) 646-3600
Attn: Repairs & Maintenance   Stevens Hardware                      40 Hudson St # 108                   Annapolis                MD   21401     3158   (410) 266-0629
Attn: Repairs & Maintenance   Trading Post                          1711 S Plantation Dr                 Dunkirk                  MD   20754     9756   (301) 812-1500
Attn: Repairs & Maintenance   Trading Post Inc                      PO Box 345                           Dunkirk                  MD   20754     345    (301) 812-1500
Attn: Repairs & Maintenance   WTS Inc                               4000 Coolidge Ave # C                Baltimore                MD   21229     5515   (443) 543-0100
Attn: ADAM                    A C Moore                             200 Running Hill Rd                  South Portland           ME   4106             (207) 253-5178   (207) 253-5528
Attn: ADDISON MOROZ           Matheson Gas                          51 Payne Ave                         Rockland                 ME   4841             (207) 594-4500   (207) 596-6923
Attn: ADRIAN, RANDY           The Vac Shak                          485 Pleasant St.                     Lewiston                 ME   4240             207-783-2902     (207) 795-0229
Attn: AHMED                   N H Bragg & Sons                      P.O.Box 927                          Bangor                   ME   4402      927    (207) 947-8611   (207) 947-6752
Attn: Repairs & Maintenance   Tooltech                              943 River Rd                         Bucksport                ME   4416      4403   (207) 469-3484
Attn: Repairs & Maintenance   East Coast Tool Svc                   15 Holly St # 109                    Scarborough              ME   4074      8867   (207) 883-9473
Attn: Repairs & Maintenance   Motor Power Inc                       1505 Lisbon St                       Lewiston                 ME   4240      3594   (207) 782-7017
Attn: BILL                    SPECMO Enterprises                    1200 East Avis Drive                 Madison Heights          MI   48071            (248) 307-2211   (248) 307-2571
Attn: BILL                    Big D Lock City                       2448 Coolidge Hwy                    Berkley                  MI   48072            (248) 398-2030   (248) 398-3156
Attn: BILL                    Cornelius Systems Inc                 3966 11 Mile Rd                      Berkley                  MI   48072     1005   (248) 545-5558   (248) 545-5557
Attn: BILL                    Fastener's Inc                        1605 Progress Dr.                    Madison Heights          MI   48071            (248) 542-5400   (248) 582-9033
Attn: BILL                    Arron's Lock & Key Inc                30870 John R Rd                      MADISON HEIGHTS          MI   48071 USA        (248) 588-4616   (248) 588-4616

Attn: BILL                    Dewalt service center                 30475 Stephenson Highway (Detroit)   Madison Heights          MI   48071           (248) 597-5000    (248) 597-5004
Attn: BILL, CINDY             Great Lakes Rubber Co., Inc.          30573 Beck Rd                        Wixom                    MI   48393           (248) 624-5710    (248) 624-4770
Attn: BRENDA                  Kalamazoo Electric Motor              414 Mills St                         Kalamazoo                MI             49001 (269) 345-7802    (269) 345-7929
Attn: CORRINE                 RENU ELECTRIC CO., INC.               20163 John R Rd.                     Detroit                  MI   48203           313-366-1570      (313) 366-1728
Attn: CORRINE                 Electric Tool & Svc Co Inc            19442 Conant St                      Detroit                  MI   48234           (313) 366-3830    (313) 366-1855
Attn: COURTNEY                Detroit Jack & Tool Service Inc.      2285 Indiandale                      Detroit                  MI   48238           313-867-2100      (313) 867-0033
Attn: KEN                     Bill Leech Repair Service             2017 E Michigan Ave.                 Lansing                  MI   48912           517 371 3583      (517) 371-4605
Attn: KENNY, ERIN             R N T Supply Inc                      4801 James A McDivitt St             Jackson                  MI   49201     8904 (517) 750-3898     (517) 750-4737
Attn: MATT                    So-Fro Fabrics *                      31910 Gratiot Ave                    Roseville                MI   48066           (586) 293-5210    (586) 293-5210
Attn: MATT                    The Parker Group, Inc.                44810 Vic Wertz Drive                Clinton Township         MI   48036           (586) 469-0606    (586) 469-2826
Attn: MATT                    Robinson's Saw Service Inc            52211 Van Dyke Ave                   Utica                    MI   48316           (586) 731-7175    (586) 731-3509
Attn: MATT                    Production Tool Supply Co             29710 Groesbeck Hwy                  Roseville                MI   48066           (586) 771-8800    (586) 771-1072
Attn: MATT                    American Industrial                   14240 E 11 Mile Rd                   Warren                   MI   48089     1467 (586) 776-2121     (586) 776-3529
Attn: NICK                    ETNA SUPPLY COMPANY                   4901 Clay Avenue SW                  Grand Rapids             MI   49548           (616) 241-5414    (616) 241-4786
Attn: NICKI                   Boston Square Lock & Key              1625 Kalamazoo Ave SE                Grand Rapids             MI   49507           (616) 243-5731    (616) 243-7751
Attn: NICOLAS, BARBARA        Industrial Service Technology Inc     3286 Kentland Ct Se                  Grand Rapids             MI   49548           (616) 247-1033    (616) 247-0086
Attn: NICOLE                  DeWalt Industrial Tool Co             2982 28th St SW                      Grandville               MI                   (616) 261-0425    (616) 261-0432
Attn: NICOLE                  GEZON TOOL SERVICE                    322 RUMSEY SOUTH WEST                Grand Rapids             MI   49503           (616) 451-2725    (616) 451-2728
Attn: NICOLE                  D C Martin & Sons Scales              370 36th St SE                       Grand rapids             MI                   (616) 451-2079    (616) 451-4407
Attn: NICOLE, DAN             Engineered Tooling Systems Inc,       2780 Courier Dr NW                   Grand Rapids             MI                   (61) 673-52252    (616) 735-2252
Attn: STEVE                   Brock Tool Of Detroit Inc             31090 Industrial Rd                  Livonia                  MI   48150     2033 (734) 261-9333     (734) 261-3058
Attn: STEVE                   All City Electric Motor - Riverview   18750 Fort St # 15                   48193-7407 - Riverview   MI                   (734) 284-2268    (734) 284-0032
Attn: STEVE                   NC Servo Technology Corporation       38422 Webb Drive                     Westland                 MI   48185     1974 (734) 326-6666     (734) 326-6669
Attn: STEVE                   Indian Trails                         28685 Smith Rd                       Romulus                  MI   48174           (734) 326-9801    (734) 326-9803
Attn: STEVE                   Mobile Mower Repair Inc - Dexter      1535 Baker Rd # 2                    48130-1601 - Dexter      MI                   (734) 426-5665    (734) 426-6384
Attn: STEVE                   McCally Tool & Supply                 2445 S. Industrial Hwy 1             Ann Arbor                MI   48104           (734) 525-4225    (734) 747-6098
Attn: WENDY                   Davison Tool Svc Inc                  236 Mill St                          Davison                  MI                   (810) 653-6920    (810) 653-6138
Attn: WILL                    Grand Blanc Industries                8201 Industrial Park Dr              Grand Blanc              MI   48439           (800) 397-8511    (810) 694-7100
Attn: WILL                    Mid-States Bolt and Screw             4126 Somers Drive                    Burton                   MI   48501           810) 744-0123     (810) 744-3798
Attn: Repairs & Maintenance   Airlex Service & Sales                1888 High Lake Rd                    Traverse City            MI   49686     9401   (231) 929-1601
Attn: Repairs & Maintenance   All Tool Repair                       7225 Stanke Dr                       East Lansing             MI   48823     9452   (517) 339-8011
Attn: Repairs & Maintenance   Bedford Service & Repair              PO Box 483                           Temperance               MI   48182     483    (734) 854-4097
Attn: Repairs & Maintenance   Billow Co                             15335 Dale St                        Detroit                  MI   48223     1035   (313) 255-4446
Attn: Repairs & Maintenance   Grand Rapids Power Tools Inc          1765 Kreft St NE                     Grand Rapids             MI   49525     2872   (616) 363-8326
Attn: Repairs & Maintenance   Gravelyn Tool Doctor                  4675 N White Rd                      Pierson                  MI   49339     9693   (231) 937-5121
Attn: Repairs & Maintenance   Griffin Services                      33392 Factoryville Rd                Athens                   MI   49011     9504   (269) 729-4921
Attn: Repairs & Maintenance   Master Service Ctr                    7876 Division Ave S                  Grand Rapids             MI   49548     7228   (616) 455-3117
Attn: Repairs & Maintenance   Toolline.Com                          24355 Capitol                        Redford                  MI   48239     2426   (313) 387-9000
Attn: Repairs & Maintenance   Ideal Trailer Rental Co               13470 Joseph Campau St               Detroit                  MI   48212     1649   (313) 891-2287
Attn: Repairs & Maintenance   Lewis Equipment Rental                13501 Gratiot Ave                    Detroit                  MI   48205     3431   (313) 526-5300
Attn: Repairs & Maintenance   Performance Line Tool Ctr             26772 Dequindre Rd                   Warren                   MI   48091     3939   (586) 558-8665
Attn: Repairs & Maintenance   Butki Saw & Tool Inc                  26707 Van Dyke Ave                   Center Line              MI   48015     1225   (586) 755-9330
Attn: Repairs & Maintenance   O'Tools                               215 Oakes St SW                      Grand Rapids             MI   49503     4016   (616) 454-2268
Attn: Repairs & Maintenance   Atlas Tool Svc                        2505 S Getty St                      Muskegon                 MI   49444     1705   (231) 739-6555
Attn: Repairs & Maintenance   Porter-Cable Corp                     30475 Stephenson Hwy                 Madison Heights          MI   48071     1615   (248) 597-5000
Attn: Repairs & Maintenance   Butki Saw & Tool Inc                  2607 Van Dyke                        Center Line              MI   48015     0      (313) 366-6775
Attn: Repairs & Maintenance   Deals On Wheels                       6736 Pine Eagle Ln                   West Bloomfield          MI   48322     3761   (248) 737-2853
Attn: Repairs & Maintenance   Detroit Air & Electric Tool           3275 Hilton Rd                       Ferndale                 MI   48220     1058   (248) 548-2260
Attn: Repairs & Maintenance   Fastenal Co                           3777 Lapeer Rd # A                   Port Huron               MI   48060     7785   (810) 984-5496
Attn: Repairs & Maintenance   Kitts Industrial Tools                27600 W 8 Mile Rd                    Farmington Hills         MI   48336     6100   (248) 476-2121
Attn: Repairs & Maintenance   Mc Cally Tool & Supply                2445 S Industrial Hwy # 1            Ann Arbor                MI   48104     6129   (734) 747-8332
Attn: Repairs & Maintenance   Midland Tool & Supply Inc             12771 Capital St                     Oak Park                 MI   48237     3113   (248) 548-5800
Attn: Repairs & Maintenance   Saber Diamond Tools Inc               25014 M 86                           Sturgis                  MI   49091     9649   (269) 467-4670
Attn: Repairs & Maintenance   Tool Works                            2221 E Highland Rd                   Highland                 MI   48356     2717   (248) 887-9972
Attn: BARB                    D J Fastener Supply                   2431 W Superior St Duluth            Duluth                   MN   55806            218-722-3014     (218) 722-7842
Attn: DEANNA                  Northern States Supply                600 Industrial Dr SW                 Willmar                  MN   56201     2717   (320) 235-0555   (320) 235-0981
Attn: DEDRIA, DEEDRA          Security Locksmiths, Inc.             2040 7th Street N.                   St. Cloud                MN   56303            (320) 253-4862   (320) 259-4727
Attn: DEDRIA, DEEDRA?         Olsen Chain & Cable data              300 1st St E                         55321 0000               MN                    (320) 286-5302   (320) 286-5302
Attn: JOE                     Thomas Tool & Supply                  945 37th Ave NW                      Rochester                MN   55901            (507) 281-3786   (507) 281-3879
Attn: JOE                     Northern States Supply                1416 Riverfront Drive                Mankato                  MN   56001            (507) 388-4060   (507) 388-1279
Attn: MIKE SCHMIDT            Viking Electric Supply                451 Industrial Blvd NE # 2           Minneapolis              MN   55413     8717   (612) 627-1300   (612) 627-1313
Attn: MIKE SHEARER            North Star Svc & Supply *             3410 E 42nd St                       Minneapolis              MN                                     (612) 722-3415
Attn: MIKE SHULTZ             Minneapolis Lock & Key                4448 Nicollet Ave,                   Minneapolis              MN                    (612) 823-8148   (612) 822-7716
Attn: PHILLIP                 Total Tool                            315 N. Pierce St                     St. Paul                 MN   55104            800-444-4899     (651) 646-8610
Attn: SUMMER                  JME Companies                         1401 Fallon Ave.                     Monticello               MN   55362            (763) 295-3122   (763) 295-8765
Attn: SUSAN                   R&L Hearing Services LLC              3005 Niagara Lane N., Suite 2        Plymouth                 MN   55447            (763) 383-1429   (763) 383-1437
Attn: TOM                     Sunsource                             113 Winter Drive                     Granite Falls            MN   49512            800-427-3623     (800) 636-2755
Attn: TOM                     Sunsource                             12800 South Hwy. 13                  Savage                   MN   55378            888-216-0858     (800) 764-2468
Attn: Repairs & Maintenance   Rapids Tool Rental                    2949 E Highway 169                   Grand Rapids             MN   55744     0      (218) 326-4180
Attn: Repairs & Maintenance   Dynamic Fastener                      1413 Hunting Valley Rd               St Paul                  MN   55108     1500   (651) 644-1212
Attn: Repairs & Maintenance   Commercial Equipment Repair           2648 Geranium Ave E                  St Paul                  MN   55119     3605   (651) 739-0127
Attn: Repairs & Maintenance   Elroy's Service                       7333 Argenta Trl                     Inver Grove Hts          MN   55077     2605   (651) 454-5672
Attn: Repairs & Maintenance   Deko Factory Svc Inc                  3048 Bloomington Ave                 Minneapolis              MN   55407     1770   (612) 721-6651
Attn: Repairs & Maintenance   Fastenal Co                           4730 Service Dr                      Winona                   MN   55987     1301   (507) 453-8280
Attn: Repairs & Maintenance   G T Tool Corp                         11071 93rd Ave N # C                 Maple Grove              MN   55369     4111   (763) 424-4019




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Attn: Repairs & Maintenance   Imperial Inc                                   3391 Betsy Ross Rd NW              Alexandria      MN   56308   9749   (320) 834-3327
Attn: Repairs & Maintenance   Nor-Star Tool & Handling                       9635 Humboldt Ave S                Bloomington     MN   55431   2622   (952) 881-2326
Attn: Repairs & Maintenance   Porter-Cable Corp                              5522 Lakeland Ave N                Minneapolis     MN   55429   3121   (763) 561-9080
Attn: Repairs & Maintenance   Thomas Tool & Supply Inc                       4901 W Broadway Ave                Minneapolis     MN   55429   3501   (763) 553-2499
Attn: Repairs & Maintenance   Viking Tool & Fastener                         500 Broadway St                    St Paul         MN   55101   2411   (651) 298-0678
Attn: Repairs & Maintenance   Tool Sales Co                                  2044 N 4th St                      Mankato         MN   56001   3101   (507) 625-8078
Attn: Repairs & Maintenance   Lakes Motor & Tool                             14507 Ironwood Ln                  Brainerd        MN   56401   5434   (218) 829-3546
Attn: CRYSTAL                 General Hydraulics                             701 N 20th St                      St Louis        MO                 (314) 241-8985    (314) 241-7723
Attn: CRYSTAL                 Bishop Taylor Inc                              8129 Page Ave                      St Louis MO     MO                 (314) 423-1616    (314) 423-6377
Attn: CURT                    DELTROL Fuid Products                          700 Le Bourge Dr.                  St. Louis       MO                 (314) 427-0600    (314) 427-3502
Attn: D.J.                    Heavy Duty Tools Inc - St Louis                14 Sunnen Dr # 142,                St Louis        MO                 (314) 645-4720    (314) 645-0878
Attn: DALE                    Beishire Lock & Security                       5423 S. Lindbergh Blvd.            St. Louis       MO   63123         (314) 842-4500    (314) 842-6811
Attn: DAN                     Black & Decker                                 11477 Page Service Dr,             Saint Louis     MO           63146 (314) 997-9100    (314) 997-9183
Attn: JAKE                    Al's Tool Repair                               1625 S Main St                     Joplin          MO   64804   753   (417) 781-5030    (417) 781-4849
Attn: JAMES                   H K & W SUPPLY                                 610 W. Chestnut                    Springfield     MO   65806         (417) 869-4527    (417) 869-1734
Attn: JAMES                   Yarbrough's Machine Shop Inc                   514 N Fremont Ave                  Springfield     MO   65802   3589 (417) 869-5344     (417) 869-6678
                              POPLAR BLUFF ELECTRICAL SUPPLY
Attn: MARK                    COMPANY                                        120 South 6th Street               Poplar Bluff    MO   63901          (573) 686-1737   (573) 686-4874
Attn: PAUL, BRIAN             AAA Home Services                              7428 Mexico Rd.                    St. Peters      MO   63376          (636) 928-4933   (636) 278-6085
Attn: PEGGY                   DLOW REPAIRS                                   115 CHURCH ST                      O'FALLON        MO   63366          (636) 978-7573   (636) 294-1567
Attn: PERRY                   All Star Sewer Equipment Sales                 1324 Wilmer Rd                     Wentzville      MO                  314-426-8800     (636) 887-4667
Attn: PETER                   TOOL SERVICE CTR                               2431 Raymond dr.                   St. Charles     MO                  (636) 940-2525   (636) 940-0691
Attn: PHILLIP BARKER          Clark's Tool                                   2907 W Broadway Blvd               Sedalia         MO   65301          (660) 826-3100   (660) 826-4597
Attn: ZACK R. MIKE, CARLA     St Joseph Electric Supply Company              1515 Buchanan Ave                  Saint Joseph    MO   64501   2025   (816) 232-3843   (816) 232-3843
Attn: ZHANAIA                 Pro Foundation Technology Inc.                 5525 Raytown Road                  Raytown         MO   64133          816-656-2434     (816) 358-4933
Attn: Repairs & Maintenance   Construction Tool Repair                       806 Pannell St # C                 Columbia        MO   65201   4730   (573) 499-1808
Attn: Repairs & Maintenance   Tool Doc Shop                                  Highway 5                          Camdenton       MO   65020   0      (573) 317-9233
Attn: Repairs & Maintenance   W Wood Intl Inc                                3 Dobbs Ln                         O Fallon        MO   63366   4216   (636) 327-8600
Attn: Repairs & Maintenance   Tool Rental & Supply Co Inc                    8800 E 63rd St                     Raytown         MO   64133   4801   (816) 356-8400
Attn: Repairs & Maintenance   Harbor Freight Tools                           10815 W Florissant Ave             St Louis        MO   63136   2405   (314) 524-6536
Attn: Repairs & Maintenance   Dewalt Industrtial Tool Co                     11477 Page                         St Louis        MO   63132   0      (314) 991-1339
Attn: Repairs & Maintenance   GED Power Tool                                 123 E Main St                      Steelville      MO   65565   0      (573) 775-3202
Attn: Repairs & Maintenance   Porter-Cable Corp                              1141 Swift Ave                     Kansas City     MO   64116   4129   (816) 221-2070
Attn: Repairs & Maintenance   71 Wholesale Warehouse                         171 SE 1st Ln                      Lamar           MO   64759   9220   (417) 682-5568
Attn: Repairs & Maintenance   Deco Enterprises Inc                           8122 Gravois Rd                    St Louis        MO   63123   4723   (314) 353-4900
Attn: Repairs & Maintenance   Dynamic Fastener Svc                           12800 Pennridge Dr                 Hazelwood       MO   63044   1237   (314) 739-8771
Attn: Repairs & Maintenance   Rental Joy's                                   5023 Prospect Ave                  Kansas City     MO   64130   2652   (816) 923-1191
Attn: Repairs & Maintenance   Ragdon Corp                                    1604 Frederick Ave                 St Joseph       MO   64501   2010   (816) 233-5416
Attn: BETTY / CARRIE          Bay Pest Control Co., Inc.                     6820 Washington Avenue             Ocean Springs   MS   39564          (228) 875-8908   (228) 875-1627
Attn: MATT                    Flannigan Electric                             1820 South West Street             Yazoo City      MS   39194          (601) 355-8770   (601) 355-8770
Attn: MATT STUART             Locksmiths Inc                                 635 Martin Luther King Jr Drive    Meridian        MS   39301   5664   (601) 482-8525   (601) 483-3475
Attn: MATTHEW                 Mitchell Tools                                 1000 Broadway Dr.                  Hattiesburg     MS   39401   7572   (601) 582-3308   (601) 582-3374
Attn: Repairs & Maintenance   Washington Construction Supply                 3001 Goodman Rd W # 5              Horn Lake       MS   38637   1188   (662) 393-8497
Attn: Repairs & Maintenance   C & M Rentals                                  PO Box 1817                        Picayune        MS   39466   1817   (601) 798-8636
Attn: Repairs & Maintenance   Central Tools Air & Hydraulics                 900 Industrial Park Dr             Clinton         MS   39056   3208   (601) 924-8814
Attn: Repairs & Maintenance   Mid-South Wholesale & Retail                   PO Box 264                         Collins         MS   39428   264    (601) 765-1466
Attn: Repairs & Maintenance   Power Tool Repair & Parts                      179 Road 1790                      Tupelo          MS   38804   7042   (662) 842-0977
Attn: GABE                    Allen’s Tool Repair Inc.                       115 5th St. W                      Billings        MT   59101          (406) 248-3865   (406) 248-3741
Attn: GALE                    Power Service                                  4025 1st Ave. South                Billings        MT   59101          (800) 823-8665   (406) 259-3956
Attn: GARY                    Mosch Electric Motors, Inc.                    2513 17th St. N.E.                 Black Eagle     MT   59414   1051   (406) 453-2481   (406) 453-2482
Attn: GARY                    Art & Rays Lock & Safe, LLC                    218 W Main St                      Missoula        MT   59802          (406) 549-7667   (406) 549-7067
Attn: GARY                    Industrial Sales & Svc                         PO Box 31234                       Billings        MT                  (406) 652-7600   (406) 652-0717
Attn: GARY                    Hellgate Tool Repair                           2006 N Ave W                       Missoula        MT   59801          (406) 549-3067   (406) 721-0067
Attn: GARY TAYLOR             Montana Bolt Co                                3110 W Broadway St                 Missoula        MT   59808          (406) 721-2184   (406) 721-3412
Attn: GENTLEMAN               Rocky Mtain Aircraft Svc                       Glacier Park Intl Airport, 59901   Kalispell       MT                  (406) 752-5810   (406) 756-0420
Attn: GEORGE                  Northwest Tool Repair                          1000 Baker Ave,                    Whitefish       MT   59937          (406) 862-6275   (406) 862-6280
Attn: Repairs & Maintenance   Spanwell Service                               1584 Old Highway 10                Forsyth         MT   59327   9491   (406) 356-7653
Attn: Repairs & Maintenance   Toole Tyme Repair                              2593 Us Highway 2 E # A            Kalispell       MT   59901   9507   (406) 756-0758
Attn: Repairs & Maintenance   S & P Enterprises Inc                          543 Maple Dr                       Kalispell       MT   59901   2315   (406) 756-1727
Attn: Repairs & Maintenance   LA Salle Tools Inc                             2593 Us Highway 2 E                Kalispell       MT   59901   9507   (406) 752-4444
Attn: Repairs & Maintenance   Tool Box                                       320 6th St S                       Great Falls     MT   59405   1922   (406) 452-6590
Attn: DORIS                   Little Creek Electronics Inc                   816 Post St Ste E                  Greensboro      NC   27405         (336) 230-2425    (336) 230-2435
Attn: DOROTHY                 Greentree Supply Co., Inc.                     3012-F S. Elm-Eugene St.           Greensboro      NC                 336) 272-9954     (336) 272-3567
Attn: DOUG                    Carolina Tool Repair & Sales                   807 Huffman St                     Greensboro      NC   27405         (336) 275-6124    (336) 275-4565
Attn: Doug                    General Motor Repair & Service Inc             2206 Westbrook St                  Greensboro      NC   27407         (336) 292-1715    (336) 292-1027
Attn: DOUG                    Ensco Supply Co                                4344 Federal Dr # 104              Greensboro      NC                 (336) 292-9000    (336) 292-7162
Attn: DOUG                    Radwell International, Inc                     309A South Regional Road           Greensboro      NC   27409         (336) 547-1934    (336) 547-1909
Attn: DOUG                    Black & Decker                                 3402 W Wendover Ave Ste E,         Greensboro      NC           27407 (336) 852-1300    (336) 547-9339
Attn: DURAN                   TYSINGER SEWING & VACUUM CTR                   1690 Us Highway 64 W               Asheboro        NC                 336-629-2825      (336) 629-0959
Attn: DUSTIN                  APPLIED COPIER CONCEPTS                        4260 Piedmont Parkway, Ste. 105    Greensboro      NC   27410         (336) 632-9285    (336) 632-1008
Attn: DUSTIN / HALIE          Schneider Electric Industrial Services         235 Burgess Road                   Greensboro      NC   27409         (800) 950-9550    (336) 668-4878
Attn: DWIGHT                  Advance Electronic Svc Inc                     101 Technology Ln,                 Mt Airy         NC                 (336) 789-0792    (336) 789-7149
Attn: DWIGHT, HAROLD          Freeman Electronics Inc                        3404 W Wendover Ave, Ste J         Greensboro      NC   27407         (336) 299-9851    (336) 854-8004
Attn: EARL                    CARBIDE SAWS INC                               701 Garrison St                    High Point      NC                 336-882-6835      (336) 882-7912
Attn: REPAIR DEPT.            Eastway Lock & Key, Inc.                       3807 Monroe Rd.                    Charlotte       NC   28205         (704) 347-1088    (704) 347-0596

Attn: RHONDA                  Hydraulic Engineered Products & Service Co., Inc. 803 Pressley Road Suite 101     Charlotte       NC   28217          (704) 374-1306   (704) 374-0029
Attn: RHONDA                  Alcom Services Inc.                               PO Box 988 243 Dick Beam Road   Cherryville     NC   28021          704-435-8803     (704) 435-8816
Attn: RICH                    Art Aspects                                       701 S Sharon Amity Rd # A       Carlotte        NC   28211          (704) 442-8241   (704) 442-8242
Attn: RICH                    Electric Motor Svc Of Shelby                      1143 Airport Rd                 Shelby          NC   28150          (704) 482-9979   (704) 482-0904
Attn: RICHARD                 Porter Services                                   4091 Sinclair St                Denver          NC   28037          (704) 483-3529   (704) 483-3529
Attn: RICHARD                 Carolina Cutlery Service, Inc.                    10920 Southern Loop Blvd        Pineville       NC   28134          704-504-3955     (704) 504-3782
Attn: RICK                    Fastco of Charlotte                               5201 Nations Ford Rd            Charlotte       NC   28217          (704) 525-6401   (704) 525-2319
Attn: RICK                    BLUME SUPPLY INC                                  3316 South Blvd                 Charlotte       NC                  (704) 523-7811   (704) 525-3947
Attn: RICK                    Sunbelt Rentals                                   1400 BISCAYNE DRIVE             CONCORD         NC   28027          (704) 795-2640   (704) 795-2152
Attn: RICK                    Central Piedmont Safe & Lock                      517 Wilshire Ave SW             Concord         NC   28025   6414   (704) 788-3215   (704) 795-5560
Attn: RINA                    Carson's Nut Bolt & Tool CO                       3829 Barringer Drive            Charlotte       NC   28217          (704) 927-0169   (704) 927-0176
Attn: Repairs & Maintenance   Air Tool Svc Ctr                               589 Cool Springs Church Rd         Elkin           NC   28621   9202   (336) 835-3093
Attn: Repairs & Maintenance   C & A Tool Svc                                 1165 Commercial Ave                Charlotte       NC   28205   1401   (704) 333-6186
Attn: Repairs & Maintenance   D & C Small Tool Repair                        20057 Newsome Rd                   Oakboro         NC   28129   9556   (704) 485-8945
Attn: Repairs & Maintenance   DJM Tool                                       997 Salem Church Rd                Lincolnton      NC   28092   8862   (704) 736-0671
Attn: Repairs & Maintenance   Portable Tool Repair                           1013 West Mount Dr                 Rocky Mount     NC   27803   2219   (252) 443-3099
Attn: Repairs & Maintenance   T & E Repairs                                  PO Box 950                         Icard           NC   28666   950    (828) 397-6222




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Attn: Repairs & Maintenance   Live Oak Tool & Equipment Rntl         19974 NC Highway 55            Bayboro              NC   28515   0      (252) 745-0455
Attn: Repairs & Maintenance   Airand Limited                         PO Box 468                     Kernersville         NC   27285   468    (336) 993-6737
Attn: Repairs & Maintenance   Sioux Tools Inc                        250 Snap On Dr                 Murphy               NC   28906   9033   (828) 835-9765
Attn: Repairs & Maintenance   Yukiwa Seiko USA Inc                   8227 Arrowridge Blvd # H       Charlotte            NC   28273   5606   (704) 527-3003
Attn: Repairs & Maintenance   Piedmont Power Machine Svc             4994 Indiana Ave # C           Winston Salem        NC   27106   2810   (336) 759-2022
Attn: Repairs & Maintenance   Power Tools Unlimited                  108 N Miller Ave               Statesville          NC   28677   3728   (704) 873-5460
Attn: Repairs & Maintenance   Tool Zone                              583 Depot St                   Franklin             NC   28734   3099   (828) 369-2520
Attn: Repairs & Maintenance   K & R Staples & Nails                  2603 Fayetteville St # B       Sanford              NC   27332   5906   (919) 775-8166
Attn: Repairs & Maintenance   Porter-Cable Corp                      9129 Monroe Rd # 115           Charlotte            NC   28270   2429   (704) 841-1176
Attn: Repairs & Maintenance   Power Tool & Electric Eqpmnt           442 Highland Ave SE            Hickory              NC   28602   1148   (828) 327-8400
Attn: Repairs & Maintenance   Simmon's Power Tool Svc                1731 S Main St                 Salisbury            NC   28144   6709   (704) 638-0028
Attn: Repairs & Maintenance   Tarheel Filing Co                      3400 Lake Woodard Dr           Raleigh              NC   27604   3854   (919) 231-3323
Attn: Repairs & Maintenance   TCS Enterprises Inc                    204 S Miami Blvd               Durham               NC   27703   4331   (919) 598-1488
Attn: Repairs & Maintenance   Harbor Freight Tools                   3302 Capital Blvd              Raleigh              NC   27604   3340   (919) 876-2023
Attn: RALPH YANEZ             Montana-Dakota Utilities               909 Airport Rd                 Bismarck             ND   58504          (701) 224-5800     (701) 224-5834
Attn: RANDY                   CURT’S LOCK & KEY SVC                  1102 Main Ave                  Fargo                ND   58103          (701) 232-9440     (701) 232-9446
Attn: RAY                     Acme Tools Bismarck                    3840 East Rosser Avenue        Bismarck             ND   58501          (701) 258-1267     (701) 258-1292
Attn: RAY                     Tool Warehouse inc.                    127 Main Ave. W.               West Fargo           ND   58078          701-282-6151       (701) 282-6083
Attn: REBECCA                 Dakota Hydra-power                     1724 40th Ave Se               NORTH-DAKOTA state   ND   58554   4664   (701) 663-9878     (701) 663-0223
Attn: JERRY                   Acme Tools - Minot                     700 20th Avenue Se             Minot                ND   58701          (701) 839-2263     (701) 839-2253
Attn: Repairs & Maintenance   Pearson Electric Motors                1260 W Main St                 Valley City          ND   58072   3642   (701) 845-1542
Attn: ERIN                    Toolbarn Inc                           6620 F St                      Omaha                NE                  (402)597-3850      (402) 331-5666
Attn: ERNEST                  ACRS Inc                               11055 I St                     Omaha                NE   95451          (402) 955-2277     (402) 331-8356
Attn: EVONNA                  Mid-City Super Store                   1900 Center Dr                 Norfolk              NE                  (402)371-6838      (402) 379-0258
Attn: EY                      Jackson Heating & Cooling              8827 Maple St                  Omaha                NE   68134          (402) 391-4287     (402) 391-4176
Attn: FABIO                   Hatten Electric                        130 S. Hastings ave            Hastings             NE   68901          (402) 463-4596     (402) 462-5247
Attn: FILLIPE, KIM, TONY      Construction Equipment                 1919 Cornhusker Hwy.           Lincoln              NE   68521          (402) 474-7700     (402) 474-0141
Attn: FRANK                   Total Tool Supply Inc.                 2611 Kimco Dr                  Lincoln              NE   68521          (402) 476-6673     (402) 476-0049
Attn: FRANK                   THACKER ELECTRIC, INC.                 8517 I STREET                  OMAHA                NE   68127          402-592-9433       (402) 592-3768
Attn: FRANK S.                Mark Hydraulic Co                      4771 G St                      Omaha                NE   68117          (402)734-6734      (402) 734-0227
Attn: Repairs & Maintenance   Tool Doctor                            607 Avenue D                   Kearney              NE   68847   7500   (308) 237-0802
Attn: Repairs & Maintenance   Tool Hospital                          1720 Adams St                  Lincoln              NE   68521   1823   (402) 435-2996
Attn: Repairs & Maintenance   Clark's Tool Repair                    521 Eldon Dr                   Lincoln              NE   68510   3924   (402) 327-0797
Attn: Repairs & Maintenance   Tool House Of Henkle & Joyce           8811 J St                      Omaha                NE   68127   1514   (402) 592-7385
Attn: Repairs & Maintenance   Tool Shed                              3121 13th St                   Columbus             NE   68601   4833   (402) 562-7606
Attn: MELISSA                 Dover Flexo Electronics, Inc.          217 Pickering Rd.              Rochester            NH   3867           Ph:603-332-6150    (603) 332-3758
Attn: MELISSA                 Home Energy Products                   170 Daniel Webster Hwy         Belmont              NH   3220           (561) 540 - 6004   (603) 528-2503
Attn: MELISSA                 Allsafe & Lock Inc                     399 S Main St                  Manchester           NH   3102    4841   (603) 622-6062     (603) 626-0118
Attn: MICHAEL                 Formax                                 44 Venture Dr                  Dover                NH   3820    5912   (603) 743-6366     (603) 743-6366
Attn: Repairs & Maintenance   Minuteman Tool Repair Inc              16 Jason Dr                    Stratham             NH   3885    2115   (603) 772-8604
Attn: Repairs & Maintenance   Red Eagle Products                     19 Red Eagle St                Albany               NH   3818    7004   (603) 447-5865
Attn: Repairs & Maintenance   Grand Rental Station                   122 Bridge St # 10             Pelham               NH   3076    3403   (603) 635-1523
Attn: Repairs & Maintenance   Mountain View Tool Repair              330 Route 125                  Brentwood            NH   3833    6609   (603) 679-2023
Attn: Repairs & Maintenance   Northwood Power Equipment Co           87 Summer St                   Peterborough         NH   3458    2435   (603) 924-1310
Attn: Repairs & Maintenance   Stateline Tool & Supply Corp           7 Carriage Ln                  Salem                NH   3079    1858   (603) 894-5554
Attn: CRAIG                   Marcone Appliance Parts Ctr            480 Us Highway 46              Hackensack           NJ                  201)641-3444       (314) 231-5481
Attn: MIKE                    Sinclair Material Handling - Trenton   61 2nd Ave                     Trenton              NJ   8619    3205   (609) 586-2077     (609) 584-8882
Attn: MIKE                    Huber Locksmiths                       729 S Main St                  Pleasantville        NJ   8232    3223   (609)641-2222      (609) 641-2222
Attn: MIKE                    Richard's Sharpening Service           824 W Mill Rd                  Northfield           NJ   8225           (609) 641-9481     (609) 645-3890
Attn: STEPHANIE               COUGAR ELECTRONICS & TOOL REPAIR       622 BROADWAY                   LONG BRANCH          NJ   7740           (732) 870-3302     (732) 870-8794
Attn: STEVE                   CMI Equipment Corp.                    836 Hwy. 36                    Hazlet               NJ   7730           (732) 739-2122     (732) 888-1857
Attn: Repairs & Maintenance   Cougar Electronics & Tool Rpr          408 Willow St                  Bordentown           NJ   8505    1732   (609) 298-0067
Attn: Repairs & Maintenance   Gams Power Tools & Supplies            133 Schuyler Ave # 135         Kearny               NJ   7032    3926   (201) 955-0222
Attn: Repairs & Maintenance   Liberty Power Tool Repairs             101 Newton Ave # D             Oaklyn               NJ   8107    1487   (856) 854-4384
Attn: Repairs & Maintenance   P S Prompt Svc Inc                     518 Union Hill Rd              Englishtown          NJ   7726    1849   (732) 972-2789
Attn: Repairs & Maintenance   Precision Instrument Repair            10 Park Pl # 6 # 2c            Butler               NJ   7405    1371   (973) 283-9280
Attn: Repairs & Maintenance   Raw Power Tool Repair                  1189 Us Highway 46             Little Falls         NJ   7424    1867   (973) 256-7595
Attn: Repairs & Maintenance   Repair Doctor                          52 Ferncliff Rd                Bloomfield           NJ   7003    5414   (973) 338-1000
Attn: Repairs & Maintenance   Tool Box                               119 Lakeview Ave               Clifton              NJ   7011    4085   (973) 340-7652
Attn: Repairs & Maintenance   All Star Rentals Inc                   680 Route 18                   East Brunswick       NJ   8816    3787   (732) 780-4940
Attn: Repairs & Maintenance   Hanna's Tool & Party Rental            1150 Us Highway 9              Howell               NJ   7731    3781   (732) 308-2200
Attn: Repairs & Maintenance   Hanna's Tool & Party Rental            891 Route 37 W                 Toms River           NJ   8755    5040   (732) 286-7799
Attn: Repairs & Maintenance   Black & Decker Us INC                  660 Kinderkamack Rd            Oradell              NJ   7649    1525   (201) 576-9333
Attn: Repairs & Maintenance   Power Fast Inc                         63 Dell Glen Ave               Lodi                 NJ   7644    1708   (973) 772-4090
Attn: Repairs & Maintenance   Tara's Tools                           2 Main St                      East Orange          NJ   7018    4238   (973) 673-3700
Attn: Repairs & Maintenance   Sharp-Rite Tool & Cutter               1227 Bound Brook Rd            Middlesex            NJ   8846    1435   (732) 356-8505
Attn: JOAN                    Lee's Electric                         1310 4th St. SW                Albuquerque          NM   87102          (505) 247-2635     (505) 247-2635
Attn: JOCELYN                 summit electric supply                 515 Electric Avenue            Farmington           NM   87401          505-326-9300       (505) 326-1620
Attn: JODY                    FARMINGTON SAFE & LOCK CO              6105 E Main St                 Farmington           NM   87402          (505) 327-3888     (505) 327-0659
Attn: JOE                     Black & Decker                         5617 Menaul Blvd NE # Efg      Albuquerque          NM   87110   3243   (505) 884-1002     (505) 881-3546
Attn: JOE                     Electric Motor Co                      3433 Stanford Dr NE            Albuquerque          NM   87107          (505) 881-4077     (505) 881-6964
Attn: JOE                     A2z Inc                                3330 Candelaria Rd Ne          Albuquerque          NM   87107   1909   (505) 889-2925     (505) 884-8093
Attn: Repairs & Maintenance   Alcorn Tool                            207 S Grimes St                Hobbs                NM   88240   6411   (505) 392-6670
Attn: Repairs & Maintenance   Power Tool & Saw Svc                   1908 Lee Loop NE               Rio Rancho           NM   87144   5492   (505) 856-2158
Attn: Repairs & Maintenance   Tool Store Inc                         2419 N White Sands Blvd # D    Alamogordo           NM   88310   6109   (505) 437-3131
Attn: Repairs & Maintenance   Walker's Custom Bandsaw Blades         34 Road 5294                   Farmington           NM   87401   1599   (505) 632-8938
Attn: Repairs & Maintenance   Discount Tools                         5820 Zuni Rd SE                Albuquerque          NM   87108   3045   (505) 268-1318
Attn: RENEE                   DeWalt / Porter Cable Service          5565 S Decatur Blvd,           Las Vegas            NV           89118 (702) 889-6025      (702) 889-6030
Attn: RENEE                   Green Valley Lock & Safe               80 N. Pecos Road, Suite G      Henderson            NV   89074          (702) 897-0800     (702) 897-6500
Attn: TIM                     Industrial Equipment Repair            310 Kresge Lane                SPARKS               NV   89431          (732) 984-0504     (775) 331-6109
Attn: TIM                     Sierra Supply, Inc.                    1830 E. Lincoln Way            Sparks               NV   89431          (775) 353-3333     (775) 353-3300
Attn: TIM                     Reno Hydraulic & Rebuild               50 E. Glendale Ave             Reno                 NV   89431          (775) 356-2703     (775) 356-6635
Attn: TIM                     Western Nevada Supply                  950 S Rock Blvd                Sparks Nevada        NV   89431   5922        7753595800 (775) 359-4649
Attn: Repairs & Maintenance   Discount Air Tool Repair               3433 Losee Rd # 1              North Las Vegas      NV   89030   3322   (702) 657-6570
Attn: Repairs & Maintenance   One Stop Shop                          1819 Helman Dr                 Gardnerville         NV   89410   6101   (775) 782-7004
Attn: Repairs & Maintenance   Tool Man                               5115 Industrial Rd # 408       Las Vegas            NV   89118   1747   (702) 257-6999
Attn: Repairs & Maintenance   Tool Services                          3239 Industrial Rd             Las Vegas            NV   89109   1140   (702) 734-9161
Attn: Repairs & Maintenance   Makita USA Inc                         3375 S Decatur Blvd # 22       Las Vegas            NV   89102   8043   (702) 368-4277
Attn: Repairs & Maintenance   Woodworker's Emporium                  125 N Gibson Rd                Henderson            NV   89014   6713   (702) 567-8223
Attn: ANDY                    Centre Plumbing Hardware               233 Centre Street              New York             NY   10013          212-965-8038       (212) 925-8998
Attn: ANDY                    Abbey Locksmith, Inc.                  1558 Second Ave.               New York             NY   10028          (212) 535-2289     (212) 988-9192
Attn: DAN                     Academy Tool                           6720 Vip Pkwy                  Mattydale ONONDAGA   NY                  (315) 454-3962     (315) 455-9522




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Attn: DAN                     Usherwood                                   1005 West Fayette Street            Syracuse           NY   13204          (315) 472-0050   (315) 472-5022
Attn: DAN                     MOHAWK LTD.                                 One Newell Lane                     Chadwicks          NY   13319          (315) 737-7328   (315) 737-7347
Attn: DAN K.                  Advanced Tool & Cutter Grinding Co., Inc.   9169 Rte. 49                        Marcy              NY                  (315) 768-8502   (315) 768-4807
Attn: KELLY                   Goodstrong Lock & Alarm Co                  3366 Hillside Ave Suite 9           New Hyde Park      NY   11040          (516) 294-3969   (516) 294-3969
Attn: KELLY                   Central Lock & Key                          355 Central Ave # 7                 Lawrence           NY   11559          (516) 569-5340   (516) 569-5305
Attn: KEN                     Eastern Industrial                          2231 Jericho Turnpike               Garden City        NY   11040          (516) 741-3198   (516) 739-3205
Attn: KEN                     Ace Tool                                    2201 Wantagh Ave                    Wantagh            NY   11793          (516) 783-8899   (516) 783-0037
Attn: KERRY                   Ray's Appliance Sales & Svc                 86 Lake St,                         Rouses Point       NY   12979   1219   (518) 297-2899   (518) 297-2114
Attn: KERRY PAGE              W & E Phillips Locksmiths Inc               351 Central Ave                     Albany             Ny   12240          (518) 462-5467   (518) 462-6413
Attn: KEVIN                   Northeast Commercial Appliance              949 Troy Schenectady Rd             Latham             NY   12110   1180   (518) 785-0190   (518) 785-4643
Attn: KEVIN                   Ye Olde Locksmith Shoppe                    1777 Central Ave                    Albany             NY   12205          (518) 869-7352   (518) 869-1388
Attn: MARK FRAZIER            Hanes Supply Inc                            20 Jetview Dr                       Rochester          NY   14624   4904   (610) 264-2800   (585) 235-0229
Attn: MARTIN                  Rochester Industrial Services, Inc.         1940 Lyell Ave.                     Rochester          NY   14606          (585) 254-5880   (585) 254-1839
Attn: MARTY, ROY              Cook Iron Store Co., Inc.                   P.O. Box 31237                      Rochester          NY   14603   1237   (585) 454-5840   (585) 325-4465
                                                                          3255 Brighton Henrietta Town Line
Attn: MARY                    Jackson Saw                                 Road, Suite 103                     Rochester          NY   14623          (585) 546-7485   (585) 546-2979
Attn: MARYANN                 West Caldwell Calibration Laboratories      1575 State Route 96                 Victor             NY   4564           (585) 586-3900   (585) 586-4327
Attn: PAUL                    Advanced Air Tool                           131 Allen Blvd                      Farmingdale        NY   11735          (800) 238-2471   (631) 249-5886
Attn: PAUL                    FEDERAL EQUIPMENT                           2029 9th Ave                        Ronkonkoma         NY                  631-467-9400     (631) 467-8249
Attn: PAUL                    DYNAMITE TOOL CO INC                        1551 Smithtown Ave                  Bohemia            NY                  631-563-8181     (631) 563-8928
Attn: PAUL                    AA BROTHERS II BUSINESS                     1350 Lincoln Ave # 1                Holbrook           NY                  (631) 981-2900   (631) 585-0334
Attn: PAUL LOPEZ              ABLE LOCKSMITH & DOOR SVC                   769 Deer Park Ave                   North Babylon      NY                  (631) 587-7278   (631) 587-7283
Attn: PAUL MILLER             SUNRISE TOOL                                124 Sunrise Highway                 West Islip         NY   11795          1-877-213-8912   (631) 661-4085
Attn: PAUL ROMANO             Zo-Air Co., Inc.                            1320-6 Lincoln Ave.                 Holbrook           NY   11741          (631) 737-4242   (631) 737-5682
Attn: SANDY                   National Solar Technologies                 166 Taylor Road Depew                                  NY   14043          (716) 683-2505   (716) 683-8655
Attn: SANDY                   Fastenal                                    3244 union Rd                       Cheektowaga        NY   14227          (716) 684-2293   (716) 684-2294
Attn: SANDY                   S S ELECTRIC REPAIR SHOP INC                2470 Seneca St                      NY                 NY                  (716) 823-1232   (716) 823-0371
Attn: SARAH                   Schaub Equipment Rental Inc.                2902 Seneca Street                  West Seneca        NY   14224   1949   (716) 824-1555   (716) 824-7731
Attn: SARAH                   Schutte-Buffalo Hammermill LLC              61 Depot St                         Buffalo            NY   14206          (800) 447-4634   (716) 855-3417
Attn: SAUL                    Black & Decker U.S., Inc                    881 W. Delavan Ave.                 Buffalo            NY   14209          (716) 884-6220   (716) 884-5953

Attn: SEAN                    J& A Repair Shop, Inc                       6206 20th Ave Bet 62 and 63rd Street Brooklyn          NY   11204          (718) 232-5746   (718) 259-1083
Attn: SEAN                    Tool L Equipment supply *                   3047 Atlantic Ave                   Brooklyn           NY   11208          (718) 277-8860   (718) 277-8860
Attn: SEAN                    FIVE BORO PNEU-TRONICS INC.                 801 E 42ND ST                       BROOKLYN           NY   11210          (718) 338-8911   (718) 338-8914
Attn: SEAN                    JDG Door Inc                                679 Mcdonald Ave                    Brooklyn           NY   11218   4913   (718) 435-6505   (718) 435-4719
Attn: SHANE                   Bryant Tool & Supply                        61-10 34th Ave                      Woodside           NY   11377          P (718) 672-1300 (718) 672-1378
Attn: SHANIE                  Black And Decker                            5617 Queens Blvd                    Woodside           NY   11377          (718) 779-8810   (718) 779-8810
Attn: SHANNON                 Fred M Velepec Co Inc                       7172 70th St                        Flushing           NY   11385   7246   (718) 821-6636   (718) 821-5874
Attn: SHANNON                 Dacorta Bros Hardware Incorporated          9107 Astoria Blvd                   East Elmhurst      NY   11369          (347) 399-1111   (718) 898-1756
Attn: Repairs & Maintenance   Air Tool Repair                             160 Holtz Dr # 112                  Buffalo            NY   14225   1433   (716) 631-9010
Attn: Repairs & Maintenance   Auto-Matic Repair Co                        12 Commerce Dr                      Farmingdale        NY   11735   1206   (631) 420-0103
Attn: Repairs & Maintenance   Black & Decker                              836 Troy Schenectady Rd             Latham             NY   12110   2424   (518) 785-1867
Attn: Repairs & Maintenance   Boro Park Tool Repairs                      1077 46th St                        Brooklyn           NY   11219   2435   (718) 686-6500
Attn: Repairs & Maintenance   Brooklyn Power Tool                         4123 Fort Hamilton Pkwy             Brooklyn           NY   11219   1207   (718) 438-1459
Attn: Repairs & Maintenance   First Choice Tool Svc                       3143 Walden Ave # A                 Depew              NY   14043   2728   (716) 685-1558
Attn: Repairs & Maintenance   Forestiere Power Tool & Equip               6202 64th St                        Flushing           NY   11379   1025   (718) 416-0378
Attn: Repairs & Maintenance   J & A Repair Shop                           6206 20th Ave                       Brooklyn           NY   11204   3023   (718) 232-5746
Attn: Repairs & Maintenance   J & R Tool Co                               3651 Danbury Rd                     Brewster           NY   10509   4516   (845) 279-6169
Attn: Repairs & Maintenance   Kane, Michael                               170 Neptune Ave                     Brooklyn           NY   11235   5317   (718) 891-3075
Attn: Repairs & Maintenance   Power Shots Inc                             16 Gay Lore Dr                      Huntington         NY   11743   5605   (631) 423-2323
Attn: Repairs & Maintenance   Precision Tool Repair                       1504 Ralph Ave                      Brooklyn           NY   11236   3129   (718) 451-3648
Attn: Repairs & Maintenance   Reliable Tool Svc                           491 Main St                         Islip              NY   11751   3527   (631) 581-8180
Attn: Repairs & Maintenance   Rochester Tool & Torch Repair               313 Jefferson Ave                   Fairport           NY   14450   2313   (585) 388-6650
Attn: Repairs & Maintenance   Stewart Electric Repair Co                  412 Broadway                        Schenectady        NY   12305   2547   (518) 393-5837
Attn: Repairs & Maintenance   White Tool Svc                              3047 Atlantic Ave                   Brooklyn           NY   11208   1157   (718) 277-8844
Attn: Repairs & Maintenance   A H Harris & Sons                           1933 Richmond Ter                   Staten Island      NY   10302   1201   (718) 876-7500
Attn: Repairs & Maintenance   B & B Tools Rental & Sales                  620 Coney Island Ave                Brooklyn           NY   11218   4334   (718) 633-5959
Attn: Repairs & Maintenance   B & B Tools Renting & Supplies              10315 Northern Blvd                 Flushing           NY   11368   1136   (718) 899-1030
Attn: Repairs & Maintenance   Dolan Rent-Alls                             69 Montauk Hwy                      Lindenhurst        NY   11757   5894   (631) 957-9500
Attn: Repairs & Maintenance   JJSP Productions Inc                        3476 Clifton Blvd                   Wantagh            NY   11793   3623   (516) 221-5887
Attn: Repairs & Maintenance   Kenmore Renting Co Inc                      1297 Kenmore Ave                    Buffalo            NY   14217   2736   (716) 873-2796
Attn: Repairs & Maintenance   Pro-Am Tool Rental                          40 Tomahawk St                      Baldwin Place      NY   10505   1008   (845) 621-4261
Attn: Repairs & Maintenance   South Haven Svc Inc                         2801 Montauk Hwy                    Brookhaven         NY   11719   9596   (631) 286-8275
Attn: Repairs & Maintenance   Superior Decks & Gazebo's                   8119 Erie Rd                        Angola             NY   14006   9712   (716) 549-4226
Attn: Repairs & Maintenance   Superior Rentals                            2443 3rd Ave                        Bronx              NY   10451   6302   (718) 401-1511
Attn: Repairs & Maintenance   Bob's Electric Tool Repair                  1059 Mason St                       Morrisonville      NY   12962   3616   (518) 561-5637
Attn: Repairs & Maintenance   Finger Lakes Tool Grinding                  2680 Parker Rd                      Newark             NY   14513   9750   (315) 331-5099
Attn: Repairs & Maintenance   Richard's Tool & Motor Repair               241 County Road 39 # 5              Southampton        NY   11968   0      (631) 283-5130
Attn: Repairs & Maintenance   115 Street Hardware                         11419 Rockaway Beach Blvd           Far Rockaway       NY   11694   2301   (718) 945-6126
Attn: Repairs & Maintenance   American Tool Supply Corp                   6110 34th Ave                       Flushing           NY   11377   2228   (718) 672-1300
Attn: Repairs & Maintenance   Black & Decker                              2969 W Henrietta Rd                 Rochester          NY   14623   2594   (585) 424-1310
Attn: Repairs & Maintenance   Cesana Corp                                 PO Box 182                          Verona             NY   13478   182    (315) 337-9181
Attn: Repairs & Maintenance   Columbus Distributors Inc                   687 Columbus Ave                    New York           NY   10025   7002   (212) 222-5710
Attn: Repairs & Maintenance   County Power Tool Svc Inc                   491 Main St                         Islip              NY   11751   3520   (631) 499-5666
Attn: Repairs & Maintenance   Makita POWER Tools                          4917 Genesee St                     Cheektowaga        NY   14225   2411   (716) 685-9503
Attn: Repairs & Maintenance   Metropolitan Lumber & Hardware              175 Spring St                       New York           NY   10012   3704   (212) 246-8351
Attn: Repairs & Maintenance   Mohawk Valley Machinery                     PO Box 186                          Verona             NY   13478   186    (315) 337-4450
Attn: Repairs & Maintenance   Robert Bosch Tool Corp                      13127 31st Ave                      Flushing           NY   11354   2539   (718) 461-0025
Attn: Repairs & Maintenance   A & T Tool & Equipment Svc                  515 Jericho Tpke                    Huntington Sta     NY   11746   7311   (631) 271-2141
Attn: Repairs & Maintenance   Blose Tool Repair                           1487 Foote Avenue Ext               Jamestown          NY   14701   9383   (716) 487-1922
Attn: Repairs & Maintenance   Sasco Tools & Equipment                     432 Coney Island Ave                Brooklyn           NY   11218   2607   (718) 435-2100
Attn: Repairs & Maintenance   Hulbert Electrical Repairing                78 Travis Ave                       Binghamton         NY   13904   1025   (607) 724-3968
Attn: ARTHUR                  A & A Hydraulic                             5301 West 161st. Street             Cleveland          OH   44142          (216) 362-4000   (216) 362-4020
Attn: ASHLEY                  Tri-County Power Tool, Inc.                 1300 Brookpark Road                 Cleveland          OH   44109          (216) 398-6120   (216) 398-6121
Attn: ASHLEY                  Broadview Instrumentation Services, Inc.    7632 Hub Parkway                    Valley View        OH   44125          (216) 525-0050   (216) 525-0051
Attn: AUDREY, ERICA           Vacuum Systems International                7500 Wall Street                    Cleveland          OH   44125          (800) 997-8227   (216) 642-8779
Attn: AUSTIN                  KayDee Tools                                5466 Lake Court                     Cleveland          OH   44114          (216) 881-2565   (216) 881-2566
Attn: AUSTIN                  Advance Door Company                        4555 Willow Pkwy                    Cuyahoga Heights   OH   44125          (216) 883-2424   (216) 883-8952
Attn: DIANE, MARGIE           DIVERSIFIED HOME SVC INC                    4431 20th St NW                     Canton             OH                  (330) 478-5272   (330) 478-1424




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Attn: DIEGO                   Diebold                                        5995 Mayfair Rd                 North Canton            OH   44720   1550   (330) 490-5794   (330) 490-5794
Attn: DOGA / SIMON            Professional Engine Systems                    Po Box 326                      44406-0326 - Canfield   OH                  (330) 533-6636   (330) 533-5235
Attn: DON                     Power Tool Repair                              371 West Ave.                   Tallmadge               OH   44278          (330) 630-0022   (330) 630-3320
Attn: DON                     Fastenel                                       940 W. Wilbeth Rd.              Akron                   OH   44314          (330) 745-5000   (330) 745-5011
Attn: DON                     Casey Equipment Corp                           15 Union St                     Struthers               OH                  (330) 750-1005   (330) 750-1009
Attn: DON                     Penn Tool Branch Locations                     625 Bev Road                    Youngstown OH           OH   44512          (330) 758-0845   (330) 758-6028
Attn: DON                     Power Tool & Supply Inc                        3699 Leharps Dr                 Mahoning                OH                  (330) 792-1487   (330) 792-3687
Attn: DON                     Gainey Sharpening Service                      644 Erie St N                   Massillon               OH   44646   4675   (330) 832-4110   (330) 832-4246
Attn: JAMES                   Gogel Fasteners &Industrial Supply Co.         1819th N 13th street            Toledo                  OH   43604          (419) 243-9144   (419) 243-9696
Attn: JAMES                   Ace Appliance                                  3724 Airport Hwy,               Toledo                  OH           43615 (419) 382-6077    (419) 389-5156
Attn: JAMES                   Richland Industries                            1941 W Alexis Rd                Toledo                  OH                  (419 )472-3053   (419) 472-3053
Attn: JAMES, SHANNON          Household Service                              2052 W Sylvania Ave             Toledo                  OH                  (419) 474-5754   (419) 472-7654
Attn: JAMEY                   DTE INC.                                       110 Baird Parkway               Mansfield               OH   44903          (419) 522-3428   (419) 522-3568
Attn: JAMIE                   West Equipment Company                         1545 East Broadway              Toledo                  OH   43605          (419) 698-1601   (419) 698-2540
Attn: JAMIE                   J. Technical Services                          5017 N. Summit st               Toledo                  OH   43611          (419) 729-5263   (419) 729-4337
Attn: JAMIE                   Power Tools Sales & Svc                        6713 Angola Rd                  Holland                 OH   43529          (419) 868-8665   (419) 868-9084
Attn: JAN                     Michigan Saw & Cutter, Inc.                    3326 Monroe St.                 Toledo                  OH   43606          419) 241-5418    (419) 882-3426

Attn: JANE BURNETT            The Andersons Mower Center John Deere Dealer   1220 Ford Street,               Maumee                  OH   43537          419-893-1199     (419) 893-8313
Attn: JEFF                    Omni Cart Services                             PO Box 366                      Mentor OH               OH                  800-525-2278     (440) 205-8366
Attn: JEFF                    Best Tool & Equipment Repair                   201 W 7th St                    Lorain                  OH   44052   1811   (440) 244-2346   (440) 244-6810
Attn: JEFF                    Jencso Industrial Service Inc                  8610 Euclid Chardon Rd          Kirtland                OH   44094          (440) 256-6262   (440) 256-6263
Attn: JEFF                    Fastenal                                       561 Cleveland St.               Elyria                  OH   44035          (440) 365-4955   (440) 365-4956
Attn: JEFF                    DeWalt                                         6485 Pearl Road                 Parma Heights           OH   44130          (440) 842-9100   (440) 884-3430
Attn: JEFF                    Palesh & Associates *                          3659 Lost Nation Rd.            Willoughby              OH   44094          (440) 942-9168   (440) 953-4529
Attn: JEFF                    G & L Locksmiths                               7247 Center St                  Mentor                  OH   44060          (440) 974-0550   (440) 974-0500
Attn: JULIE                   Mr Lock LockSmiths                             2061 Beechmont Avenue           Cincinnati              OH   45230          (513) 232-2424   (513) 232-0088
Attn: JULIE                   F&M Mafco                                      9149 Dry Fork Rd,               Harrison                OH           45030 (513) 367-2151    (513) 367-0363
Attn: JULIE                   Maintenance Unlimited & Tool                   9493 Reading Rd                 Cincinnati              OH   45215          513-554-1313     (513) 531-0135
Attn: JULIE                   Matlock Electric Co.                           2780 Highland Ave               Cincinnati              OH   45212          (513)731-9600    (513) 731-9646
Attn: JULIE OR MASON          T J Tool Supply                                5080 State Route 132            BATAVIA                 OH   45103          (513) 732-3686   (513) 732-3466
Attn: JUNE                    DeWalt Service Center                          2310 E Sharon Rd                Cincinnati              OH   45241          (513) 772-3111   (513) 772-0654
Attn: JUNE                    Pro Tool Service                               1125 Glendale Milford Rd # 2    Cincinnati              OH   45215          (513) 772-1490   (513) 772-1066
Attn: JUSTIN                  Penn Tool Sales & Service                      2631 Crescentville Road         Sharonville             OH   45241          (513) 772-8982   (513) 772-8044
Attn: JUSTIN THOMAS/ Larry    Tool House Inc                                 11949 Reading Road              Sharonville             OH   45241          (513) 821-3000   (513) 821-3353
Attn: K.C.                    Contractors Choice                             2070 Schappelle Ln              Cincinnati              OH   45240          (513) 851-9070   (513) 851-9017
Attn: KEVIN                   Quality Scrub Car Wash                         30 S Frank Blvd                 Akron                   OH   44313          (330) 864-4704   (518) 753-4496
Attn: MIKE, ROD, RANDY        OHIO HYDRAULIC SVC                             PO Box 2375                     Columbus                OH                  (614) 221-8495   (614) 221-6246
Attn: MIKE, SUSAN             J J Hammond Co                                 1037 Mckinley Ave               Columbus                OH                  (614) 228-5445   (614) 228-5445
Attn: MIRIC                   Ohio Power Tool                                999 Goodale Blvd                Columbus                OH   43212          (614) 481-2111   (614) 481-2112
Attn: MONICA                  Keytel Systems                                 1624 Brice Road                 Reynoldsburg            OH   43068          (614) 866-7700   (614) 866-7747
Attn: STEVE                   Calandra Industrial Supply Co - Lancaster      192 Quarry Rd Se                43130 - Lancaster       OH                  (740) 653-0541   (740) 653-8312
Attn: Repairs & Maintenance   Bruner Sales & Svc                             2929 Spring Grove Ave           Cincinnati              OH   45225   2157   (513) 591-3900
Attn: Repairs & Maintenance   Cinti Electrical Repair Co                     2023 Elm St                     Cincinnati              OH   45202   4992   (513) 621-2183
Attn: Repairs & Maintenance   Dewitt Tool Repair & Fasteners                 PO Box 35                       Tremont City            OH   45372   35     (937) 605-1624
Attn: Repairs & Maintenance   Getsy Tool & Machine Inc                       44320 Columbiana Waterford Rd   Columbiana              OH   44408   9519   (330) 482-9694
Attn: Repairs & Maintenance   Indexible Tooling Svc                          12222 Grimsby Ave               Cleveland               OH   44135   0      (216) 251-6922
Attn: Repairs & Maintenance   Mek Elek Tool Svc                              19097 Drake Rd                  Strongsville            OH   44149   6817   (440) 238-1919
Attn: Repairs & Maintenance   Small Tool Svc                                 1667 Woodville Rd               Millbury                OH   43447   9676   (419) 836-7171
Attn: Repairs & Maintenance   Tradesman Tool Svc                             127 N Central Ave               Columbus                OH   43222   1009   (614) 274-3278
Attn: Repairs & Maintenance   Waeco Service Inc                              18838 Diagonal Rd               Lagrange                OH   44050   9697   (440) 355-8011
Attn: Repairs & Maintenance   Association-Greater Cincinnati                 2501 Dunaway Ct                 Cincinnati              OH   45238   2501   (513) 347-0800
Attn: Repairs & Maintenance   Boulevard Tool Rental                          3220 Westwood Northern Blvd     Cincinnati              OH   45211   2619   (513) 481-1855
Attn: Repairs & Maintenance   Brenco Inc                                     7780 Willey Rd                  Harrison                OH   45030   9764   (513) 738-1808
Attn: Repairs & Maintenance   Copley Tool Rental                             3503 Copley Rd                  Copley                  OH   44321   1690   (330) 666-5464
Attn: Repairs & Maintenance   F & M Masco Inc                                                                Canal Fulton            OH   44614   0      (330) 854-2488
Attn: Repairs & Maintenance   Imagine That Tool Rental                       1461 S Us Highway 68            Wilmington              OH   45177   8929   (937) 382-1843
Attn: Repairs & Maintenance   J & L Equipment                                5772 Forrer Rd                  Orrville                OH   44667   9047   (330) 684-2220
Attn: Repairs & Maintenance   Mr Rental                                      631 W Main St                   Blanchester             OH   45107   9401   (937) 783-1044
Attn: Repairs & Maintenance   Mt Eaton Tool & Staple                         9252 County Road 186            Dundee                  OH   44624   9408   (330) 359-0150
Attn: Repairs & Maintenance   Norton Tool Rental & Sales                     2824 Barber Rd                  Norton                  OH   44203   1004   (330) 745-7845
Attn: Repairs & Maintenance   Production Tool Rental Inc                     200 Senate Dr                   Monroe                  OH   45050   1715   (513) 539-9199
Attn: Repairs & Maintenance   R C Tool Svc                                   1091 Schocalog Rd               Akron                   OH   44320   1041   (330) 869-9923
Attn: Repairs & Maintenance   Ringler Rentals                                6700 Clough Pike                Cincinnati              OH   45244   4095   (513) 231-6700
Attn: Repairs & Maintenance   Tool Shed                                      6643 State Route 314            Bellville               OH   44813   9512   (419) 362-3104
Attn: Repairs & Maintenance   Porter-Cable Corp                              8001 Sweet Valley Dr # 19       Cleveland               OH   44125   4209   (216) 447-9030
Attn: Repairs & Maintenance   2LZ                                            165 Winding Way                 Kettering               OH   45429   1419   (937) 299-0529
Attn: Repairs & Maintenance   All-Tool & Supply                              19885 Detroit Rd                Cleveland               OH   44116   1815   (216) 521-6911
Attn: Repairs & Maintenance   C-N Construction Supplies Inc                  1625 Tracy St                   Toledo                  OH   43605   3425   (419) 666-7220
Attn: Repairs & Maintenance   Ferry Hardware                                 6 S Zane Hwy                    Martins Ferry           OH   43935   1489   (740) 633-3053
Attn: Repairs & Maintenance   GSE Tech Motive Tool                           2905 Englewood Dr NE            Canton                  OH   44721   3626   (330) 493-9114
Attn: Repairs & Maintenance   Hartman Tool & Supply                          228 N Crane St                  Edgerton                OH   43517   9617   (419) 298-3491
Attn: Repairs & Maintenance   JWB Supply Co                                  126 N Market St                 Lisbon                  OH   44432   1114   (330) 424-9211
Attn: Repairs & Maintenance   Kestrel Tool & Supply Co                       PO Box 12654                    Cincinnati              OH   45212   654    (513) 351-5202
Attn: Repairs & Maintenance   Northwestern Ohio Air Tool                     PO Box 16                       Vaughnsville            OH   45893   16     (419) 646-3632
Attn: Repairs & Maintenance   Richards Tool & Supply Co                      312 Plum St                     Cincinnati              OH   45202   2697   (513) 723-5500
Attn: Repairs & Maintenance   Stanley Assembly Technologies                  1245 Hulett Ave                 Willoughby              OH   44095   3001   (440) 946-7102
Attn: Repairs & Maintenance   Miami Industrial Tool Supply                   558 Northland Blvd              Cincinnati              OH   45240   3213   (513) 825-2115
Attn: Repairs & Maintenance   Bonson Tool & Supply                           1920 Medina Rd                  Medina                  OH   44256   9609   (330) 239-2234
Attn: MARK BEAVER, STACEY     Kay Office Equipment Co                        1401 N 7th St                   Ponca City              OK   74601   2847   (580)762-7610    (580) 762-7610
Attn: Repairs & Maintenance   Allied Tools Inc                               8911 E Admiral Pl               Tulsa                   OK   74115   8127   (918) 836-3939
Attn: Repairs & Maintenance   Stroud Rent-A-Tool                             PO Box 463                      Stroud                  OK   74079   463    (918) 968-2077
Attn: Repairs & Maintenance   Air Tool & Equipment                           15022 E Pine St                 Tulsa                   OK   74116   2201   (918) 437-0312
Attn: Repairs & Maintenance   T M & G Lab                                    600 S 129th East Ave            Tulsa                   OK   74108   2514   (918) 437-3245
Attn: Repairs & Maintenance   Commercial Tool                                1829 Linwood Blvd               Oklahoma City           OK   73106   2625   (405) 232-2158
Attn: Repairs & Maintenance   De Walt Industrial Tool Co                     8507 S Western Ave              Oklahoma City           OK   73139   9209   (405) 634-8403
Attn: Repairs & Maintenance   Edmond Tool Repair                             552 E Memorial Rd               Oklahoma City           OK   73114   2215   (405) 752-2655
Attn: Repairs & Maintenance   Steve's Wholesale Tools                        8100 S Santa Fe Ave             Oklahoma City           OK   73139   8211   (405) 631-6777
Attn: JIM                     Charles H. Day Co., Inc.                       602 S.E. 11th Ave.              Portland                OR   97214          (503) 232-1659   (503) 232-9821




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Attn: JIM                     Platt Electric Products                 10605 SW Allen Blvd.            Beaverton                   OR   97005            (503) 641-6121   (503) 255-8082
Attn: JIM                     Philbin Mfg                             28 N. Russell St.               Portland                    OR   97227            (503) 287-1713   (503) 287-3144
Attn: JIM                     Western Tool Supply                     2315 25th St SE                 Salem                       OR   97302            (503) 588-8222   (503) 588-8225
Attn: JIM                     Shoe Equipment Co.                      7340 S.W. Bonita Rd.            Tigard                      OR   97224            (503) 620-2794   (503) 620-1763
Attn: JIM                     Precision Locksmith Svc Inc             10345 SW Canyon Rd              Beaverton                   OR   97005            (503) 644-9881   (503) 626-7231
Attn: JIM                     Laser Care Inc                          10865 SW 5TH St Ste 100         Beaverton                   OR   97005            (503) 646-6034   (503) 646-6557
Attn: JIM                     Seals Unlimited Inc                     17300 Sw Baseline Rd            Beaverton                   OR   97006            (503) 690-6644   (503) 690-6688
Attn: JIM                     General Tool & Supply Co                2705 NW Nicolai St              Portland                    OR   97210            (503)226-3411    (503) 778-5518
Attn: LAURA                   southern carlson                        420 NE Butler Market Rd         Bend                        OR   97708            (541) 317-8383   (541) 317-8384
Attn: LAURA, TERI             Jim's Tool & Repair Svc                 515 Wilson St                   Eugene                      OR   97402            (541) 344-1243   (541) 344-1513
Attn: LAUREN                  Standard TV & Appliance                 63736 Paramount Dr              Bend                        OR             97701 (541) 388-0088    (541) 389-0778
Attn: LAURIE                  PINEWOOD APPLIANCE REPAIR               833 SE 2nd St                   Bend                        OR   97702     1759   (541) 389-2112   (541) 389-4856
Attn: LAURIE                  All Seasons Equipment                   405 Highway 99 N                Eugene                      OR   97402     2302   (541) 461-6716   (541) 461-6729
Attn: LAURIE                  Air Tool Maintenance                    420 River Rd                    Eugene                      OR   97404            (541) 461-1714   (541) 461-8865
Attn: LEE                     Hydraulic Technical Svc Inc             620 Seneca Rd                   Eugene                      OR   97402            (541) 485-9882   (541) 485-0211
Attn: Lee McDavid             Anco Fastener Sales Inc                 2130 W 6th Ave                  Eugene                      OR   97402            (541) 485-2800   (541) 485-7867
Attn: LEO                     HPS Electric                            3801 NW Stewart Pkwy            Roseburg                    OR   97470            (541) 673-3162   (541) 673-8598
Attn: LEO, JOSE               HAMILTON APPLIANCE REPAIR               1298 Bethel Dr                  Eugene                      OR   97402            (541) 689-0242   (541) 689-0242
Attn: LESLIE                  Medford Tools & Supply                  2160 N Pacific Hwy              YONCALLA                    OR   97499            (541)772-0144    (541) 772-0471
Attn: LILIANA                 Hudson Saw and Tool                     2917 N. Pacific Hwy.            Medford                     OR   97501            (541) 772-2293   (541) 772-2241
Attn: LINDA                   Perrine Electric                        6067 Crater Lake Hwy.           Central Point               OR   97502            (541)826-5505    (541) 826-1259
Attn: LINDA                   Doc's Electric Motor Repair             6419 Table Rock Rd              Central Point               OR   97502            (541) 830-0505   (541) 830-0205
Attn: LINDSEY                 Ernie's Electric Emp                    Po Box 542                      Ontario                     OR   97914     542    (541) 881-1327   (541) 889-6257
Attn: LISA                    Dave's Tool Repair                      2392 S Highway 97 # 5           Redmond                     OR   97756            (541) 548-0510   (541) 923-5431
Attn: LISA                    Western Tool Supply *                   2141 Santiam Hwy SE             Albany                      OR   97322            (541) 967-4222   (541) 967-4342
Attn: Repairs & Maintenance   Kenrich Products Inc                    PO Box 55053                    Portland                    OR   97238     5053   (503) 281-6190
Attn: Repairs & Maintenance   Machine Masters                         4350 Foothill Blvd              Grants Pass                 OR   97526     4151   (541) 479-8876
Attn: Repairs & Maintenance   Terry's Torch & Toolbox                 16529 English Dr                Brookings                   OR   97415     9201   (541) 412-8184
Attn: Repairs & Maintenance   Black & Decker                          14811 NE Airport Way # 600      Portland                    OR   97230     8317   (503) 255-6556
Attn: Repairs & Maintenance   Porter-Cable Delta Svc Ctr              4916 NE 122nd Ave               Portland                    OR   97230     1049   (503) 252-0107
Attn: Repairs & Maintenance   Western Tool Supply                     16700 SW 72nd Ave               Tigard                      OR   97224     7758   (503) 684-5222
Attn: Repairs & Maintenance   R & L Tools                             3879 River Rd N                 Keizer                      OR   97303     4803   (503) 463-9098
Attn: Repairs & Maintenance   Western Tool Supply                     3225 S 6th St                   Klamath Falls               OR   97603     4613   (541) 850-2830
Attn: Repairs & Maintenance   Western Tool Supply                     1204 NW Grove St                Newport                     OR   97365     2434   (541) 265-9884
Attn: Repairs & Maintenance   Western Tool Supply                     12518 NE Airport Way            Portland                    OR   97230     1078   (503) 255-7331
Attn: Repairs & Maintenance   Western Tool Supply                     2270 NW Aviation Dr # D         Roseburg                    OR   97470     2077   (541) 957-2311
Attn: Repairs & Maintenance   Star Electric Motor Svc Inc             1760 S Main St                  Lebanon                     OR   97355     3194   (541) 258-3298
Attn: ANGIE                   JR Tool Repair                          2505 E Venango St               Philadelphia                PA   19134     5524   (215) 289-2900   (215) 289-4403
Attn: ANN                     Reliable Equipment                      301 Ivyland Rd                  Warminster                  PA   18974            (215) 357-3500   (215) 357-9193
Attn: ANNA                    West Philadelphia LockSmith             31 South 42nd Street            Philadelphia                PA   19104            (215) 386-2929   (215) 386-7550
Attn: ANNE                    Ideal Tool Repair                       456 North 8th Street            Philadelphia                PA   19123            (215) 925-0672   (215) 440-9786
Attn: ANNETTE                 Regent Hydraulic                        4051 Cresson St                 Philadelphia                PA   19127            (215) 482-2050   (215) 482-6863
Attn: ANNETTE                 Brunell & Sons Inc.                     8701 Torresdale Avenue Unit K                               PA                    215-624-5035     (215) 624-5038
Attn: ANNETTE                 American Kitchen Mch. & Repair          204 Quarry Street               Philadelphia                PA   19106            (215) 627-7760   (215) 627-1604
Attn: ANTHONY                 Arch Sewing Machine Co                  7th & 659 Callowhill St         Philadelphia                PA   19123            (215) 627-1768   (215) 627-2034
Attn: ARACELI                 a-1 Repair Sv. / Gepperts Rental        1561 Easton Rd                  Willow Grove                PA   19090            (215) 659-4215   (215) 659-4384
Attn: ARMANDO, AMADO?         R. Scheinert & Son Inc.                 10092 Sandmeyer Ln              Philadelphia                PA   19116            (215) 673-9800   (215) 673-9360
Attn: ART                     A1 Equipment Service and Repair, Inc.   518 Browns Lane                 Croydon                     PA   19021            (215) 826-8007   (215) 826-8006
Attn: HEATHER                 Construction Rentals & Supply           5601 Grand Ave                  Neville Island              PA   15225     1200   (412) 269-9109   (412) 269-9168
Attn: HEATHER                 H K McJunkin; Inc                       7724 Edgewood Avenue            PITTSBURGH                  PA                    (412) 271-5400   (412) 271-0279
Attn: HEATHER                 Sherer Lock & Supply                    1242 Brighton Rd,               Pittsburgh                  PA   15233            (412) 321-7000   (412) 321-6002
Attn: HEATHER                 Mac's Jack & Equipment Svc              121 Putnam St                   Pittsburgh                  PA   15206     4135   (412) 361-1555   (412) 361-2855
Attn: HEATHER, JULIE          Scott Electric                          39 Ann St, 15223                Pittsburgh PA               PA                    412-687-5000     (412) 621-7169
Attn: HECTOR                  CONSTRUCTION TOOL SERVICE INC           3500 LIBERTY AVE                PITTSBURGH                  PA   15201     1325   (412) 681-6673   (412) 681-9185
Attn: MARK                    Kreco Electric Co                       49 Center St                    Coal Township               PA   17866            (570) 644-6199   (570) 644-6508
Attn: MARK                    Millenia Home Improvements              29 Sterling Rd                  Mount Pocono                PA   18344            (570) 839-1100   (570) 839-4073
Attn: MIKE                    Belyea Company Inc                      2200 Northwood Ave.             Easton                      Pa   18045            (610) 515-8775   (610) 258-1230
Attn: MIKE                    Sharkan Supply Co.                      1825 Weaversville Rd            Allentown                   PA   18109            (610) 264-4501   (610) 264-3094
Attn: MIKE                    Gerhart Measuremmation                  754 Roble Road, Suite 140       Allentown                   PA   18109              (888)-437-4278 (610) 266-5775
Attn: MIKE                    G & H Service Co                        449 E Lafayette St              Norristown                  PA   19401            (610) 272-7695   (610) 272-7305
Attn: MIKE                    Metabo Corp                             1231 Wilson Dr                  West Chester                PA   19380            (610) 436-5900   (610) 436-9072
Attn: MIKE                    Jesse Philips                           235 Sweet Spring Rd             Glenmoore                   PA   19343     2600   (610) 458-8438   (610) 458-8438
Attn: MIKE                    Industrial Equipment Corp.              846 N. Main St.                 Shoemakersville             PA   19555            (610) 562-2700   (610) 562-4642
Attn: MIKE                    Aerus Electrolux                        447 w Chester Pike              19083-4504 - Havertown PA   PA                    (610) 449-4489   (610) 789-2437
Attn: MIKE                    Great Valley Lock Shop                  16 Church Road                  Malvern                     PA   19355            (484) 324-2986   (610) 889-3837
Attn: MIKE GREEN              Mercer Machine & Hydraulics, Inc.       2840 Leiszs Bridge Rd           Reading                     PA   19605            (610) 921-0287   (610) 921-3830
Attn: SCOTT                   Turner Hydraulics Inc.                  1605 Industrial Dr              Carlisle                    PA   17013     9615   (717) 243-8865   (717) 243-8865
Attn: SCOTT                   Dyna-Tech Generators                    602 E Evergreen Rd              Lebanon                     PA   17042     7925   (717) 274-8934   (717) 274-8934
Attn: SCOTT                   Rusco Hydraulics Inc.                   1029 Dillerville Rd             Lancaster                   PA   17603            (717) 393-0401   (717) 299-1241
Attn: SCOTT                   Wizard Lock & Safe Co.                  218 N Prince St                 Lancaster                   PA   17603            (717) 299-2385   (717) 299-5609
Attn: SCOTT                   Lnl Machine Tools Inc - Stevens         1912 n Reading Rd               Stevens                     PA   17578     9312   (717) 336-0237   (717) 336-0979
Attn: SCOTT                   Gap Power Equipment                     5399 Lincoln Hwy                Gap                         PA   17527     9701   (717) 442-4859   (717) 442-4859
Attn: SCOTT                   L.H. BRUBAKER APPLIANCES, INC.          5303 E. Trindle Rd              Mechanicsburg               PA   17050            (717) 796-0150   (717) 620-2308
Attn: SCOTT                   C H Reed Inc.                           301 Poplar St                   Hanover                     PA   17331     2370   (717) 632-6582   (717) 632-6582
Attn: SCOTT                   AAA Apliance Repair                     130 S Clinton St                York                        PA   17404     5409   (717) 845-7278   (717) 852-7278
Attn: SCOTT / JANET           Pennsylvania Tool Service               912 Links Ave                   Landisville                 PA   17538     1615   717-898-3197     (717) 898-9347
Attn: SHELLY                  Keystone Mountaineer Systems            80 Stewart Ave                  Washington                  PA   15301     3751   (724) 228-4160   (724) 228-4165
Attn: SHERRY                  C & L TOOL SUPPLY                       218 FLAUGHERTY RUN RD           Coraopolis                  PA   15108            (724) 457-4900   (724) 457-4904
Attn: SHERRY                  Tri-State Hydraulics Inc                1300 Mckean Ave                 Charleroi                   PA   15022     2135   (724) 483-1790   (724) 489-0911
Attn: SHERRY                  Latrobe Tool Service, Inc.              4339 RT 30                      LATROBE                     PA   15650            724-532-1411     (724) 532-1757
Attn: SHIRLEY                 Jean Luft                               719 Thomson Park Dr             Cranberry Township          PA   16066            724-772-1700     (724) 772-0740
Attn: SONYA                   THOMAS PNEUMATICS                       2424 KEYSTONE AVENUE            GREENSBURG                  PA   15601            (724) 832-1110   (724) 832-7060
Attn: LARRY                   Bauer Truck Repair                      1205 Doe Run Rd.                Shippenville                PA   16254            814-226-6023     (814) 226-6067
Attn: RECP.                   Leo's Pneumatic & Hydraulics            1821 Franklin Ave               Erie                        PA   16510     1327   (814) 899-0271   (814) 898-4001
Attn: RECP.                   Hobart Sales & Svc                      400 Greenwood Rd                Altoona                     PA   166 602          (814) 946-5436   (814) 946-1590
Attn: Repairs & Maintenance   Berks Tool Repair                       108 N Franklin St               Fleetwood                   PA   19522     1410   (610) 944-8441
Attn: Repairs & Maintenance   Dave Nanna Tool Repair                  6105 Blue Grass Ave             Harrisburg                  PA   17112     2328   (717) 657-1595
Attn: Repairs & Maintenance   MSI Tool Repair & Supply                7343 W Chester Pike             Upper Darby                 PA   19082     1620   (610) 734-2226




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Attn: Repairs & Maintenance   Plant Service Co                       23 Terminal Way               Pittsburgh           PA   15219     1208   (412) 381-1873
Attn: Repairs & Maintenance   Professional Tool Svc                  700 Seco Rd                   Monroeville          PA   15146     1466   (412) 373-7440
Attn: Repairs & Maintenance   Quality Tooling & Repair Inc           90 Penn Manor Rd              Irwin                PA   15642     6502   (724) 522-1555
Attn: Repairs & Maintenance   Sensenig Electronic Repair             215 Sensenig Rd               Ephrata              PA   17522     9330   (717) 445-9905
Attn: Repairs & Maintenance   Smith Tool Repair                      2624 S 15th St                Philadelphia         PA   19145     4613   (215) 755-8055
Attn: Repairs & Maintenance   M E Gann Inc                           2249 York Rd                  Jamison              PA   18929     1088   (215) 491-9061
Attn: Repairs & Maintenance   Midway Rental Inc                      7930 Frankstown Ave           Pittsburgh           PA   15221     1328   (412) 244-9433
Attn: Repairs & Maintenance   Midgley Pneumatic Tools Inc            2210 Weccacoe Ave             Philadelphia         PA   19148     2812   (215) 465-3149
Attn: Repairs & Maintenance   Industrial Contractors Supls           15061 Route 30                North Huntingdon     PA   15642     1042   (724) 864-7790
Attn: Repairs & Maintenance   A K Hardware                           717 Chartiers Ave             Mc Kees Rocks        PA   15136     3688   (412) 331-5522
Attn: Repairs & Maintenance   American Tool & Fasteners              1028 Harrison St              Philadelphia         PA   19124     2920   (215) 289-2212
Attn: Repairs & Maintenance   Black & Decker                         35 S Willowdale Dr # 1821     Lancaster            PA   17602     1472   (717) 295-7636
Attn: Repairs & Maintenance   Black & Decker                         2242 Macarthur Rd             Whitehall            PA   18052     4522   (610) 435-9544
Attn: Repairs & Maintenance   Black & Decker Factory Outlet          124 Outlet Sq                 Hershey              PA   17033     2746   (717) 533-3900
Attn: Repairs & Maintenance   Fay Jan Tool Sales Co                  6751 Us Highway 15            Montgomery           PA   17752     9210   (570) 547-1601
Attn: Repairs & Maintenance   Fein Power Tools Inc                   3019 W Carson St              Pittsburgh           PA   15204     1812   (412) 331-2325
Attn: Repairs & Maintenance   FSM Tools & Supply                     132 N College Ave             Annville             PA   17003     1403   (717) 867-5359
Attn: Repairs & Maintenance   General Tool & Repair Inc              2449 S Queen St               York                 PA   17402     5075   (717) 741-9592
Attn: Repairs & Maintenance   JEKK Tool & Fastener Inc               729 W 2nd St                  Chester              PA   19013     3803   (610) 874-6200
Attn: Repairs & Maintenance   Job Lot                                101 N 1st St                  Lehighton            PA   18235     1550   (610) 377-8620
Attn: Repairs & Maintenance   John Bradley Construction              7612 Bristol Pike             Levittown            PA   19057     5031   (215) 943-3370
Attn: Repairs & Maintenance   Keystone Industrial Sales              RR 7 Box 756a                 Altoona              PA   16601     9463   (814) 949-5900
Attn: Repairs & Maintenance   Makita USA Inc                         6200 Babcock Blvd             Pittsburgh           PA   15237     2506   (412) 366-6363
Attn: Repairs & Maintenance   Martin Electric                        575 Britton Rd                Shippensburg         PA   17257     9548   (717) 530-8450
Attn: Repairs & Maintenance   Pitt Industrial Diamond Prdcts         7650 Route 30                 North Huntingdon     PA   15642     2723   (412) 243-9690
Attn: Repairs & Maintenance   Porter-Cable Corp                      520 York Rd                   Willow Grove         PA   19090     2626   (215) 658-1430
Attn: Repairs & Maintenance   Rockovich Power Tool Svc Inc           7329 Burton St                Pittsburgh           PA   15218     2565   (412) 271-2611
Attn: Repairs & Maintenance   Barney's Electric Motor Svc            450 Manatawny St              Pottstown            PA   19464     5171   (610) 323-4952
Attn: Repairs & Maintenance   Curio Electric Repair Shop             825 S 5th St                  Allentown            PA   18103     3307   (610) 432-9923
Attn: ERIC WOOLSEY            WALCO                                  303 Allens Avenue             Providence           RI   2905             (401) 467-6500   (401) 941-4451
Attn: Repairs & Maintenance   Renner Colony                          1033 Waterman Ave             East Providence      RI   2914      1314   (401) 438-7890
Attn: Repairs & Maintenance   Electric Motor Svc Inc                 PO Box 7348                   Warwick              RI   2887      7348   (401) 737-2534
Attn: TONY IN SERVICE         MANN TOOL AND SUPPLY                   802 CHRIS DRIVE                           #NAME?   SC   29169            1-800-356-6266   (803) 252-1119
Attn: TONYA                   Richland Industrial Inc                919 Catawba St PO Box 11327   Columbia             SC   29201            (803) 252-3360   (803) 252-6902
Attn: TOOL CENTRAL            Si-tes Inc                             1658 Katy Ln                  Fort Mill            SC   297 708          (803) 396-3952   (803) 396-3953
Attn: TOOL PLUS               Davis Appliance Repair                 4024 Trolley Line Rd          Aiken                SC   29801     2746   (803) 648-3725   (803) 648-9407
Attn: TRACY                   Valmet                                 25 Beloit Street              Aiken                SC   29805            803 649 1541     (803) 649-1036
Attn: TRAVIS                  SLOAN APPLIANCE CAROLINAS, INC.        635 Frink St                  Cayce                SC   29033     3511   (803) 796-6130   (803) 796-3348
Attn: Repairs & Maintenance   C & E Enterprises                      1405 10th Ave N               Myrtle Beach         SC   29577     5629   (843) 916-8244
Attn: Repairs & Maintenance   Industrial Tool Repair                 237 Pine Lee Rd               Columbia             SC   29223     6317   (803) 736-7282
Attn: Repairs & Maintenance   Liberty Tool Svc                       PO Box 460                    Walhalla             SC   29691     460    (864) 638-8639
Attn: Repairs & Maintenance   Piedmont Power Tool                    PO Box 129                    Woodruff             SC   29388     129    (864) 476-8967
Attn: Repairs & Maintenance   TNT Tool Repair                        235 Michaelmas Ave            Cayce                SC   29033     4055   (803) 739-9033
Attn: Repairs & Maintenance   Maintenance Tool Rental Co             1127 S Main St                Society Hill         SC   29593     8990   (843) 378-4700
Attn: Repairs & Maintenance   Moree Sportsman Preserve               PO Box 118                    Society Hill         SC   29593     118    (843) 378-4831
Attn: Repairs & Maintenance   C & J Tool Repair                      103 Smythe Ave                Greenville           SC   29605     4570   (864) 295-4939
Attn: Repairs & Maintenance   Black & Decker Factory Outlet          3071 Waccamaw Blvd # 86       Myrtle Beach         SC   29579     9407   (843) 236-6206
Attn: Repairs & Maintenance   Metro Tool & Supply                    2695 Industrial Ave           Charleston           SC   29405     7478   (843) 747-3579
Attn: Repairs & Maintenance   Tool Shed Inc                          901 Poinsett Hwy              Greenville           SC   29609     4434   (864) 233-6185
Attn: MICHAEL                 Northern States Supply                 520 E Benson Rd               Sioux Falls          SD             57104 (605) 334-5695    (605) 332-0228
Attn: MICHELLE                Dakota Fluid Power Inc                 3500 N Saint Paul Ave         Sioux Falls          SD   57104     7019   (605) 332-0988   (605) 332-0988
Attn: MICHELLE                C & W Repair                           111 Astrachan Avenue          Volga                SD   57071            (605) 627-9291   (605) 627-9291
Attn: JANET                   Tri-City Business Machines Co          2125 E Center S               Kingsport            TN                    (423) 245-8821   (423) 245-6405

Attn: JANET                   KINGSPORT ARMATURE & ELECTRIC CO INC   323EAST MARKET STREET         KINGSPORT            TN   37660            (423) 247-7189   (423) 247-6394
Attn: JANETTE, JOE            Atlas Bolt & Supply                    615 E Main St                 Chattanooga          TN   37408            (423) 265-2341   (423) 265-2349
Attn: JARED, TIM HERT         H & H Hydraulics                       8414 Gulf View Drive          Soddy Daisy          TN   37379            (423) 332-7800   (423) 332-6868
Attn: JASON                   SOUTHERN TOOL HYDRAULIC                910C CREEKSIDE RD             Chattanooga          TN   37405            (423)622-8282    (423) 629-0125
Attn: MONTY                   Construction tool & supply             2520 Winford Avenue           Nashville            TN   37211            615-256-3671     (615) 242-4702
Attn: MR. DAVIS               DeWalt                                 746 Fesslers Ln               Nashville            TN                    (615) 242-1633   (615) 242-8336
Attn: MR. RICHARD             POWER TOOL SERVICE OF NASHVILLE        1106 Elm Hill Pike Ste 130    Nashville            TN             37210 (615) 255-8227    (615) 254-8229
Attn: NANCY                   Johnson & White Equipment              1104 4th Avenue South         Nashville            TN   37210            (615) 256-0443   (615) 256-0444
Attn: NANCY                   Allied Electric Motor Company          924 3rd Ave South             Nashville            TN                    (615) 259-3892   (615) 259-3896
Attn: NANCY                   Nashville Medical Electronics          1616 Hayes St # 102           Nashville            TN                    (615) 320-1001   (615) 320-1057
Attn: NANCY                   A1 Appliance                           5410 Harding Road             Nashville            TN                    (615) 352-5174   (615) 352-0418
Attn: NATALIE                 CARPENTER AVIONICS INC                 624-B FITZHUGH BLVD.          SMYRNA               TN                    (615) 355-9970   (615) 459-0656
Attn: NATE                    HOLLINGSHEAD AVIATION!                 300 Doug Warpoole Road        Smyrna               TN   37167            (615) 459-3337   (615) 459-5995
Attn: NATHAN                  Air Conditioning Services              414 McNally Drive             Nashville            TN   37211            (615) 834-1080   (615) 834-0921
Attn: NEAL                    TOOL-SMITH                             665 Massman Drive             Nashville            TN   37210            (615) 883-4833   (615) 883-4236
Attn: NESSA                   UniCure Spray Booths                   104 Spence Lane               Nashville            TN   37210            (615) 889-3330   (615) 889-6773
Attn: Repairs & Maintenance   ACT Tools                              4821 N Broadway St            Knoxville            TN   37918     1798   (865) 688-3574
Attn: Repairs & Maintenance   Champion Industries                    455 Neville Rd                Collierville         TN   38017     5365   (901) 854-6787
Attn: Repairs & Maintenance   Herman's Tool Repair                   5917 Clinton Hwy              Knoxville            TN   37912     2547   (865) 688-3843
Attn: Repairs & Maintenance   Paul's Sharp-All                       119 W Hunter Cir # D          Oak Ridge            TN   37830     6351   (865) 220-8744
Attn: Repairs & Maintenance   Smith Tool Svc                         908 S Highland Ave            Jackson              TN   38301     7304   (731) 427-4012
Attn: Repairs & Maintenance   Tool Brokers Equipment Svc             1783 Gainesboro Hwy           Baxter               TN   38544     3705   (931) 526-8342
Attn: Repairs & Maintenance   Tool Shop                              3507 Oak Rd                   Memphis              TN   38135     2514   (901) 382-2940
Attn: Repairs & Maintenance   Tool Up Inc                            696 Huber Ln                  Mc Ewen              TN   37101     4923   (931) 296-5838
Attn: Repairs & Maintenance   Handyman Tool Rental Inc               409 Hatchie St                Brownsville          TN   38012     3405   (731) 772-0076
Attn: Repairs & Maintenance   Monroe Rentals                         4950 New Highway 68           Madisonville         TN   37354     7711   (423) 442-5220
Attn: Repairs & Maintenance   Rental Economy                         5649 Hinton Pl                Memphis              TN   38119     7009   (901) 309-8862
Attn: Repairs & Maintenance   Lakeway Tool Sales & Supply            967 Devotie Rd                Jefferson City       TN   37760     4056   (865) 475-6684
Attn: Repairs & Maintenance   A-Best Power Tool Repair               221 Silver Lake Rd            Church Hill          TN   37642     3561   (423) 357-4708
Attn: Repairs & Maintenance   Allied Tool Repair                     1005 2nd Ave S                Nashville            TN   37210     2619   (615) 242-8026
Attn: Repairs & Maintenance   Automated Controls                     4821 N Broadway St            Knoxville            TN   37918     1798   (865) 688-9840
Attn: Repairs & Maintenance   Black & Decker                         4118 N Broadway St            Knoxville            TN   37917     2699   (865) 688-0921
Attn: Repairs & Maintenance   Black & Decker                         2850 Parkway # 50             Pigeon Forge         TN   37863     3351   (865) 428-3307
Attn: Repairs & Maintenance   De Walt Factory Svc                    2686 Kirby Whitten Rd # 102   Memphis              TN   38133     4721   (901) 384-8100
Attn: Repairs & Maintenance   De Walt Industrial Tool Co             4118 N Broadway St            Knoxville            TN   37917     2603   (865) 688-0921




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Attn: Repairs & Maintenance   Kentec Mega Tools                  2177 Nolensville Pike # 101          Nashville        TN   37211       2041   (615) 255-8771
Attn: Repairs & Maintenance   Third Avenue Ind Hardware          1138 3rd Ave N                       Nashville        TN   37208       2702   (615) 255-5023
Attn: ALLEN                   Duran York Hydraulic Sv            515 N. Hackberry                     San Antonio      TX   78202              210-224-5271     (210) 224-5250
Attn: ALLEN                   Electric Motor Service             1514 E Commerce St                   San Antonio      TX   78205              (210) 226-3462   (210) 226-8228
Attn: ALLEN                   Sankey Equipment                   4331 Milling Rd                      San Antonio      TX   78219              (210) 227-4178   (210) 228-0377
Attn: ALLEN                   Fuller's Alamo Safe & Lock         3723 West Ave                        San Antonio      TX   78213              (210) 344-4523   (210) 366-0723
Attn: Allen                   Lynwood Building Materials         1146 W. Laurel                       San Antonio      TX   78201       6942   (210) 477-3000   (210) 477-3090
Attn: ALLIE                   A-1 Scale Service                  4807 NW Industrial                   San Antonio      TX   78238              (800) 880-7848   (210) 521-1333
Attn: ALVARO                  Wilks Air Conditioning             139 Waleetka St                      San Antonio      TX   78210              (210) 534-9911   (210) 533-2281
Attn: AMBER                   Tool Mart                          10568 Sentinal                       San Antonio      TX   78217              210-655-6116     (210) 655-6727
Attn: AMBER                   Dewalt Service Center              1218 Arion Parkway Suite 114         San Antonio      TX   78216              (210) 732-1221   (210) 732-6147
Attn: AMBER, Michael, mike    Commercial Kitchen Repair          1377 North Brazos                    San Antonio      TX   78207              (210) 735-8211   (210) 735-7421
Attn: AMY                     Brannen's Fasteners                1835 Fredericksburg Road             San Antonio      TX   78201       5039   (210) 736-1625   (210) 736-1860
Attn: AMY                     KENTECH INC                        7943 EAST EVANS RD                   San Antonio      TX   78266              (210) 946-2474   (210) 946-2473
Attn: ANDY                    Goldens Casa Linda Keys            10238 Garland Rd                     Dallas           TX   75218              (214) 324-4747   (214) 324-3737
Attn: ANGELO                  Big D Tool Center                  2535 Irving Blvd.                    Dallas           TX   75207              214-631-3731     (214) 747-5292
Attn: ANGIE                   Hydraulic Service & Supply         100 Howell St                        Dallas           TX   75207              (214) 748-6015   (214) 748-7340
Attn: BOB, LANE, JEFF         Air and Armor                      2501 S. WS Young Drive, Suite 306    Killeen          TX   76542              (254) 526-3292   (254) 526-2337
Attn: BOB, RAY, ERIC          Ludwig Saw & Tool Sharpening       1701 Maple Ave                       Waco             TX   76707       1532   (254) 754-6951   (254) 752-3799
Attn: BRIAN                   Dawson Safe and Lock               26309 Interstate 45                  The Woodlands    TX   79401       4937   (281) 364-0500   (281) 292-0911
Attn: BRIAN                   Aztec Bolting Services Inc         520 Dallas Street                    League City      TX   77573              281-338-2112     (281) 332-1780
Attn: BRIAN                   Kentech Inc                        21855 E Hammond Dr                   Porter           TX   77365              (281)354-8895    (281) 354-8895
Attn: BRIAN                   United Rentals                     8807 Highway 225                     La Porte         TX   77571              (281) 479-3341   (281) 479-7043
Attn: BRIAN                   Texas Tool Traders                 120 Gulf Freeway North               League City      TX   77573              281 332-9201     (281) 554-8893
Attn: ERIC                    Bush Hydraulics                    2012 N Lexington Blvd                Corpus Christi   TX                      (361) 289-6339   (361) 289-6339
Attn: ERIC                    Texas Tool & Hardware              303 E Crestwood Dr                   Victoria         TX   77901              361-573-6376     (361) 573-6575
Attn: GLENN                   Schmidt SAW & Knife Works          2510 S 4th St                        Beaumont         TX   77701       6610   (409) 835-5976   (409) 835-6009
Attn: GRACE                   Triangle Engine & Bumper Dstrb *   2055 Calder St                       Beaumont         TX                      409-833-6567     (409) 835-6763
Attn: GRACE                   Industrial Air Tool                220 29th Street South                Texas City       TX   77590              409-948-3527     (409) 948-1329
Attn: JEANIE                  Engine Service & Supply            1902 Andrews Hwy                     Odessa           TX   79761       1193   (432) 337-0181   (432) 337-0181
Attn: JEFF                    McCord Pump                        3801 N County Rd W                   Odessa           TX               79764 (432) 362-4611    (432) 363-0132
                                                                 209 East Ben White Boulevard Suite
Attn: JOSEPH GEAR             Consignment Tools                  109                                  AUSTIN           TX   78704 USA          (512) 444-2825   (512) 444-2825
Attn: josh                    Weatherford Co                     804 Shelby Ln                        Austin           TX   78745              (512) 444-6765   (512) 444-6766
Attn: JOSH                    Austin Tool                        210 Industrial Blvd                  Austin           TX   78745       1261   (512) 447-4905   (512) 447-0102
Attn: JUAN, JOAN              Applied Tool & Supply              311-A EAST ST ELMO                   Austin           TX               78745 (512) 448-0101    (512) 448-0267
Attn: JULIE                   Cowart Door                        204 W Powell Ln Bldg 2 B             Austin           TX   78753              (512) 459-3467   (512) 459-7469
Attn: ROBERT, MARIA           Hydraulic Equipment Svc            1021 N San Jacinto St                Houston          TX   77002       1138   (713) 228-9601   (713) 228-0931
Attn: ROBERTA                 Transcat                           1181 Brittmoore Rd                   Houston          TX               77043 (713) 465-4399    (713) 465-0525
Attn: ROBIN                   Tricon Tool & Supply               5809 Clinton Dr                      Houston          TX   77020              (713) 678-7444   (713) 678-4419
Attn: RODNEY B.               Star Hydraulics                    7012 Long Point Rd                   Houston          TX   77055              (713) 681-4105   (713) 681-6246
Attn: ROGER                   H & H Tool Service, Inc.           2307 McAllister                      Houston          TX   77092              (713) 682-8665   (713) 682-8624
Attn: ROKKI (ROCKY?)          Harnessland                        2146 Bingle Rd,                      Houston          TX   77055              (888) 688-8769   (713) 688-2583
Attn: RON WINDAU              Delegard Tool Co.                  4900 Campbell Road                   Houston          TX   77041              (713) 688-4280   (713) 688-4398
Attn: ROY                     Circle Saw Builders Supply         2510 Ella Blvd                       Houston          Tx   77008              (713) 864-8444   (713) 864-6014
Attn: ROY                     J & T Tool & Supply                5317 Inker Street                    Houston          Tx   77007              713-880-5702     (713) 880-5702
Attn: ROY/RAY                 Industrial Air Tool                1305 West Jackson                    Pasadena         TX   77506              713-477-3144     (713) 920-8787
Attn: TOM                     Sunsource                          1172 113th Street                    Grand Prairie    TX   75050              877-329-0339     (800) 586-9502
Attn: TOM                     Sunsource                          1833 Johanna Street                  Houston          TX   77055              713-548-5500     (800) 586-9504
Attn: VICTORIA                Ralls Appliance *                  800 Weatherly St,                    Borger           TX   79007              (806) 274-5269   (806) 274-2165
Attn: VICTORIA                Harbor Freight Tools               1616 e Interstate 40,                Amarillo         TX                      (806) 373-8161   (806) 342-5399
Attn: WADE                    Lubbock Electric Co.               1108 34th St                         .                TX                      (806) 744-2336   (806) 744-5690
Attn: WADE                    No. Texas Tool & Equipment         3102 Ave A                           Lubbock          TX   79404              (806) 763-1641   (806) 763-1685
Attn: Repairs & Maintenance   Caprock Equipment Svc & Supply     2112 50th St                         Lubbock          TX   79412       2603   (806) 747-9177
Attn: Repairs & Maintenance   Handyman Services                  2158 Us Highway 281                  Wichita Falls    TX   76310       624    (940) 766-0202
Attn: Repairs & Maintenance   Industrial Tool Svc                PO Box 65                            Silsbee          TX   77656       65     (409) 385-2321
Attn: Repairs & Maintenance   Makita USA Inc                     3453 N Ih 35                         San Antonio      TX   78219       2333   (210) 228-0676
Attn: Repairs & Maintenance   Midland Tool Specialty             PO Box 60344                         Midland          TX   79711       344    (432) 682-4647
Attn: Repairs & Maintenance   Millacut Tool Repair               12701 Fuqua St # 104                 Houston          TX   77034       4657   (281) 484-6136
Attn: Repairs & Maintenance   Moe's Tool Svc                     3910 Central Blvd                    Nederland        TX   77627       3229   (409) 722-1663
Attn: Repairs & Maintenance   North Texas Tool Svc               1118 S Airport Cir # 140             Euless           TX   76040       6893   (817) 399-8665
Attn: Repairs & Maintenance   Permian Tool Repair                803 W 67th St                        Odessa           TX   79764       2706   (432) 366-7911
Attn: Repairs & Maintenance   Power Tool Repair                  6819 S 3rd St Rd                     Waco             TX   76706       7354   (254) 662-5969
Attn: Repairs & Maintenance   SCS Tools Intl                     PO Box 1754                          La Porte         TX   77572       1754   (281) 280-8196
Attn: Repairs & Maintenance   Tool Shop                          1603 Evans                           Midland          TX   79701       8525   (432) 620-0536
Attn: Repairs & Maintenance   All Around Svc & Equipment         10119 Airline Dr                     Houston          TX   77037       1405   (281) 847-0745
Attn: Repairs & Maintenance   Debco                              213 County Road 281                  Alvin            TX   77511       9712   (281) 331-9550
Attn: Repairs & Maintenance   Fairfield Rental Ctr               114 County Road 237                  Fairfield        TX   75840       5893   (903) 389-9074
Attn: Repairs & Maintenance   Just Ask Rentals                   1812 SE 1st St                       Mineral Wells    TX   76067       5600   (940) 325-8482
Attn: Repairs & Maintenance   Lagarto Rental Tools               2201 Energy Ave                      Alice            TX   78332       9623   (361) 668-2060
Attn: Repairs & Maintenance   Nations Rent                       19935 Katy Fwy                       Houston          TX   77094       1019   (281) 829-3244
Attn: Repairs & Maintenance   New Boston Tools Sales/Rentals     634 E Hoskins St                     New Boston       TX   75570       2700   (903) 628-1332
Attn: Repairs & Maintenance   New Caney Tool Rentals             19495 Fm 1485 Rd                     New Caney        TX   77357       7301   (281) 399-3001
Attn: Repairs & Maintenance   North Main Tool Rental             3901 N Main St                       Houston          TX   77009       6148   (713) 862-9353
Attn: Repairs & Maintenance   North Texas Tool Rental            501 N Powell Pkwy                    Anna             TX   75409       3537   (972) 924-2460
Attn: Repairs & Maintenance   Patterson Rental Tools             520 Avenue H E                       Arlington        TX   76011       3115   (817) 649-0087
Attn: Repairs & Maintenance   Tommy Tools                        9006 Airport Blvd                    Houston          TX   77061       3402   (713) 943-3527
Attn: Repairs & Maintenance   RETOOL                             5004 50th St                         Lubbock          TX   79414       3421   (806) 792-3721
Attn: Repairs & Maintenance   Builders Unlimited                 PO Box 866                           Jasper           TX   75951       10     (409) 384-1454
Attn: Repairs & Maintenance   C & D Tool Repair Svc              2532 Carson St                       Fort Worth       TX   76117       4716   (817) 834-2277
Attn: Repairs & Maintenance   Cen Tex Air & Electric Tool        100 Indian Wls                       Waco             TX   76705       5252   (254) 799-1475
Attn: Repairs & Maintenance   Continental Tool Repair            5411 Brookglen Dr                    Houston          TX   77017       5997   (713) 941-4811
Attn: Repairs & Maintenance   Larry's Tool Repair                2916 Dow Cir                         Deer Park        TX   77536       4951   (281) 479-4086
Attn: Repairs & Maintenance   Tool-Serv                          26415 Pine Canyon Dr                 Spring           TX   77380       1215   (281) 419-8199
Attn: Repairs & Maintenance   Tool-Tec                           PO Box 14612                         Fort Worth       TX   76117       612    (817) 428-7611
Attn: Repairs & Maintenance   Armadillo Tool Works               409 Iris Dr                          Irving           TX   75061       7411   (972) 253-7736
Attn: Repairs & Maintenance   Black & Decker                     6822 Gateway Blvd E                  El Paso          TX   79915       1007   (915) 778-9769
Attn: Repairs & Maintenance   Burandt, Dana                      1119 Navigation Blvd # D             Corpus Christi   TX   78407       1526   (361) 882-2303
Attn: Repairs & Maintenance   D C Power Equipment                8868 Research Blvd # 505             Austin           TX   78758       6430   (512) 835-9511




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Attn: Repairs & Maintenance   De Walt Industrial Tool Co               1881 Valley View Ln # 200           Dallas                  TX   75234   8940   (972) 620-8655
Attn: Repairs & Maintenance   Electric Tool Specialty Co               407 York St                         Houston                 TX   77003   2593   (713) 227-9494
Attn: Repairs & Maintenance   Electromex                               2826 North Fwy                      Houston                 TX   77009   3243   (713) 694-9090
Attn: Repairs & Maintenance   Fast Tool                                9817 Beck Cir # A                   Austin                  TX   78758   5405   (512) 339-6427
Attn: Repairs & Maintenance   Harbor Freight Tools USA Inc             2409 Gilmer Rd                      Longview                TX   75604   2135   (903) 295-7656
Attn: Repairs & Maintenance   JBS Tools & Fasteners                    705 N Greenville Ave # 500          Allen                   TX   75002   2173   (972) 727-8770
Attn: Repairs & Maintenance   Jem Supply                               9360 Wallisville Rd                 Houston                 TX   77013   4602   (713) 670-0088
Attn: Repairs & Maintenance   Jem Supply Inc                           1146 Sheffield Blvd                 Houston                 TX   77015   5626   (713) 450-2221
Attn: Repairs & Maintenance   Julie's Pawn Shop                        1620 SW Wilshire Blvd               Burleson                TX   76028   6306   (817) 447-8831
Attn: Repairs & Maintenance   Liner Tools                              8401 Industrial Dr                  Pearland                TX   77584   3551   (281) 482-1901
Attn: Repairs & Maintenance   M T Electrical Repair Shop               1414 Harry St                       Victoria                TX   77901   8426   (361) 578-3940
Attn: Repairs & Maintenance   Professional Hardware                    2442 Industrial Blvd                Abilene                 TX   79605   7207   (325) 692-5881
Attn: Repairs & Maintenance   Rubio Electric Co                        1719 San Bernardo Ave               Laredo                  TX   78040   3759   (956) 722-3908
Attn: Repairs & Maintenance   Tool & Fastener Supply Corp              6125 W Sam Houston Pkwy N #401      Houston                 TX   77041   5130   (713) 937-8899
Attn: Repairs & Maintenance   Tool Rescue                              1505 NW 36th St                     San Antonio             TX   78228   4801   (210) 432-9955
Attn: Repairs & Maintenance   Weiss Tools Distributors                 2756 Regency Dr                     Grand Prairie           TX   75050   6401   (972) 641-7075
Attn: Repairs & Maintenance   Conroe Tools & Party Rentals             827 S Frazier St                    Conroe                  TX   77301   4232   (936) 441-2326
Attn: Repairs & Maintenance   Yong Tools                               20814 Gulf Fwy # 50                 Webster                 TX   77598   6400   (281) 332-7875
Attn: JEFF                    Industrial Tool & Supply                 839 N Main St                       Logan                   UT   84321   3228   (435) 753-4256   (435) 753-7429
Attn: TOM                     Industial Supply                         1704 West 2550 South                Ogden                   UT   84401          (801) 395-1868   (801) 395-1899
Attn: TOM                     Gustin Hydraulics                        151 Commonwealth Ave                Salt Lake City          UT   84115          (801) 487-0624   (801) 466-4871
Attn: TOM DUNCAN              WESTERN STATES CALIBRATION               105 W 2950 S,                       Salt Lake               UT   84115   3425   (801) 466-1700   (801) 484-5107
Attn: TOM MAJCEN              Diamond Electric Motor & Tool            1465 S 300 W                        Salt Lake City          UT   84115   5103   (801) 484-7541   (801) 484-7541
Attn: TOMMY                   M & M Tool and Machinery, Inc.           3362 Main Street                    Salt Lake City          UT   84115          801-485-8200     (801) 485-4288
Attn: TOMMY                   DeWalt Industrial Tool Company           3060 California Ave                 Salt Lake City          UT   84104          (801) 486-5848   (801) 486-5848
Attn: TOMMY                   Automotive Specialty Equipment           7055 S 700 W                        Midvale                 UT   84047          (801) 562-0700   (801) 562-0737
Attn: TONY                    Action Locksmith                         245 E 3900 S                        Salt Lake City          UT   84107   1530   (801) 685-0743   (801) 685-0743
Attn: TONY                    Dick Kearsley Svc Ctr                    520 S State St                      Clearfield              UT   84015          (801) 773=1835   (801) 773-1835
Attn: TONY                    Bob's Lock Safe & Key Fax Line           3112 W 3500                         West Valley City        UT   84119   3634   (801) 963-5796   (801) 963-5796
Attn: TONY                    Johnson Hydraulics                       1720 Indiana Ave                    Salt Lake City          UT   84104          (801) 972-0909   (801) 972-2120
Attn: Repairs & Maintenance   Robert Bosch Tool Corp                   3326 S 275 E                        Salt Lake City          UT   84115   4520   (801) 484-4423
Attn: Repairs & Maintenance   H K Power Tool Svc Inc                   1726 Major St                       Salt Lake City          UT   84115   1904   (801) 486-0584
Attn: BRET G.                 COMMERCIAL ELECTRONICS INC               209 E Jackson St,                   GATE CITY               VA   24251   3421   (276) 386-9591   (276) 386-6615
Attn: BRIAN                   Paul's Repair Shop Inc                   32127 Riverside Dr                  Big Rock VA             VA   24603          (276) 530-7311   (276) 530-7315
Attn: JEFF                    Electronics Repair Center                4069 Waterlick Rd,                  Forest                  VA   24551   1556   (434) 525-1758   (434) 525-5226
Attn: JEFF                    Precision Electronics Service            332 Ringgold Industrial Pkwy        Danville                VA   24540          (800) 732-4695   (434) 792-5672
Attn: JEFF                    United Electronic Services, Inc.         816 Monument St.                    Danville                VA   24541          (434) 791-3600   (434) 797-9805
Attn: JEFF                    Hudson-Payne Electronics Corp            P.O. BOX 780                        MADISON HEIGHTS         VA   24572          434-847-5583     (434) 847-8812
Attn: LACY                    Industrial Apparatus Repair Inc          5 Madison Ave NE                    Roanoke                 VA           24016 (540) 343-9240    (540) 342-6404
Attn: LACY                    Sarver's Hydraulic & Pneumatic           2730 Johnson Ave Nw                 Roanoke                 VA   24017   5236   (540) 344-0799   (540) 342-9808
Attn: LARRY                   Marco Supply Co., Inc.                   812 Pocahontas Ave.                 Roanoke                 VA   24012          (540) 344-6211   (540) 344-6153
Attn: LARRY                   Contractors & Indl Supply Inc            3304 Salem Tpke Nw                  Roanoke                 VA   24017          (540) 342-5348   (540) 345-8227
Attn: LARRY                   Capital Equipment Sales, Inc.            1451 Lakeside Circle                Salem                   VA   24153          (540) 387-0473   (540) 389-9937
Attn: LARRY                   Norvac Lock Technology Inc               2001 S Loudoun St                   Winchester              VA   22601          (540) 662-5641   (540) 662-2970
Attn: LARRY / KELLY           United Hydraulic Inc                     101 Spruce St                       Rich Creek              VA   24147   9710   (540) 726-9512   (540) 726-9518
Attn: RENEE                   Acucal Calibration Services              11090 Industrial Rd                 Manassas                VA   20109          (703) 369-3090   (703) 369-3786
Attn: RENEE                   AMERICAN ELECTRIC SERVICE CO., INC.      10890 Main St                       Fairfax                 VA   22030   4716   (703) 273-4977   (703) 385-1758
Attn: REPAIR DEPT             Federal Lock & Safe Inc                  5130 Wilson Boulevard               Arlington               VA   22205          (703) 525-1436   (703) 525-1637
Attn: REPAIR DEPT             Posner Industries                        4003 Westfax Dr                     Chantilly               VA           20151 (703) 631-3313    (703) 631-0175
Attn: REPAIR DEPT             D & S Repair Service                     20 South Dove St.                   Alexandria              VA   22314          (703) 683-0009   (703) 683-6719
Attn: REPAIR DEPT.            A A Locksmith Svc Co data                2401 Columbia Pike # G              22204-4448              VA                  (703) 521-4990   (703) 685-7241
Attn: STEVE                   DEWALT FACTORY SVC                       5760 Northampton Blvd # 110         Virginia Beach          VA                  (757) 363-0091   (757) 363-7512
Attn: STEVE                   Hydraulic Service Company, Inc.          3215 Victory Boulevard              Portsmouth              VA   23702   1831   (757) 487-2513   (757) 487-4381
                                                                       813-A Professional Place W. Suite
Attn: STEVE                   Coin Val Parts                           106                                 Chesapeake              VA   23320          (800) 486-1020   (757) 547-4772
Attn: STEVE                   Standard Calabrations Inc.               908 VENTURES WAY                    CHESAPEAKE              VA   23328          (757) 549-6534   (757) 549-0666
Attn: TRAVIS                  HAJOCA                                   3000 Cofer Road                     Richmond                VA   23224          (804) 231-5790   (804) 230-4212
Attn: TRENT                   Staley Co Inc                            1000 w Roberts St                   23220-1527 - Richmond   VA                  (804) 321-6595   (804) 321-5341
Attn: TRI COUNTY              Roys Electric Motor Sales and Service    3201 Norfolk Street                 Richmond                VA   23230          (804) 355-5713   (804) 355-5716
Attn: TRISH                   Marco Supply Co                          2601 Stuart Ave                     Richmond                VA   23220          804-358-3326     (804) 358-3326
Attn: TROY                    White Cap Construction Supply            2500 ,GLEN CENTER Street            Richmond                VA           23223 (1804) 648-7004   (804) 648-6701
Attn: TYLER                   Petersburg Trading                       5927 Boydton Plank Rd.              North Dinwiddie         VA   23803   7482   (804)861-3565    (804) 861-3565
Attn: Repairs & Maintenance   Charlie's Tool Repair                    8 Morris Mill Rd                    Staunton                VA   24401   2901   (540) 886-8989
Attn: Repairs & Maintenance   Engines & Blades                         671 Hildebrand Church Rd            Waynesboro              VA   22980   6222   (540) 943-5921
Attn: Repairs & Maintenance   Master Tool Repair Inc                   119 Tilden Ave                      Chesapeake              VA   23320   3922   (757) 547-8665
Attn: Repairs & Maintenance   Piedmont Tool Repair Inc                 2811 Hydraulic Rd # D               Charlottesville         VA   22901   8918   (434) 817-3090
Attn: Repairs & Maintenance   Power Tool Repair                        216 Grove Farm Rd                   Front Royal             VA   22630   6958   (540) 622-6994
Attn: Repairs & Maintenance   Basye                                    8515 Riverside Rd                   Alexandria              VA   22308   2206   (703) 780-1555
Attn: Repairs & Maintenance   Quality Tool Rental                      3201 Dwina Rd                       Coeburn                 VA   24230   5525   (276) 762-5140
Attn: Repairs & Maintenance   Rental Warehouse Equipment               800 Granby St                       Norfolk                 VA   23510   2004   (757) 627-2920
Attn: Repairs & Maintenance   Rental Works                             5044 Lee Hwy                        Arlington               VA   22207   1605   (703) 532-2050
Attn: Repairs & Maintenance   United Rentals                           7270 Hanover Green Dr               Mechanicsville          VA   23111   1706   (804) 550-0090
Attn: Repairs & Maintenance   Harbor Freight Tools                     6500 Hull Street Rd                 Richmond                VA   23224   2636   (804) 745-5615
Attn: Repairs & Maintenance   Ads American Drill                                                           Richmond                VA   23235   0      (804) 272-2417
Attn: Repairs & Maintenance   Black & Decker Factory Outlet            Williamsburg Pottery Factory        Williamsburg            VA   23188   0      (757) 564-3658
Attn: Repairs & Maintenance   Bryan Electric Co                        424 W 25th St                       Norfolk                 VA   23517   1260   (757) 625-2525
Attn: Repairs & Maintenance   Duncan, James W                          6231 Binns Ave                      Richmond                VA   23225   6861   (804) 276-2903
Attn: Repairs & Maintenance   GLS Tool Clinic                          3075 Old Thirty Three Rd            Harrisonburg            VA   22801   4719   (540) 434-6151
Attn: Repairs & Maintenance   MSI & Assoc                              149 Sac Ln                          Virginia Beach          VA   23462   3838   (757) 424-5402
Attn: Repairs & Maintenance   Electric Co Inc                          934 Memorial Blvd N                 Martinsville            VA   24112   2421   (276) 656-3838
Attn: TONY /PEGGY / JOCELYN   Granite City Tool Co Of Vt Inc - Barre   Po Box 411                          05641-0411 - Barre      VT                  (802) 476-3137   (802) 476-8403
Attn: Repairs & Maintenance   Airtech Tool Repair                      81 Ethan Allen Dr                   South Burlington        VT   5403    5800   (802) 863-3747
Attn: Repairs & Maintenance   Tool Barn                                PO Box 128                          Fairlee                 VT   5045    128    (802) 333-9311
Attn: Repairs & Maintenance   Tool Warehouse Outlet Inc                Barre Montpelier Rd                 Barre                   VT   5641    0      (802) 479-3363
Attn: AARON                   Unitec                                   358 Upland Drive                    Seattle                 WA   98188          (866) 575-1101   (206) 575-1248
Attn: AARON                   Pacific Industrial Supply                1231 S Director St                  Seattle                 WA   98108          (206) 682-2100   (206) 623-2173
Attn: AARON                   Watson Security                          2106 3rd Avenue                     Seattle                 WA   98121          206-448-5625     (206) 728-8806
Attn: AARON                   Northwest Sales Group Inc.               5718 1st Avenue South               Seattle                 WA   98108          (206) 762-5111   (206) 762-5546
Attn: AARON, JESSE            Paco Ventures                            7400 Second Ave South               Seattle                 WA   98124          206-762-3550     (206) 763-4232




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Attn: ABBY                     Edge Construction Supply              5419 Maynard Ave S             Seattle                WA   98108          (206) 764-9488    (206) 764-9487
Attn: ADAM                     Master Wholesale                      520 So. Front Street           Seattle                WA   98108          (206) 767-6771    (206) 767-6772
Attn: ADAM                     Emc Electro Mechanical                411 S Dawson St                Seattle                WA   98108          (206) 767-9307    (206) 767-8294
Attn: ADAM                     Ballard Industrial Hardware           4749 Ballard Ave NW            Seattle                WA   98107          (206) 783-6626    (206) 782-4181
Attn: BOB                      Center Electric                       1212 South 30th Street         Tacoma                 WA   98409   8097   (253) 383-4416    (253) 272-2323
Attn: BOB                      Manor Hardware & Construction         10111 South Tacoma Way # D4,   Tacoma                 WA   98499   5424   (253) 581-7746    (253) 581-7827
Attn: BOB                      American Power Tool & Repair          4108 B Pl NW # D               Auburn                 WA   98001   2454   (253) 887-1148    (253) 887-1148
Attn: ELISHA                   C & H Industrial Tool                 1160 3rd Ave                   Washington             WA                  (360) 423-6496    (360) 423-0476
Attn: ELIX, FELIX?             Vancouver Bolt & Supply               420 California Way             Longview               WA   98632          (360) 425-9360    (360) 425-9324
Attn: ELIZABETH                L & L Tool Specialties                1927 E 1st St                  Port Angeles           WA                  (360) 457-1116    (360) 457-1269
Attn: EMILY                    Rohlinger Enterprises; Incorporated   PO Box 1340                    SUQUAMISH              WA                  (360) 598-4287    (360) 598-6166
Attn: ERIC                     Hearth & Home                         949 Ault Field Rd              Oak Harbor             WA   98277          (360) 679-8228    (360) 675-7292
Attn: ERIC                     Pointer Electric Inc                  13845 Rector Rd                Bow                    WA                  (360)757-1300     (360) 757-2681
Attn: JASON ATKINS             DMH Industrial Electric               2701 Hewitt Ave                Everett                WA   98201          (425) 259-3124    (425) 339-8427
Attn: JEANETTE                 Eastside Saw                          12880 Bel Red Rd               Bellevue               WA   98005          (425) 454-7627    (425) 454-6735
Attn: Jeanette/Corinnea        Northend Rental                       13927 Hwy. 99                  Lynwood                WA   98087   1725   (425) 745-5690    (425) 742-4848
Attn: JOHN                     Allied Battery Co Inc                 3007 Main St                   Union Gap              WA   98903          (509)248-4874     (509) 248-4850
Attn: JOHN                     Safway Supply Inc                     1503 E. Riverside              Spokane                WA   99219          (509) 535-9841    (509) 534-3139
Attn: JOHN                     Air Electric Tools & Service          5603 EAST 3RD AVE              Spokane                WA   99202          (800) 348-8337    (509) 534-3752
Attn: JOHN                     Spokane Pump *                        3626 E. TRENT                  SPOKANE                WA   99202          (509) 535-9771    (509) 535-4565
Attn: JOHN                     Central Saw Works LLC                 410 N Freya St                 Spokane                WA   99202          (509) 535-4621    (509) 535-4799
Attn: JOHN                     Milne Power Tool Repair               1303 W Lewis St                Pasco                  WA   99301          (509) 547-7834    (509) 547-4559
Attn: JOHN DUNN, ALLEN         Tri State Supply                      205 S 4th Ave                  Yakima WA 98902-3429   WA                  (509) 576-0370    (509) 576-0372
Attn: Repairs & Maintenance    Seattle Pneumatic                     11336 120th Ave NE             Kirkland               WA   98033   4530   (425) 893-8195
Attn: Repairs & Maintenance    Clovis Rentals North Bch Glass        740 Point Brown Ave NE # D     Ocean Shores           WA   98569   9647   (360) 289-3030
Attn: Repairs & Maintenance    North West Tool Repair                2837 Friday Creek Rd           Burlington             WA   98233   8536   (360) 724-6982
Attn: Repairs & Maintenance    Peninsula Marine & Electric           6493 Tracyton Blvd NW          Bremerton              WA   98311   8978   (360) 385-5295
Attn: Repairs & Maintenance    Tool Mart                             154 Marr St                    Wenatchee              WA   98801   3700   (509) 664-6606
Attn: Repairs & Maintenance    Acme Construction Supply              1410 46th Ave E                Fife                   WA   98424   1281   (253) 926-8415
Attn: Repairs & Maintenance    Bill's Power Tool Svc                 261 Orchard Rite Rd            Yakima                 WA   98908   9633   (509) 972-2737
Attn: Repairs & Maintenance    Black & Decker                        5308 E Sprague Ave             Spokane Valley         WA   99212   821    (509) 535-9252
Attn: Repairs & Maintenance    Hammond, Alan R                                                      Mill Creek             WA   98012   0      (425) 338-4392
Attn: Repairs & Maintenance    Peck & Peck                           3575 Haynie Rd                 Blaine                 WA   98230   9741   (360) 332-6363
Attn: Repairs & Maintenance    Western Tool Supply                   6024 W Deschutes Ave           Kennewick              WA   99336   7766   (509) 735-2294
Attn: Repairs & Maintenance    Western Tool Supply                   1901 S 14th St                 Union Gap              WA   98903   1282   (509) 574-4323
Attn: Repairs & Maintenance    Western Tool Supply                   8613 S 212th St                Kent                   WA   98031   1910   (253) 395-3102
Attn: BRAD                     Jensen Equipment Co., Inc.            N 27 W 23017 Roundy Dr.        Pewaukee               WI   53072          (800) 875-8875    (262) 547-4973
Attn: BRAD GUFFEY              ITR Inc.                              N16w22033 Jericho Dr 1         Waukesha               Wi   53186   1170   (262) 549-9414    (262) 549-9410
Attn: BRANDON                  UCI Sales Inc                         2601 Douglas Ave               Racine                 WI   53402          (262) 639-1225    (262) 639-6670
Attn: HOWARD                   Nre Wheel Works                       5300 N 33rd St,                Milwaukee              WI           53209 (414) 462-8244     (414) 462-8231
Attn: HUEY                     Laabs Appliance Parts & Svc           6907 W North Ave               Milwaukee              WI   53213   1940   414-475-0333      (414) 475-0353
Attn: IAN                      ReGenCo                               6609R West Washington Street   West Allis             WI           53214 (414) 475-3342     (414) 475-2858
Attn: IAN ARNOLD               Treml Sales & Service                 8411 W Becher St               Milwaukee              WI   53227          (414) 545-5000    (414) 545-2185
Attn: IAN ENG. DEPT            De Walt Industrial Tool Co            1650 Miller Park Way           Milwaukee              WI   53214   3604   (414) 645-4285    (414) 645-4287
Attn: IRWIN                    Wisconsin Power Tool Inc              3132 N Mayfair Rd              Milwaukee              WI                  (414)- 774-3650   (414) 774-3653
Attn: MIKE                     Electric Motors Unlimited             1000 Jonathon Dr               Madison                WI   53713          (608) 271-2311    (608) 271-5152
Attn: MIKE                     Advanced Fastening Supply             2201 Advance Road              Madison                WI   53718          (608) 441-1950    (608) 441-1952
Attn: SAM, LISA                Tractor Central in Menomonie          E4650 County Road BB           Menomonie              WI   54751          (715) 235-4203    (715) 235-1015
Attn: SAMANTHA                 Fastenal                              2949 Hoover Road               Stevens Point          WI   54481          (715)344-4410     (715) 344-5453
Attn: TIM                      Apex Saw Works                        570 Kietzke Ln                 Reno                   WI   89502   1504   (775) 329-3076    (775) 329-8981
Attn: Repairs & Maintenance    Advance Tool & Small Engine           5 Mulberry Ct                  Appleton               WI   54913   8816   (920) 830-0405
Attn: Repairs & Maintenance    Brock Power Tool Repair               W23985 County Road U           Eleva                  WI   54738   9179   (715) 726-8966
Attn: Repairs & Maintenance    Haeger's Tool Box Supply              68 Michigan Ave                Montreal               WI   54550   9726   (715) 561-4561
Attn: Repairs & Maintenance    K/C Tools                             N10029 Lund Rd                 Iola                   WI   54945   9281   (715) 445-7700
Attn: Repairs & Maintenance    Power Tool Svc Co                     300 N Webster Ave              Green Bay              WI   54301   4816   (920) 437-2594
Attn: Repairs & Maintenance    Professional Tool Ctr Inc             PO Box 270367                  Milwaukee              WI   53227   7209   (414) 321-1234
Attn: Repairs & Maintenance    Ron's Tool & Equipment Rental         47585 Sibbalds Ln              Cable                  WI   54821   4404   (715) 794-2181
Attn: Repairs & Maintenance    Total Tool Supply Inc                 4740 S Nicholson Ave           Cudahy                 WI   53110   1349   (414) 483-9347
Attn: Repairs & Maintenance    Tools Plus                            2501 E Clairemont Ave          Eau Claire             WI   54701   6725   (715) 831-0700
Attn: Repairs & Maintenance    Linder Electric Motors                308 Adrian St                  Wausau                 WI   54401   6107   (715) 842-3725
Attn: Repairs & Maintenance    Schroeder Electric Co                 1106 Breckenridge St           Mayville               WI   53050   1001   (920) 387-3940
Attn: Repairs & Maintenance    Sheboygan Armature Works Inc          2727 N 21st St                 Sheboygan              WI   53083   3861   (920) 452-3389
Attn: Repairs & Maintenance    W W Electric Motors Inc               PO Box 408                     Waupun                 WI   53963   408    (920) 324-3421
Attn: CHRIS                    ANGLE REPAIR SERVICE, INC.            175 Angle Drive                Beckley                WV   25801          (304) 253-5729    (304) 252-0481
Attn: CHRIS                    DeWalt Industrial Tool Co             1638 6th Ave                   Charleston             WV   25312   2424   (304) 343-0289    (304) 343-0715
Attn: CHRIS                    Marco Supply Co Inc                   2231 Washington St W           Charleston             WV   25312   1412   (304) 345-4747    (304) 345-4746
Attn: CHRIS                    Lawter Electric Motor Co              202 Adams Ave                  Huntington             WV   25701          (304) 522-8297    (304) 523-9004
Attn: CHRIS                    Thompson Electric Motor Service       Rt. 10, Box 511                Stollings              WV   25646          1-800-697-6070    (304) 752-6084
Attn: CHUCK                    LESCORPIUS ENTERPRISES INC            303 Gale St                    Rock Springs           WY   82901   6426   307-382-8051      (307) 382-2985
Attn: CHUCK                    Industrial Supply                     44 Purple Sage Road            Rock Springs           WY   82901          (307) 382-9050    (307) 382-6752
Attn: CHUCK                    Casper Appliance Service              341 West Yellowstone Highway   CASPER                 WY   82601          (307) 577-0569    (307) 577-0569
Attn: CHUCK HANCOCK            Bobcat of Casper                      2000 E F St.                   Casper                 WY   82601          (307) 577-5842    (307) 577-5842
Attn: CHUCK, DARREL / MARCIE   PRECISION OUTDOOR POWER               614 W MAIN                     RIVERTON               WY   82501   3338   (307) 856-1432    (307) 856-1434




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